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CHAPTER 5 RESPIRATORY EFFECTS

Summary of Causality Determinations for Short- and Long-Term Particulate Matter (PM)
Exposure and Respiratory Effects

This chapter characterizes the scientific evidence that supports causality determinations for short- and
long-term PM exposure and respiratory effects. The types of studies evaluated within this chapter are consistent
with the overall scope of the ISA as detailed in the Preface (see Section P.3.1). In assessing the overall evidence,
strengths and limitations of individual studies were evaluated based on scientific considerations detailed in the
Appendix. The evidence presented throughout this chapter support the following causality determinations. More
details on the causal framework used to reach these conclusions are included in the Preamble to the ISA (U.S.

EPA, 2015).

Size Fraction Causality Determinations

Short-Term Exposure

PMa2.5 Likely to be causal
PMio-2.5 Suggestive of, but not sufficient to infer
UFP Suggestive of, but not sufficient to infer

Long-Term Exposure

PMa2.5 Likely to be causal
PMio-2.5 Inadequate
UFP Inadequate

5.1 Short-Term PMz.s5 Exposure and Respiratory Effects

The 2009 PM ISA (U.S. EPA, 2009) concluded there is a /ikely to be causal relationship between
short-term PM2s exposure and respiratory effects (U.S. EPA, 2009).°? This conclusion was based mainly

on epidemiologic evidence demonstrating associations between short-term PM25 exposure and various
respiratory effects. The more limited evidence from controlled human exposure and animal toxicological
studies provided coherence and biological plausibility for a subset of respiratory effects for which
PM>s-related associations were observed in epidemiologic studies. In addition, the 2009 PM ISA
described epidemiologic evidence as consistently showing PM>s-associated increases in hospital
admissions and emergency department (ED) visits for chronic obstructive pulmonary disease (COPD) and

respiratory infection among adults or people of all ages, as well as increases in respiratory mortality.

°° As detailed in the Preface, risk estimates are for a 10-t1g/m* increase in 24-hour avg PM2,s concentrations unless
otherwise noted.

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Epidemiologic evidence was inconsistent for hospital admissions or ED visits for asthma but supported
associations with increased respiratory symptoms and decreases in lung function in children with asthma.
Studies examining copollutant models showed that PM2.s associations with respiratory effects were robust

to inclusion of CO or SO; in the model but were often attenuated with the inclusion of O3 or NO;.

Evidence supporting an independent effect of PM2,.s exposure on the respiratory system was
provided by animal toxicological studies of PM>2.s concentrated ambient particles (CAPs) demonstrating
changes in some pulmonary function parameters, as well as inflammation, oxidative stress, injury,
enhanced allergic responses, and reduced host defenses. Many of these effects have been implicated in the
pathophysiology for asthma exacerbation, COPD exacerbation, or respiratory infection. Some of these
effects were also observed with diesel exhaust (DE) or woodsmoke exposures; however, there was no
attempt to attribute the effect to the particulate or gaseous components of the mixture. In the few
controlled human exposure studies conducted in individuals with asthma or COPD, PM2.s exposure
mostly had no effect on respiratory symptoms, lung function, or pulmonary inflammation. Short-term

PM2.s5 exposure was not clearly related to respiratory effects in healthy people.

Evidence integrated across scientific disciplines linked respiratory effects to several PM2s
components such as elemental carbon/black carbon (EC/BC), organic carbon (OC), and metals and PM>2s5
sources such as wildfires and traffic. However, there were few studies on any given component or source,
and disparate outcomes were examined across studies and disciplines, complicating the overall
interpretation of results. Consequently, the 2009 PM ISA did not make a conclusion with respect to PM
sources and components specifically for respiratory effects, but broadly concluded that “many
[components] of PM can be linked with differing health effects, and the evidence is not yet sufficient to
allow differentiation of those components or sources that are more closely related to specific health
outcomes” (U.S. EPA, 2009),

The following section on short-term PM2s exposure and respiratory effects opens with a
discussion of biological plausibility (Section 5.1.1) that provides background for the subsequent sections
in which groups of related endpoints are presented in the context of relevant disease pathways. The
organization of sections by outcome group aims to clearly characterize the extent of coherence among
related endpoints (e.g., hospital admissions, symptoms, inflammation) and biological plausibility of PM2s
effects. These outcome groups include asthma exacerbation (Section 5.1.2), COPD exacerbation
(Section 5.1.4), respiratory infection (Section 5.1.5), combinations of respiratory-related disease hospital
admissions and ED visits (Section 5.1.6), and respiratory mortality (Section 5.1.9). New to this ISA are
distinct discussions of allergy exacerbation (Section 5.1.3), respiratory effects in healthy populations
(Section 5.1.7), and respiratory effects in populations with cardiovascular disease (Section 5.1.8).

Section 5.1.10 comprises an integrated discussion of policy-relevant considerations across the
epidemiologic studies evaluated within Section 5.1. The evaluation of whether there is evidence of
differential associations by various PM>,s components and sources, compared to PM2.s mass, is detailed in
Section 5.1.11.

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5.1.1 Biological Plausibility

This section describes biological pathways that potentially underlie respiratory health effects
resulting from short-term exposure to PM2s. Figure 5-1 graphically depicts the proposed pathways as a
continuum of upstream events, connected by arrows, that may lead to downstream events observed in
epidemiologic studies. This discussion of how short-term exposure to PM25 may lead to respiratory health
effects contributes to an understanding of the biological plausibility of epidemiologic results evaluated
later in Section 5.1. Note that the structure of the biological plausibility sections and the role of biological
plausibility in contributing to the weight-of-evidence analysis used in the 2009 PM ISA are discussed in

Preface Section P.3.2.1.

Once PMs deposits in the respiratory tract, it may be retained, cleared, or solubilized
(see Chapter 4). Insoluble and soluble components of PM2.s may interact with cells in the respiratory tract,
such as epithelial cells, inflammatory cells, and sensory nerve cells. One way in which this may occur is
through reduction-oxidation (redox) reactions. As discussed in Section 2.3.3, PM may generate reactive
oxygen species (ROS), and this capacity is termed “oxidative potential.” Furthermore, cells in the
respiratory tract may respond to the presence of PM by generating ROS. Further discussion of these redox
reactions, which may contribute to oxidative stress, is found in Section 5.1.1 of the 2009 PM ISA (U.S.
EPA, 2009). In addition, poorly soluble particles may translocate to the interstitial space beneath the
respiratory epithelium and accumulate in the lymph nodes (see Chapter 4). Immune system responses due
to the presence of particles in the interstitial space may contribute to respiratory health effects.

Evidence that short-term exposure to PM>2.s may affect the respiratory tract generally falls along
two proposed pathways (Figure 5-1). The first pathway begins with injury, inflammation, and oxidative
stress responses, which are difficult to disentangle. Inflammation generally occurs as a consequence of
injury and oxidative stress, but it can also lead to further oxidative stress and injury due to secondary
production of ROS by inflammatory cells. The second pathway begins with the activation of sensory
nerves in the respiratory tract that can trigger local reflex responses and transmit signals to regions of the

central nervous system that regulate autonomic outflow.

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COPD = chronic obstructive pulmonary disease; HR = heart rate; HRV = heart rate variability; PM2s5 = particulate matter with a
nominal mean aerodynamic diameter less than or equal to 2.5 um.

Note: The boxes above represent the effects for which there is experimental or epidemiologic evidence related to PMz.5 exposure,
and the arrows indicate a proposed relationship between those effects. Solid arrows denote evidence of essentiality as provided, for
example, by an inhibitor of the pathway or a genetic knockout model used in an experimental study involving PMzs exposure.
Shading around multiple boxes is used to denote a grouping of these effects. Arrows may connect individual boxes, groupings of
boxes, and individual boxes within groupings of boxes. Progression of effects is generally depicted from left to right and color coded
(gray = exposure; green = initial effect; blue = intermediate effect; orange = effect at the population level or a key clinical effect).
Here, population-level effects generally reflect results of epidemiologic studies. When there are gaps in the evidence, there are
complementary gaps in the figure and the accompanying text below.

Figure 5-1 Potential biological pathways for respiratory effects following
short-term PMz.5 exposure.

5.1.11 Injury, Inflammation, and Oxidative Stress

Regarding the first pathway, a large body of evidence mainly from animal toxicological studies
(Section 5.1.7.3 and Section 5.1.8) found injury, inflammation, and oxidative stress responses in healthy
individuals and animals. These responses are highly variable. In studies involving concentrated ambient
particles (CAPs) exposure, variability may be due to differences in concentration and sources of PM2s
present in the airshed. Multiday exposures generally resulted in more robust responses than exposures of a
few hours. Some studies in humans and animals that examined markers in bronchoalveolar lavage fluid
(BALF) found increased numbers of macrophages and neutrophils. Animal toxicological studies
examining responses in lung tissue found markers of injury and oxidative stress, such as increased lung
water and protein carbonyl content (Rhoden et al., 2004; Gurgueira et al., 2002), and markers of

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inflammation such as recruitment of macrophage populations (Xu et al., 2013). Other studies found
evidence of mild morphologic changes, such as hyperplasia of the bronchoalveolar duct (Batalha et al.,
2002) and changes in the mucus content of the nasal epithelium (Yoshizaki et al., 2016), that could be

downstream effects of inflammation following inhalation of PM2s. Inflammation may lead to other
downstream effects, such as lung function decrements. A decrease in maximal mid-expiratory flow
coupled with a decrease in oxygen saturation, possibly indicating dysfunction of small peripheral airways,

was observed in healthy humans following inhalation of PM2s (Gong et al., 2005). It is not clear whether

the decrement in lung function seen in this study was due to inflammation or to autonomic nervous

system (ANS) responses, which are discussed below.

Some experimental evidence focuses on respiratory responses in specific disease states, such as
asthma and COPD, in which inflammation is known to play an important role. In animal models of
allergic airway disease, which share many phenotypic features with asthma in humans, short-term
exposure to PM>.5 led to morphologic changes due to allergic responses and airway remodeling
(Section 5.1.2.4). These morphologic changes could lead to lung function decrements and respiratory
symptoms, both of which are associated with PM2.s5 concentrations in epidemiologic panel studies of
humans with asthma (Section 5.1.2.2 and Section 5.1.2.3). Further, evidence from epidemiologic panel
studies in children with asthma linked PM2.s concentrations to the inflammatory marker leukotriene E4,
asthma symptoms, medication use (Section 5.1.2.2 and Section 5.1.2.4), and decrements in lung function
(Section 5.1.2.3). Overall, these results provide plausibility for epidemiologic findings of hospital
admissions and ED visits for asthma (Section 5.1.2.1).

Injury and inflammatory responses to inhaled CAPs were more robust in animal models of COPD
than in healthy animals (Saldiva et al., 2002; Kodavanti et al., 2000; Clarke et al., 1999). Lung
function-related changes in oxygen saturation, FEV), and tidal volume were seen in controlled human

exposure studies involving human subjects with COPD and in animal models of COPD following
short-term exposure to PM2.s (Gong et al., 2005; Saldiva et al., 2002; Clarke et al., 1999) and provide
plausibility for epidemiologic findings of exacerbation of COPD (Section 5.1.4). Whether these

COPD-related changes in lung function were due to inflammation or to ANS responses, which are

discussed below, is not clear.

In animal toxicological studies, inhalation of PM2,s resulted in additional effects on the immune
system subsequent to respiratory tract inflammation and oxidative stress. Allergic sensitization occurred

in one study using diesel exhaust particles [DEPs; Whitekus et al. (2002)]. It was blocked by treatment

with antioxidants (depicted by the solid line connecting oxidative stress and allergic sensitization in
Figure 5-1), indicating a role for oxidative stress in mediating the response. Allergic sensitization is an
early step in the development of an allergic phenotype, which could contribute to both lung function
decrements and respiratory symptoms. Another study found altered macrophage function and increased
susceptibility to an infectious agent following inhalation of CAPs (Zelikoff et al., 2003). This

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demonstration of impaired host defense provides plausibility for epidemiologic findings of respiratory
infection (Section 5.2.6).

5.1.1.2 Activation of Sensory Nerves

Regarding the second pathway, activation of sensory nerves, animal toxicological studies
described in the previous ISA and later in this chapter demonstrate changes in respiratory rate and lung
volumes (i.e., rapid, shallow breathing; Section 5.1.7 and Section 5.1.8). These responses are
characteristic of airway irritant responses. Activation of sensory nerves in the respiratory tract can trigger
local reflex responses resulting in lung function decrements and airway inflammation. Evidence that lung
irritant responses are mediated by parasympathetic pathways involving the vagus nerve is provided by a
study in which DEPs were intra-tracheally instilled into a rodent [Mcqueen et al. (2007); this evidence is

depicted as a solid line connecting activation of sensory nerves and local reflex responses in Figure 5-1].
In this study, pretreatment with atropine, an inhibitor of parasympathetic pathways, and vagotomy, which
involves severing of the vagus nerve, blocked the irritant response to DEP. Airway irritant responses
serve as adaptive responses to a noxious chemical that can potentially decrease exposure to that chemical.
While some studies in humans and animals involving inhalation of PM2. found FEV, changes, it is not

clear whether this effect was mediated by airway irritant responses or by inflammation.

Activation of sensory nerves in the respiratory tract can also transmit signals to regions of the
central nervous system that regulate autonomic outflow and influence all the internal organs, including
the heart. Involvement of specific receptors on the sensory nerves, the transient receptor potential (TRP)

sensory nerve receptors, was demonstrated by Ghelfi et al. (2008) because TRP antagonists blocked

downstream effects of exposure to PM>2.s on the heart (depicted by the solid line connecting activation of
sensory nerves and cardiac oxidative stress and function in Figure 5-1). In this study, modulation of the
ANS resulted in altered autonomic outflow, which was manifested as a change in heart rate (see

Section 8.1.1 and Section 6.1.1).

Furthermore, studies suggest connections between PM2 s-mediated modulation of the ANS and
other effects. A study in mice found that short-term exposure to PM2.s increased sympathetic nervous
system (SNS) activity, as indicated by increased norepinephrine levels in lung and brown adipose tissue
(Chiarella et al., 2014). Furthermore, inhalation of PM2s5 increased BALF cytokine levels, an effect which

was enhanced by 2 adrenergic receptor agonists, which mimic the actions of norepinephrine. By

comparing responses in wild-type and knockout mice lacking the B2 adrenergic receptor specifically in
alveolar macrophage, it was demonstrated that inhalation of PM>.s enhanced cytokine release from
alveolar macrophages. This involvement of the SNS in PM>.s-mediated inflammatory responses is
depicted by the solid line connecting modulation of the ANS and respiratory tract inflammation in Figure
5-1. The SNS is one arm of the ANS (the other arm being the parasympathetic nervous system). This is
likely to represent a positive feedback mechanism by which ANS responses may enhance inflammation.

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Another study found upregulation of the renin-angiotensin system (RAS), as indicated by an increase in
mRNA for angiotensin receptor type | and angiotensin converting enzyme, in the lung (Aztatzi-Aguilar et

al., 2015). Angiotensin receptor type 1 mediates the effects of angiotensin II, which is a potent
vasoconstrictor and mediator in the vasculature. The SNS and the RAS are known to interact in a positive
feedback fashion (Section 8.1.2) with important ramifications in the cardiovascular system. However, it is
not known whether SNS activation or some other mechanism mediated the changes in the RAS observed

in the respiratory tract in this study.

5.1.1.3. Summary

As described here, there are two proposed pathways by which short-term exposure to PM2.s may
lead to respiratory health effects. One pathway involves respiratory tract injury, inflammation, and
oxidative stress that may lead to morphologic changes and lung function decrements, which are linked to
asthma and COPD exacerbations. Respiratory tract inflammation may also lead to altered host defense,
which is linked to increased respiratory infections. The second pathway involves the activation of sensory
nerves in the respiratory tract leading to lung function decrements, which are linked to asthma and COPD
exacerbations. While experimental studies involving animals or human subjects contribute most of the
evidence of upstream effects, epidemiologic studies found associations between exposure to PM2s and
both respiratory tract inflammation and lung function decrements. Together, these proposed pathways
provide biological plausibility for epidemiologic evidence of respiratory health effects and will be used to

inform a causality determination, which is discussed later in the chapter (Section 5.1.12).

5.1.2 Asthma Exacerbation

Asthma is a chronic inflammatory lung disease characterized by reversible airway obstruction and
increased airway responsiveness. Exacerbation of disease is associated with symptoms such as wheeze,
cough, chest tightness, and shortness of breath. Symptoms may be treated with asthma medication, and
uncontrollable symptoms may result in individuals seeking medical treatment (¢.g., visiting a hospital).
Previous findings linking short-term PMs exposure to asthma exacerbation, particularly from
epidemiologic studies of children, representing one line of evidence informing the determination of a
likely to be causal relationship with respiratory effects. Some incoherence was noted in the evidence for
children with asthma in that PM>s concentrations were associated with respiratory symptoms and lung
function decrements but inconsistently and imprecisely associated with hospital admissions and ED visits
for asthma. However, the main uncertainty was whether PM>.s exposure had an effect independent of
correlated copollutants. In the few epidemiologic studies that examined copollutant confounding, PM>.s
associations with asthma-related effects did not always persist in models that included O3, NO2, CO, or
SO. Further, in the 2009 PM ISA, coherence between evidence for allergic responses and epidemiologic

findings for asthma exacerbation was not assessed for short-term PM>s exposure. In controlled human

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exposure and animal toxicological studies reviewed in the 2009 PM ISA, short-term PM25 exposure
induced allergic inflammation, which is part of the pathophysiology for allergic asthma. Allergic asthma
is the most common asthmatic phenotype in children, and allergic inflammation could link PM2.s

exposure and asthma exacerbation.

In characterizing the current state of the evidence, this section begins by considering the effects of
short-term exposure to PM>s on clinical indicators of asthma exacerbation (i.e., hospital admissions, ED
visits, and physician visits for asthma) and then considers respiratory symptoms and asthma medication
use in people with asthma. The evaluation follows with a consideration of the effects of short-term
exposure to PM2s5 on lung function, which may indicate airway obstruction and poorer control of asthma.
The last section describes the evidence for subclinical effects such as pulmonary inflammation and
oxidative stress resulting from short-term exposure to PM2 5.

In addition to examining the relationship between short-term PM>.s exposure and asthma
exacerbation, some epidemiologic studies often conduct analyses to assess whether the associations
observed are due to chance, confounding, or other biases. For this reason, the evidence across
epidemiologic studies is not discussed within this section, but evaluated in Section 5.1.10 in an integrative
manner focusing specifically on those analyses that address policy-relevant issues. These include
evaluations of copollutant confounding (Section 5.1.10.1), model specification (Section 5.1.10.2), lag
structure (Section 5.1.10.3), the role of season and temperature on PM>.s associations (Section 5.1.10.4),
averaging time of PM>s concentrations (Section 5.1.10.5), and concentration-response (C-R) and
threshold analyses (Section 5.1.10.6). The studies that inform these issues and evaluated within these
sections are primarily epidemiologic studies that conducted time-series or case-crossover analyses

examining asthma hospital admissions and ED visits.

5.1.2.1 Hospital Admissions and Emergency Department (ED) Visits

The 2009 PM ISA reported inconsistent evidence of associations between short-term increases in
PM3.s concentration and hospital admissions and ED visits for asthma in children, but it reported
generally consistent positive associations in studies focusing on adults and people of all ages combined
(U.S. EPA, 2009). However, the evaluation of results from studies conducted in populations of children is
complicated by the difficulty in reliably diagnosing asthma in children <5 years of age because young
children often have transient wheeze (NAEPP, 2007). The inclusion of children <5 years of age may add

some uncertainty to the results of studies focusing on all children, but the few studies that presented
results in children older than 5 years did indicate PM» s-associated increases in asthma hospital
admissions and ED visits. The examination of potential copollutant confounding was not thoroughly
considered by the studies evaluated in the 2009 PM ISA but provided some evidence that PM>5-asthma
hospital admission and ED visit associations are robust to the inclusion of gaseous pollutants in
copollutant models. Across studies, associations were observed for a range of lags, with evidence that risk

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estimates for asthma hospital admissions and ED visits increased in magnitude for longer or cumulative
lags.

Asthma hospital admissions and ED visit studies are evaluated separately because only a small
percentage of asthma ED visits result in a hospital admission. As a result, asthma ED visits may represent
less severe outcomes compared with asthma hospital admissions. For each of the studies evaluated in this
section, Table 5-1 presents the air quality characteristics of each city, or across all cities, the exposure
assignment approach used, and information on copollutants examined in each asthma hospital admission
and ED visit study. Other recent studies of asthma hospital admissions and ED visits are not the focus of
this evaluation because they did not address uncertainties and limitations in the evidence previously
identified, and therefore, do not directly inform the discussion of policy-relevant considerations detailed
in Section 5.1.10. Additionally, many of these studies were conducted in small single cities, encompassed
a short study duration, or had insufficient sample size. The full list of these studies can be found here:

(https:/hero.epa.gov/hero/particulate-matter).

Recent studies expand the evidence base from the 2009 PM ISA (U.S. EPA, 2009) with respect to
the evaluation of asthma hospital admissions and further reinforce the results reported in studies that
examined asthma ED visits. As summarized in Figure 5-2 and Figure 5-3, both studies of hospital

admissions and ED visits report evidence of consistent positive associations when examining children and
people of all ages, with inconsistent evidence of associations with short-term PM» exposure for older
adults (i.e., generally >65 years of age). These results are further supported by meta-analyses that include
studies reviewed in and published since the 2009 PM ISA (Fan et al., 2015; Zheng et al., 2015). The
results from asthma hospital admission and ED visit studies are supported by a study focusing on asthma

physician visits in Atlanta, GA, for the initial time period of the study, but this pattern of associations was
not observed for the later time period (Sinclair et al., 2010). However, it is important to note that the

severity of a PM25-related asthma exacerbation, personal behavior such as delaying a visit to the doctor
for less severe symptoms, and insurance type (i.e., physician visits which often are ascertained for
members of a managed care organization) may dictate whether an individual visits the doctor or a
hospital, making it difficult to readily compare results between studies focusing on physician visits versus

hospital admissions and ED visits.

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Study Location Age Lag :
Slaughter et al. (2005) Spokane, WA All ages l Urn nme ne
FWinguist et al. (2012) St. Louis, MO All ages 0-4 DL po =
{Silverman etal (2010) New York, NY All ages O-la shen @e---
All ages O-1b \ ®
+Zhao et al, (2016) Dongguan, China All ages 0-3 | 7a
Yap et al. (2013) Central Valley, CAc L-9 0-2 \*
South Coast, CAc 1-9 0-2 ' ®
7Chen etal. (2016) Adelaide, Australia 0-17 4 ' --&-
FLi et al (2011}d Detroit, MI 2-18 of r-@-=-
2-18f :- i
FWinquist et al. (2012) St. Louis, MO 2-18 0-4 DL ween
TSilverman etal (2010) New York, NY 6-18 0-la \ = <=+538= =
6-18 0-1b \ = @----:
Tiskandar etal. (2012) Copenhagen, Denmark 6-18 04 [Seis Ser e@scss =
TSilverman etal (2010) New York, NY 50+ O-la won badenono-
0-1b ra--
fBell et al (2015) 70 U.S. counties 65+ 1 o
FWinguist et al. (2012) St. Lous, MO 65+ O4DL 2 2 samettte Srsiererns
f <-=9 -F "-* ' -oesito jeseeses|
08 09 | Ll 12 13 14 1S

Relative Risk/Odds Ratio (95% Confidence Interval)

avg = average; DL = distributed lag; ED = emergency department; ICU = intensive care unit; g/m? = micrograms per cubic meter;
PM = particulate matter; PM2z.5 = particulate matter with a nominal mean aerodynamic diameter less than or equal to 2.5 um;

Note: +Studies published since the 2009 PM ISA. Black text = U.S. and Canadian studies included in the 2009 PM ISA.
"|CU hospital admissions.

’Non-ICU hospital admissions.

‘Values of confidence intervals not reported, but above the null.

‘Combination of hospital admissions and ED visits.

*Time-series model results.

'Case-crossover model results.

Corresponding quantitative results are reported in Supplemental Material (U.S. EPA, 2018).

Figure 5-2 Summary of associations between short-term PM2.5 exposures
and asthma hospital admissions for a 10-yg/m? increase in

24-hour avg PMz.5 concentrations.

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Study

Stieb et al. (2009)
+Malig et al. (2013)
+Ostro etal (2016)

*Weichenthal et al. (2016)

Paulu etal. (2008)
ATSDR (2006)

Ito et al (2007)

Peel et al. (2005)
Slaughter et al. (2005)
*Winquist et al (2012)
+Sarnat etal (2015)
*Byers et al (2015)
*Kim etal (2015)

?Gleason et al. (2015)
+Strickland etal (2010)
*Byers et al. (2015)
+Winquist et al. (2012)
*Xmo et al. (2016)
tStrickland etal. (2015)
+Alhanti et al. (2016)

*Byers et al. (2015)
fWingusst et al (2012)
+Alhanti et al. (2016)

avg = average; DL = distributed lag; g/m? = micrograms per cubic meter; PM = particulate matter; PMz5 = particulate matter with a

Location
7 Canadian cities
35 CA counties
8 CA metro areas
Ontario, Canada
Maine
Manhattan, NY
Bronx, NY
New York, NY
Atlanta, GA
Spokane, WA
St. Louis, MO
St. Louis, MO
Indianapolis, IN
Seoul, South Korea

New Jersey
Atlanta, GA
Indianapolis, IN
St. Lous, MO
Georgia
Georgia
3 U.S. cities

Indianapolis, IN
St. Lous, MO
3 U.S. cities

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nominal mean aerodynamic diameter less than or equal to 2.5 um.

Note: +Studies published since the 2009 PM ISA. Black text = U.S. and Canadian studies included in the 2009 PM ISA.
Corresponding quantitative results are reported in Supplemental Material (U.S. EPA, 2018).

Figure 5-3

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0.9 1

Relative Risk/Odds Ratio (95% Confidence Interval)

Summary of associations from studies of short-term PMz.5
exposures and asthma emergency department visits for a

10-y1g/m? increase in 24-hour avg PM25 concentrations.

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Table 5-1 Epidemiologic studies of short-term PM2.5 exposure and hospital admissions, emergency
department visits, physician visits for asthma.

Mean Concentration

Upper Percentile
Concentrations

Copollutant

Study, Location, Years, Age Range Exposure Assessment pg/m* Examination
Hospital Admissions
TYap etal. (2013 Average ofall monitors 12.8-24.6 NR Correlation (7): NA
42 counties, Central Valley and South Coast, CA in each county Copollutant models
2000-2005 with: NA
1-9 yr
+Bell et al. (2015 Average ofall monitors U.S.: 12.3 Max U.S.: 20.2 Correlation (rn): NA
213 U.S, counties in each county Northeast: 12.0 Northeast: 16.4 Copollutant models
1999-2010 Midwest: 12.9 Midwest: 16.5 with: NA
265 yr South: 12.4 South: 16.5

West: 11.3 West: 20.2

+Hebbern and Cakmak (2015) Average ofall monitors 2.6-21.4 NR Correlation (nr): NA
10 Canadian cities in each city Copollutant models
4994-1997 with: Pollen
All ages
TSilverman and Ito (2010) Average of 24 monitors 13° 75th: 21 Correlation (rn): 0.59 O3
New York, NY 90th: 29 Copollutant models
1999-2006 (warm season only) with: Os
All ages, 6-18 yr, 250 yr
tLiu_et al. (2016 Average of four monitors 12.0 90th: 18.5 Correlation (rn): NA

Greater Houston area, TX
2008-2013
All ages

in one county, study
area covers nine
counties

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Copollutant models
with: NA

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Table 5-1 (Continued): Epidemiologic studies of PM2.5 and hospital admissions, emergency department visits,

physician visits for asthma.

Upper Percentile

Mean Concentration Concentrations Copollutant
Study, Location, Years, Age Range Exposure Assessment pg/m* pg/m* Examination
TKim et al. (2012 One monitor 7.9 Max: 59.4 Correlation (1): 0.46
Denver, CO EC, 0.54, OC, 0.68
2003-2007 SO, 0.82, NO3
All Copollutant models
age with: NA
tiskandar et al. (2012 One monitor 10.3 75th: 11.8 Correlation (r): 0.33

Copenhagen, Denmark
2001-2008

NOa, 0.28 NOx, 0.85
PMio, 0.26 UFP

Copollutant models

0-18 yr with: NOz, NOx, UFP

tChen et al. (2016) One monitor 7.8 75th: 9.1 Correlation (rn): NA

Adelaide, Australia Max: 61.2 Copollutant models

2003-2013 with: NA

0-17 yr

tCheng et al. (2015) Six monitors averaged 45.9 75th: 61.9 Correlation (r): 0.69

Kaohsiung, Taiwan Max: 144 PMo-2.5, 0.40 Os, 0.67

2006-2010 NOa2, 0.69 SO2
Copollutant models

All ages

with: O3, NO2, CO,
SOz (but all stratified
by temperature)

+Zhao et al. (2016)
Dongguan, China

2013-2015
All ages

Five monitors averaged 42.6 75th: 56.8 Correlation (r): 0.40
Max: 192.7 Os, 0.67 NOa2, 0.69
SO2

Copollutant models
with: O3, NOz, SO2

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Table 5-1 (Continued): Epidemiologic studies of PM2.5 and hospital admissions, emergency department visits,

physician visits for asthma.

Upper Percentile
Concentrations

Mean Concentration

Copollutant

Study, Location, Years, Age Range Exposure Assessment pg/m* pg/m* Examination
ED Visits
ATSDR (2006) One monitor per 24-h avg NR Correlation (nr): Bronx
Manhattan and Bronx, NY borough Manhattan: 16.7 24-h avg: 0.19 Os,
1999-2000 Bronx: 15.0 0.61 NOz, 0.45 SOz,
0.19 pollen, 0.32 mold
All ages 1-h max 4h 0:36 Os. 0.55
i -h max: 0. 3, 0.
Manhadar 27:8 NO2, 0.28 SOz2
Bronx: 27.6 Copollutant models
with: O3, NOz, SO2
Ito etal. (2007 Average of 30 monitors 15.1 75th: 19 Correlation (rn): NA
New York, NY 95th: 32 Copollutant models
1999-2002 with: O3, NOz, CO,
All ages sm
Peel et al. (2005 One monitor 19.2 90th: 32.3 Correlation (nf): NA
Atlanta, GA Copollutant models
1998-2000 with: NA
All ages
Stieb et al. (2009 One monitor to average Halifax: 9.8 75th, Halifax: 11.3 No copollutant model
Seven Canadian cities of seven Montreal: 8.6 Montreal: 10.9 r=-0.05 to 0.62 Os,
1992-2003, varies across cities One monitor Halifax, Toronto: 9.1 Toronto: 11.9 0.27-0.51 NO2,
All Ottawa, Vancouver. Ottawa: 6.7 Ottawa: 8.7 0.01-0.42 CO,
ages Three Edmonton. Seven V"@W2: 9- awa: ©. 0.01-0.55 SO2

Montreal, Toronto.

Edmonton: 8.5
Vancouver: 6.8

Edmonton: 10.9
Vancouver: 8.5

Paulu and Smith (2008)

Maine, whole state

2000-2003 (warm season only)
All ages

Kriging of monitors

Estimates for ZIP code
centroid. Number
monitors and method
validation NR.

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g-9> Max across yr: 20 in
2000 to 42 in 2003

Does not persist with:
Os

racross
yt = 0.76-0.87 Os

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Table 5-1 (Continued): Epidemiologic studies of PM2.5 and hospital admissions, emergency department visits,

physician visits for asthma.

Upper Percentile

Mean Concentration Concentrations Copollutant
Study, Location, Years, Age Range Exposure Assessment pg/m* pg/m* Examination
+Alhanti et al. (2016) Population weighted Atlanta, GA: 14.1 NR Correlation (1): 0.57
Three U.S. cities average across monitors st Louis, MO: 13.6 O3, 0.39 NOz Atlanta,
1993-2009 cea ny Dallas, TX: 14.1 Se be Os Oe

5-18 yr, 265 yr

NOz Dallas, TX; 0.29
O3, 0.29 NOo2 St.

Louis, MO
Copollutant models
with: NA
tKrall et al. (2016 One monitor in each city Atlanta, GA: 15.6 NR Correlation (7): NA
Four U.S. cities St. Louis, MO: 13.6 Copollutant models
1999-2010 Dallas, TX: 10.7 with: NA
All ages Birmingham, AL: 17.0
t+Malig et al. (2013) Nearest monitor within  5.2-19.8 NR Correlation (rn): NA
35 California counties 20 ie iahted Copollutant models
zo0s-200 cece vata
All ages patient's residential ZIP
code
t+Ostro et al. (2016) Nearest monitor within 16.5 NR Correlation (7): NA
2005-2009 20 vee Copollutant models
Eight California metro areas Te hae ote " with: NA
All ages patient's residential ZIP
code
{Xiao et al. (2016 Combination of CMAQ 13.2 75th: 16.1 Correlation (rn): 0.61
Georgia and Max: 86.4. a ce - 0.26
ground-base 0. 2
2002-2008
o-49 measurements at 12-km Copollutant models
yr grid cells as detailed in with: NA

Friberg et al. (2016):
10-fold cross validation,
76%; grid cells averaged
over each ZIP code

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Table 5-1 (Continued): Epidemiologic studies of PM2.5 and hospital admissions, emergency department visits,

physician visits for asthma.

Upper Percentile

Mean Concentration Concentrations Copollutant
Study, Location, Years, Age Range Exposure Assessment pg/m* pg/m* Examination
tStrickland et al. (2015) Satellite aerosol optical 12.9 75th: 17.4 Correlation (7): NA
Georgia depth measurements at 99th: 37.4 Copollutant models
2002-2010 1-km as detailed in Hu with: NA
et al. (2014); R* ranged
2-18 yr from 0.71 = 0.85; grid
cells averaged over
each ZIP code
7+Gleason et al. (2014) Fuse-CMAQ at 12-km NR Max: 47.2 Correlation (r): <0.34
New Jersey, whole state grid cells assigned to pollens, 0.56 Os
ded add
2004-2007 (warm season only) geocoded adaress Copollutant models
3-17 yr with: Pollen
tWeichenthal et al. (2016) Nearest monitor to 7.1 Max: 56.8 Correlation (r): <0.42
Ontario, Canada (15 cities) ee = NO2
zs code centroid or single Copollutant models
whex 2011 available monitor aie O3, NOz,
ages oxidative potential
Strickland et al. (2010) Population-weighted 16.4 NR Correlation (r): Warm
4993-2004 average across monitors season = 0.50 Os,
0.36 NOs, 0.32 CO,
Atlanta,.GA 0.13 SQz; cold
5-17 yr season = -0.12 Os,
0.37 NOz, 0.38 CO,
0.00 SOz.
Copollutant models
with: NA
+Sarnat et al. (2015) One monitor 18.0 NR Correlation (r): 0.25
St. Louis, MO CO, 0.35 NOz, 0.08
2001-2003 SO2, 0.23 O3
All Copollutant models
ues with: NA

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Table 5-1 (Continued): Epidemiologic studies of PM2.5 and hospital admissions, emergency department visits,
physician visits for asthma.

Upper Percentile

Mean Concentration Concentrations Copollutant
Study, Location, Years, Age Range Exposure Assessment pg/m* pg/m* Examination
+Byers et al. (2015) Average of three 13.4 NR Correlation (1): 0.38
Indianapolis, IN monitors SOz
2007-2011
All ages, 5-17 yr, 245 yr
+Kim et al. (2015)* Number of monitors not 24.8 75th: 30.38 Correlation (r): 0.02
Seoul, South Korea reported Oz, 0.6 PM10-2.5
2008-2011 Copollutant models
All ages with: NA
Physician Visits
TSinclair et al. (2010) One monitor Overall: 17.1 NR Correlation (rn): Warm
Atlanta, GA August 1998-August season = 0.63 Os
4998-2002 2000: 18.4 Copollutant models
All ages September with: NA
2000-December 2002:
16.2
Hospital Admissions and ED Visits, Separately
Slaughter et al. (2005) One monitor NR 90: 20.2 Correlation (r): 0.62
Spokane, WA co
4995-1999 Copollutant models
with: NA
All ages
+Winquist et al. (2012) One monitor 14.4 Max: 56.6 Correlation (rn): 0.25 O3
St. Louis, MO Copollutant models
2001-2007 with: NA

All ages, 2-18 yr, 265 yr

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Table 5-1 (Continued): Epidemiologic studies of PM2.5 and hospital admissions, emergency department visits,
physician visits for asthma.

Upper Percentile

Mean Concentration Concentrations Copollutant

Study, Location, Years, Age Range Exposure Assessment pg/m* pg/m* Examination
Hospital Admissions and ED Visits, Combined
tLietal. (2011 Average of four monitors 15.0 75th: 18.5 Correlation (r): Across
Detroit, MI Max: 69.0 ee nase,

2, UV. aU 25
2004-2006 0.30, 0.41 CO
2-18 yr Copollutant models
with: NA

avg = average; CMAQ = Community Multiscale Air Quality; CO = carbon monoxide; EC = elemental carbon; ED = emergency department; h = hour(s); km = kilometer;

Lg/m? = micrograms per cubic meter; max = maximum; NA = not available; NO2 = nitrogen dioxide; NO3 = nitrate; NOx = sum of NO2 and nitric oxide; NR = not reported; O3 = ozone;
OC = organic carbon; PM = particulate matter; PMio-25 = particulate matter with a nominal mean aerodynamic diameter greater than 2.5 ym and less than or equal to 10 um:

PMz25 = particulate matter with a nominal mean aerodynamic diameter less than or equal to 2.5 um; PM, = particulate matter with a nominal mean aerodynamic diameter less than or
equal to 10 um; r= correlation coefficient; R* = coefficient of determination; SO2 = sulfur dioxide; SO, = sulfate; UFP = ultrafine particles; yr = year(s).

*All data are for 24-h avg unless otherwise specified.
®Median concentration.

°PMz5 data only available for 1 yr (2010).

+Studies published since the 2009 PM ISA.

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5.1.2.1.1 Hospital Admissions

Across recent studies, evidence supports an association between short-term PM2s5 exposure and
asthma hospital admissions, particularly in analyses of children and people of all ages (Figure 5-2). This
evidence is supported by studies that examined associations with PM2>s within a state, across multiple
cities, or individual cities. In 12 California counties encompassing the south coast and Central Valley,

Yap et al. (2013) focused on examining the influence of socioeconomic status (SES) on hospital

admissions for pediatric (children ages | to 9 years) respiratory conditions associated with PM2,.s exposure
(Chapter 12). For childhood asthma hospital admissions, the authors reported positive associations across
each individual city with varying width of confidence intervals, resulting in relative risks for south coast
and Central Valley combined ranging from 1.03—1.07 at lag 0-2 days. While Yap et al. (2013) reported
evidence of positive associations in children, Bell et al. (2015) in a study of 213 U.S. counties focusing on

older adults (i.e., =>65 years of age), 70 of which had asthma data, did not observe an increase in asthma
hospital admissions (RR: 1.00 [95% CI: 0.99, 1.01]; lag 1), but the authors only examined single-day
lags.

Additional single-city studies conducted in the U.S., Canada, and internationally further
examined associations between short-term PM2.5 exposure and asthma hospital admissions in different

age groups (1.e., people of all ages, children, and older adults). In New York City, NY, Silverman and Ito

(2010) focused on asthma hospital admissions consisting of severe episodes that required a stay in the
intensive care unit (ICU) and those that did not (non-ICU) across several different age ranges. Due to the
focus on both PMz.s and Os, the study authors limited analyses to the warm season (April—August). The
authors examined people of all ages as well as children and adults. An increased risk for total asthma
hospital admissions (combined ICU and non-ICU) for children 6-18 years of age was reported for PM>s
(RR: 1.16 [95% CI: 1.10, 1.22]; lag 0-1). An elevated risk due to PM2.s exposure was also evident when
examining both ICU and non-ICU admissions for children 6-18 years of age (Figure 5-2). Results similar
in magnitude were observed for both children and people of all ages, with associations smaller in
magnitude and with wider confidence intervals for ages 50 and older. The results of Silverman and Ito
(2010) are consistent with a study conducted by Winquist et al. (2012) in St. Louis, MO that also

examined associations across several age ranges. The authors reported the strongest evidence of an

association when examining people of all ages and children 2—18 years of age, with no evidence of an

association for older adults (Figure 5-2). Kim et al. (2012), in a study in Denver, CO examined a longer

lag structure, a 14-day distributed lag model, and reported evidence of a positive association between
short-term PM2.s exposure and asthma hospital admissions for people of all ages (quantitative results not

presented). However, Liu et al. (2016), in a study conducted in the greater Houston, TX area, did not

report evidence of an association with PM; and unscheduled hospital admissions (quantitative results not
presented). It is important to note that the population examined in Liu et al. (2016) consisted of

individuals with private insurance, which differs from the other studies evaluated in this section that did

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not differentiate among insurance coverage when identifying hospital admissions; therefore, the results
may not be comparable.

Studies that examined several age ranges tended to indicate stronger associations, in both
magnitude and precision, for children. Additional studies focusing only on children provide supporting
evidence for associations between short-term PM2.5 exposure and asthma hospital admissions. Li et al.
(2011) in Detroit, MI; Chen et al. (2016) in Adelaide, Australia; and Iskandar et al. (2012) in
Copenhagen, Denmark all reported evidence of positive associations at lag 0-4 days (Figure 5-2).

5.1.2.1.2 Emergency Department (ED) Visits

Similar to hospital admission studies, recent ED visit studies provide evidence of generally
consistent positive associations with short-term PM>.s exposures, particularly in studies focusing only on
children and people of all ages, but not older adults (Figure 5-3). However, compared to the hospital
admission studies, the magnitude of the association tends to be smaller for ED visits. The evidence
supporting an association between short-term PM>2.5 exposure and asthma ED visits is derived from
studies conducted over an entire state, across multiple cities, or in individual cities. Additional studies

focusing on exposure-related issues, such as exposure assignment (Sarnat et al., 2013b; Strickland et al.,

2011) and air exchange rates (Sarnat et al., 2013a), have also focused on examining the relationship

between short-term PM>.s5 exposure and asthma ED visits. They provide additional supporting evidence
and are characterized in Chapter 3 (Section 3.3.2.1 and Section 3.3.2.4.2).

Both Malig et al. (2013) and Ostro et al. (2016) in multilocation studies conducted in California

that focused on people of all ages, 35 counties and 8 metropolitan areas, respectively, provided evidence
of positive associations at lag 0. Ostro et al. (2016) reported an OR of 1.01 (95% CI: 1.00, 1.02), and
Malig et al. (2013) reported an OR of 1.02 (95% CI: 1.01, 1.03). These results are consistent with those of
Weichenthal et al. (2016) who also reported a positive association with asthma ED visits for people of all

ages in a study in Ontario, Canada. This study, however, examined a multiday lag of 0-2 days. Krall et al.
(2016) in a study of four U.S. cities (i.e., Atlanta, GA; Birmingham, AL; St. Louis, MO; and Dallas, TX)
that primarily focused on PM2.s sources also reported positive associations with asthma/wheeze ED visits
in city-specific analyses for people of all ages at lag 3 (quantitative results not presented). Additional
evidence from single-city studies conducted in St. Louis, MO (Sarnat et al., 2015; Winquist et al.. 2012)

and Seoul, South Korea (Kim et al., 2015) reported associations similar in magnitude to the multilocation
studies, but with wider confidence intervals (Figure 5-3). However, Byers et al. (2015) reported no
evidence of an association for asthma hospital admissions for people of all ages in a study conducted in

Indianapolis, IN (RR: 0.99 [95% CI: 0.98, 1.01]; lag 0-2).

While a few of the studies that conducted analyses focusing on people of all ages also included

analyses on other age ranges including children (Byers et al., 2015; Winquist et al., 2012), several recent

studies have focused exclusively on the relationship between short-term PM2.s exposure and asthma ED

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visits in children. Both Winquist et al. (2012) and Byers et al. (2015) reported associations larger in
magnitude in children compared with people of all ages combined in St. Louis, MO (RR: 1.05

[95% CI: 1.02, 1.09]; lag 0-4) and Indianapolis, IN (RR: 1.01 [95% CI: 0.98, 1.05]; lag 0-2),
respectively. The results of Winquist et al. (2012) and Byers et al. (2015) are consistent with single-city
(Strickland et al., 2010) and whole-state (Xiao et al., 2016; Gleason and Fagliano, 2015; Strickland et al.,
2015) analyses that focused on pediatric asthma ED visits (Figure 5-3), with ORs and RRs across studies

ranging from 1.01—1.05. An additional study encompassing three U.S. cities (i.e., Atlanta, GA, St. Louis,
MO; and Dallas, TX), which also examined associations in older adults, provides additional support for
the associations observed in other recent studies focusing on children [RR: 1.03 (95% CI: 1.01, 1.05); lag
0-2; Alhanti et al. (2016)].

Most of the studies that examined the association between short-term PM25 exposure and asthma
ED visits focused on analyses for people of all ages and/or children, with a more limited number of
studies examining potential PM2.s effects in adults and older adults (Alhanti et al., 2016; Byers et al.,
2015; Winquist et al.. 2012). Both Byers et al. (2015) in Indianapolis, IN and Winquist et al. (2012) in
St. Louis, MO reported evidence of a null association with asthma ED visits in adults 45 and older, and

65 and older, respectively (Figure 5-3). However, Alhanti et al. (2016) in three U.S. cities reported an
RR of 1.03 (95% CI: 0.99, 1.06) at lag 0-2. Although Alhanti et al. (2016) included St. Louis, MO in the

three U.S. cities examined, when examining city-specific results, the overall association is heavily

influenced by Atlanta, GA, with the St. Louis, MO result being consistent with that reported in Winquist
et al. (2012).

5.1.2.1.3 Summary of Asthma Hospital Admissions and Emergency
Department (ED) Visits

Building off the evidence detailed in the 2009 PM ISA (U.S. EPA, 2009), recent epidemiologic

studies strengthen the evidence for a relationship between short-term PM>.s exposure and asthma-related

hospital admissions and between short-term PM2.5 exposure and ED visits in analyses of children and
people of all ages. Evidence for a relationship in older adults continues to be inconsistent. The main
results of studies detailed within this section are supported by analyses that examined specific
policy-relevant issues as detailed in Section 5.1.10. Specifically, analyses of potential copollutant
confounding provide evidence that PM2.s associations are relatively unchanged in models with gaseous
pollutants and PMjo-2.s, but the evidence is more limited for PMio-2,s (Section 5.1.10). Although in some
instances the results from copollutant models are attenuated, they remain positive overall. The
associations observed across studies were found to be robust in sensitivity analyses that examined
alternative model specifications to account for temporal trends as well as the potential confounding
effects of weather.

Additionally, the overall body of evidence indicating a relationship between short-term PM2.s

exposure and asthma hospital admissions and ED visits is supported by studies that conducted analyses to

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further elucidate this relationship. Across studies that examined whether there was evidence of seasonal
patterns, studies that divided the year into warm and cold season reported associations larger in magnitude
for the warmer months. These results are supported by studies that examined all four seasons of the year,
but they also indicate that effects may be strongest over more defined periods of the year (i.e., the spring;
Section 5.1.10.4.1). Additionally, examinations of the C-R relationship provide some evidence for a linear
relationship for short-term PM>.s exposure and asthma hospital admissions and ED visits. However,
complicating the interpretation of these results is both the lack of thorough empirical evaluations of
alternatives to linearity as well as the results from cutpoint analyses that provide some potential indication
for nonlinearity in the relationship between short-term PM». exposure and asthma hospital admission and
ED visits (Section 5.1.10.6).

5.1.2.2 Respiratory Symptoms and Asthma Medication Use in Populations
with Asthma

Studies evaluating the effects of short-term PM2.s exposure on respiratory symptoms and asthma
medication use consisted only of epidemiologic studies. Results will be discussed separately for children

with asthma and for adults with asthma.

§.1.2.2.1 Children

Uncontrollable respiratory symptoms, such as cough, wheeze, sputum production, shortness of
breath, and chest tightness, can lead people with asthma to seek medical care. Thus, along with
medication use in children, studies examining the relation between PM2s and increases in asthma
symptoms may provide support for the observed increases in asthma hospital admissions and ED visits in
children, as discussed in Section 5.1.2.1. A limited number of panel studies reviewed in the 2009 PM ISA
(U.S. EPA, 2009) provide evidence of an association between PM>:s and respiratory symptoms (Mar et
al., 2004; Gent et al., 2003; Slaughter et al., 2003) and medication use (Gent et al., 2009; Rabinovitch et
al., 2006; Slaughter et al., 2003) in children with asthma. In studies that examined copollutant

confounding, associations between PM2\s and asthma severity were robust to the inclusion of CO ina

copollutant model (Slaughter et al., 2003), while PM>.s associations with persistent cough, chest tightness,

and shortness of breath no longer persisted in models adjusting for O3 (Gent et al., 2003).

A few recent studies provide some additional evidence of an association between PM2.s and a
composite index of multiple symptoms (Figure 5-4). In a panel study including 90 schoolchildren with
asthma in Santiago, Chile, PM2s concentrations were associated with increases in coughing and

wheezing, as well as a composite index of respiratory symptoms (Prieto-Parra et al., 2017). The observed

associations were strongest in magnitude for 7-day avg PM2s. Similarly, among children at two schools in
El Paso, TX, 5-day avg PM2.s concentrations measured outside of the schools were associated with poorer

asthma control scores, which reflect symptoms and activity levels (Zora et al., 2013). The two schools

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included in the study differed in nearby traffic levels but varied similarly in outdoor PM>>s concentration
over time (Section 3.4.3.1). In contrast, students attending schools with varying nearby traffic levels were
also examined in the Bronx, NY, although asthma symptoms were not associated with outdoor school or

total personal PM>.s; concentrations (Spira-Cohen et al., 2011). A low correlation between school and

personal PM>s concentrations (r = 0.17) and a reportedly high proportion of time spent indoors (89%),
suggests that personal PM>.s exposure was largely influenced by indoor rather than ambient sources. In an
additional study related to respiratory symptoms, asthma-related school absence was associated with

19-day avg PM2.s concentrations in a U.S. multicity study (O'Connor et al., 2008). Notably, it is difficult

to control for confounding by meteorological factors over long averaging times. Study-specific details,
including cohort descriptions and air quality characteristics, are highlighted in Table 5-2.

In addition to respiratory symptoms, recent studies of medication use in children add to the
limited evidence base, providing some additional evidence of PM2.s-associated increases in the use of
bronchodilators, which can provide quick relief from asthma symptoms (Figure 5-4). Panel studies of
schoolchildren with asthma in Denver, CO (Rabinovitch et al., 2011) and Mexico City (Escamilla-Nufiez

et al., 2008) observed associations between PM25 concentrations and bronchodilator use. Escamilla-

Nujfiez et al. (2008) reported comparable associations using lag 0 and 5-day avg PM>.s, while Rabinovitch

et al. (2011) observed associations that were stronger in magnitude when estimated using 2-day moving
avg PM>s compared with single-day lags. In contrast, PM2s concentrations were associated with

decreased bronchodilator use in a panel study in Santiago, Chile (Prieto-Parra et al., 2017).

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Study

Location

Composite index of symptoms

tZora ét al. (2013)

Mar et al, (2004)
Slaughter et al, (2003)
tMaestrelliet al. (2011)
+Mirabelli et al. (2016)
Mar et al. (2004)

von Klot et al. (2002)
Bronchodilator use
TRabinovitch et al. (2011)
Gent et al. (2008)
Slaughter et al. (2003)
+Prieto-Parra et al, (2017)

von Klot et al. (2002)

El Paso, TX

Spokane, WA

Seattle, WA

Padua, |taly

US

Spokane, WA

Erfurt. Germany

Denver, CO

NeW Haven, CT

Seattle, WA

Santiago, Chile

Erfurt, Germany

Mean PM2.5
(ug/m3)

13.8

8.4-17.0

30.3

Lag Subgroup

03 All S Children
ICS use >

0 >

1

Q Adults

0-13 —o—

o «

0

0 Children

2

1 —————

0-5

0-4 L—§_@-— Adults
08 ;

Odds Ratio or Relative Risk (95% Cl)

avg = average; Cl = confidence interval, h = hour(s); ICS = inhaled corticosteroid; ug/m? = micrograms per cubic meter;
PM = particulate matter; PM2.5 = particulate matter with a nominal mean aerodynamic diameter less than or equal to 2.5 um.

Note: +Studies published since the 2009 PM ISA. Studies in black were included in the 2009 PM ISA. Effect estimates are

standardized to a 10-yg/m* increase in 24-h avg PM; 5. Lag times reported in days. Corresponding quantitative results are reported
in Supplemental Material (U.S. EPA, 2018).

Figure 5-4

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Summary of associations between short-term PM2,.5 exposures
and respiratory symptoms and medication use in populations
with asthma.

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Table 5-2. Epidemiologic studies of short-term exposure to PM2.5 and respiratory symptoms and medication
use in children with asthma.
PM2s5 Copollutant Model
Study Study Population Exposure Assessment Concentration (ug/m*) Results and Correlations

+Spira-Cohen et al.
(2011)
Bronx, NY

2002-2005

n= 40, ages 10-12 yr

86% with rescue inhaler use

Daily diary for 1 mo

No information on participation rate
89% time spent indoors

School outdoor and total personal
24-h avg

r= 0.17 school and personal
children walk to school

Mean
School: 14.3
Total personal: 24.1

Correlation (nr): NA
Copollutant models with: NA

+Zora et al. (2013)
EI Paso, TX

March-June 2010

n = 36, ages 6-11 yr

33% ICS use, 47% atopy
Weekly measures for 13 weeks
95% follow-up participation

School outdoor

96-h avg

Two schools: High and low traffic
area

r= 0.89 between schools, 0.91
between monitors, 0.73-0.86
school and monitor

Mean, max
School 1: 13.8, 24.9
School 2: 9.9, 18.5

Correlation (rf): (School 1,
School 2) -0.33, -0.19 NO2:
-0.02, 0.25 benzene; 0.10,
0.33 toluene; 0.47, 0.28 O3

Copollutant models with: NA

+Rabinovitch et al.
(2011); Rabinovitch et
al. (2006

Denver, CO
2002-2005

n = 82 (3-yr study), 73 (2-yr study)
65-86% moderate/severe asthma,
82-90% ICS use

Daily measures for 4-7 mo
No information on participation rate

One monitor

24-h avg, 10-h avg (12-11 a.m.),
1-h max (12-11 a.m.)

4.3 km from school
r= 0.92 monitor and school

Mean, max for yr 1-3
24-h avg: 6.5-8.2, 20.5-23.7
10-h avg: 7.4-9.1, 22.7-30.2

1-h max: 16.8-22.9, 39-52
(95th)

Correlation (rf): NA
Copollutant models with: NA

t+Escamilla-Nufiez et al.
(2008)

Mexico City, Mexico
2003-2005

n = 147, ages 9-14 yr

43% persistent asthma, 89% atopy
Daily diary for mean 22 weeks
94% follow-up participation

One monitor

24-h avg

Within 5 km of school or home
r= 0.77 monitor and school

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Mean: 27.8

Correlation (r): 0.62 NO2,
0.54 O3

Copollutant models with: NA

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Table 5-2 (Continued): Epidemiologic studies of PM2.5 and respiratory symptoms and medication use in children

with asthma.

PM2s Copollutant Model

Study Study Population Exposure Assessment Concentration (ug/m*) Results and Correlations
Prieto-Pairra et al. n = 89, ages 6-14 yr One monitor Mean: 30 Correlation (rf): NA
(2017) 50% mild asthma, 53% ICS use, Most homes within 3 km Copollutant models with:
Santiago, Chile 64% atopy PMio, NO2, O3, SQz2, K, Mo,
May-September Daily diary for 3 mo Pb, S, Se, and V
2010-2011 79% follow-up participation
+Mann et al. (2010) n = 280, mean (SD) age 8.1 (1.7) One monitor Median: 18.7 Correlation (r): 0.63 NOz,
Fresno, Clovis, CA 25% moderate/severe asthma, 38% 24-h avg 75th: 32.0 ~0.45 Os, -0.23 PMi0-25,
2000-2005 ICS. use, 63% atopy Within 20 km of home Max: 137 SRE
Daily diary for 2 weeks, every 3 mo Copollutant models with:
89% participation from enrolled Minas
Gent et al. (2009) n= 149, ages 4-12 yr One monitor Mean: 17.0 Correlation (1): NA
New Haven, CT 33% moderate/severe asthma 24-h avg Copollutant models with: NA
2000-2004 Daily diary for mean 313 days Near highway, 0.9-27 km from
No information on participation homes (mean 10 km)
Slaughter et al. (2003) n= 133, ages 5-12 yr Three monitors averaged NR Correlation (r): 0.82 CO
Seattle, WA 100% mild/moderate asthma 24-h avg Copollutant models with: CO
Years NR Daily diary for 28-112 days
No information on participation
Mar et al. (2004) n= 9, ages 7-12 yr One monitor Means Correlation (nr: 0.61 PMio,
Spokane, WA 100% regular medication use 1997: 11.0 0.92 PMi, 0.28 PMio-25
4997-1999 Daily diary for mean 580 days 1998: 10.3 Copollutant models with: NA
No information on participation 1999: 8.1

avg = average; CO = carbon monoxide; h = hour(s); ICS = inhaled corticosteroid use; |OR = interquartile range; K = potassium; km = kilometer; max = maximum;

Lg/m? = micrograms per cubic meter; mo = month(s); Mo = molybdenum; n = sample size; NA = not available; NO2 = nitrogen dioxide; NR = not reported; O3 = ozone; Pb = lead;
PM = particulate matter; PMz5 = particulate matter with a nominal mean aerodynamic diameter less than or equal to 2.5 um; PMio-25 = particulate matter with a nominal mean
aerodynamic diameter greater than 2.5 um and less than or equal to 10 tm; PM,o = particulate matter with a nominal mean aerodynamic diameter less than or equal to 10 um;
r= correlation coefficient; S = sulfur; SD = standard deviation; Se = selenium; SO, = sulfur dioxide; V = vanadium; yr = year(s).

Studies published since the 2009 PM ISA.

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Recent evidence of associations from studies that measured PM>5 concentrations outside of
children’s schools, representing exposure where children spend a large part of their day, increases
confidence in the associations observed. Additionally, recruitment mostly occurred at schools; thus, the
study populations were likely representative of the general population of children with asthma. The
representativeness of results is also supported by the high follow-up participation rates (79-95%; Table
5-2). Meanwhile, potential copollutant confounding remains a source of uncertainty given the lack of
studies that report copollutant models. In limited copollutant results described in the 2009 PM ISA (U.S.
EPA, 2009), PM2.s associations appeared robust to adjustments for CO, but not O3, despite high
copollutant correlation [r > 0.7; Gent et al. (2003) and Slaughter et al. (2003)]. Recent studies show
moderate correlations (0.4 <r < 0.7) for PM2s with O3 and NO» (Table 5-2), although only a single study

presented copollutant models. The association between PM2.s and asthma control in schoolchildren was

attenuated but still positive with adjustment for NO2, O3, benzene, or toluene, which were all weakly to
moderately correlated (7 < 0.5) with PM» (Zora et al., 2013). Copollutant confounding is discussed
further in Section 5.1.10.1.

§.1.2.2.2 Adults

Studies evaluated in the 2009 PM ISA (U.S. EPA, 2009) reported inconsistent evidence of an

association between PM2.s and respiratory symptoms and medication use in adults with asthma. Recent

studies provide limited evidence of association between PM>> and respiratory symptoms or markers for
medication use in adults with asthma (Figure 5-4). A U.S.-wide cross-sectional analysis indicates
increases in any asthma symptom with increases in county-average PMs concentrations modeled by
CMAQ (Mirabelli et al., 2016). Analysis of the C-R relationship isolates the association to lower

concentrations, ranging from 4.0 to 7.1 g/m*. However, this study is limited by its cross-sectional design,

and residual confounding may arise from the 14-day PM» averaging time and lack of consideration of
confounding by community-level SES. A recent study in Milan, Italy measured levels of the beta-agonist
salbutamol in untreated wastewater samples to estimate the daily population-level use of short-acting

beta-antagonists (Fattore et al., 2016). Single-day PM»; lags, ranging from 0 to 10 days, were associated

with increases in daily defined doses of short-acting beta-antagonists, with associations that were
strongest in magnitude at lags 7 and 8 (RR: 1.07 [95% CI: 1.02, 1.12]). The validity and reliability of
wastewater levels of medication as an indicator for medication use is untested, but previous results show
increases in self-reported beta-agonist and ICS use with increases in PM» concentrations averaged over
5 days (von Klot et al., 2002). Other recent studies of associations between personal exposure to PM2.s

and respiratory symptoms, examined in aggregate or individually, are limited by simple correlation

analyses on observations (Larsson et al., 2010) or by temporal mismatch between 2-day PM2s exposure

and 4-week symptom interval (Maestrelli et al., 2011).

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5.1.2.3 Lung Function Changes in Populations with Asthma

Several epidemiologic studies evaluated the effects of short-term PM».s exposure on lung
function. Results will be discussed separately for children with asthma and for adults with asthma. Some
studies in adults employed scripted exposures to further inform the relationship between short-term PM>s
exposure and lung function. Scripted studies measuring personal ambient PM>s exposures are designed to
minimize uncertainty in the PM2.s exposure metric by always measuring PM2:s at the site of exposure,
ensuring exposure to sources of PM2.s and measuring outcomes at well-defined lags after exposure.
Several controlled human exposure and animal toxicological studies examined lung function changes in

individuals with asthma or animal models of allergic airway disease.

5.1.2.3.1 Children

Lung function metrics can indicate airway obstruction, which is the defining characteristic of
asthma. Further, specific lung function metrics, such as FEV, have been shown to have prognostic value

for asthma exacerbation (Pijnenburg et al., 2015), such that PM>.s-related decrements in lung function

may provide support for the observed increases in asthma hospital admissions and ED visits in children,
as discussed in Section 5.1.2.1. In the 2009 PM ISA (U.S. EPA, 2009), several panel studies of children

with asthma provide generally consistent evidence of an association between short-term PM2.s

concentrations and decreased FEV;. PM>.s exposure in particular microenvironments was also associated
with lung function decrements in studies examined in the 2009 PM ISA. In Seattle, WA, decrements in
some measures of lung function (PEF, MEF, FEV,) were associated with PM2s concentrations (Allen et

al., 2008; Trenga et al., 2006). Based on the ratio of personal to ambient sulfur concentrations, total

personal PM>s exposure was partitioned into ambient-generated and nonambient-generated fractions.
Only the ambient-generated PM2.s5 was associated with lung function decrements [FEV,, PEF, MEF;

Allen et al. (2008)]. PM2s concentrations at fixed-site monitors were associated with larger decrements in

FEV, among children with asthma in Denver, CO after adjusting for an estimate of the ambient-generated
portion based on the ratio of personal to ambient sulfur concentrations (Strand et al., 2006). Notably, there

was a lack of studies that examined potential confounding by copollutants, raising uncertainties about the

independence of the observed associations.

Several recent studies continue to provide evidence of an association between short-term PM2.s
exposure and FEV, decrements in children with asthma. Like the studies of respiratory symptoms in
children with asthma (Section 5.1.2.2), lung function studies followed children with asthma in an array of
cities in the U.S., Canada, and Asia (Table 5-3) that are similar to the locations of studies that examined
asthma hospital admissions and ED visits (Section 5.1.2.1). In Riverside and Whittier, CA, personal PM2,s

and monitor PM2s5 concentrations were associated with decreased FEV, (Delfino et al., 2008).

Associations were strongest in magnitude for personal PM2.s exposures, particularly those for 1- and

8-hour max concentrations, suggesting that peak exposures in a certain microenvironment may have

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increased relevance to lung function. Similarly, among children attending two schools with varying
nearby traffic levels in the Bronx, NY, Spira-Cohen et al. (2011) reported decrements in FEV; in relation

to personal PM2s concentrations averaged in the 12 hours prior to spirometry. The authors did not observe
a similar association with PM2.s exposure estimated from monitors outside of the schools. In Windsor,

Canada, in another panel of schoolchildren with asthma, Dales et al. (2009) observed associations

between 24-hour avg PM2.s concentrations and nighttime FEV; decrements, as well as 12-hour avg PM>
and diurnal FEV;. PM2.s exposure was estimated ftom a city monitor, although most panel subjects

reportedly lived within 10 km downwind of the monitor. In contrast, Smargiassi et al. (2014) reported that

lung function was not associated with personal PM>.s in a panel study following 72 children with asthma

for 10 consecutive days in Montreal, Canada.

Within studies that compared multiple exposure assignment methods, FEV; decrements were
larger in relation to PM2.s exposure estimated from personal samplers compared with fixed-site monitors

(Spira-Cohen et al., 2011; Delfino et al., 2008). This result is generally consistent with evidence from the

2009 PM ISA (U.S. EPA, 2009) and potentially indicates reduced exposure measurement error in the

personal exposure measures. The errors and uncertainties related to various exposure assignment methods
(Section 3.3.5), and the relation between personal and ambient concentrations (Section 3.4.1.3), are
discussed in further detail in Chapter 3. These results for personal exposure also suggest that PM>s
exposure in microenvironments may have an independent effect on lung function. However, uncertainties
remain regarding the independent effect of PM2s given the limited number of studies that examine
potential copollutant confounding and the general limitations of copollutant models. A single recent study
examined copollutant models and reported diurnal and nighttime FEV, associations with PM>.s that were
robust to adjustment for O3 (Dales et al., 2009). Nighttime FEV, associations were also generally

unchanged in models including NO2 or SOQ2, while diurnal FEV; decrements were attenuated, but still
negative. Notably, the correlation between PM2s and O; (7 = 0.26) was much lower than PM2s-NO2
(r = 0.68) and PM>.s-SO> (r = 0.43) correlations. Further discussion of copollutant confounding is

provided in Section 5.1.10.1.

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Table 5-3

Epidemiologic studies of short-term exposure to PMz2.5 and lung function in populations with asthma.

Study

Study Population

Exposure Assessment

Concentration (yg/m*)

PMz.s Copollutant Model
Results and Correlations

Children

+Spira-Cohen et al.

(2011)
Bronx, NY

2002-2005

n= 40, ages 10-12 yr

86% rescue inhaler use

Daily supervised measures—1 mo
No information on participation rate
89% time spent indoors

Schoo! outdoor and total
personal

12-h avg (9 a.m.-9 p.m.), 24-h
avg

r=0.17 school and personal
Most children walk to school

Mean
School: 14.3
Total personal: 24.1

Correlation (rj: NA
Copollutant models with: NA

+Delfino et al. (2008)
Riverside, Whittier, CA

July-December 2003
and 2004

n = 53, ages 9-18 yr

100% mild/moderate persistent asthma,

62% controlled medication use
Daily home measures—10 days
No information on participation rate

One monitor and total personal
24-h avg, 1-h max, 8-h max

Within 16 km of homes in
Riverside, CA, 8 km in Whittier,
CA.

r= 0.60 personal-monitor
100% above limit of detection

Mean, max

Monitor, 24-h avg: 23.3,

87.2

Total personal

24-h avg: 31.2, 180
1-h max: 90.1, 603.4
8-h max: 46.2, 241

Correlation (r): (personal,
ambient) 0.22, 0.51 EC; 0.26,
0.62 OC; 0.38, 0.36 NOz

Copollutant models with: NOz

+Smargiassi et al.
(2014)

Montreal, Canada

October 2009-—April
2010

n= 72, ages 8-12 yr

43% ICS use, 68% atopic

Daily supervised measures—10 days
No information on participation rate

Total personal
24-h avg
12% below limit of detection

Mean: 9.6
75th: 11.7
Max: 100

Correlation (r): NA
Copollutant models with: NA

+Jacobson et al.
(2012)
Alta Floresta, Brazil

August-December
2006

n = 56, ages 8-15 yr

5% asthma medication use

Daily supervised measures—4 mo
90% follow-up participation

School outdoor

24-h avg, 6-h avg (12-5:30 a.m.
to 6-11:30 p.m.), 12-h avg
(12-11:30 a.m. to

42-11:30 p.m.)

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Table 5-3 (Continued): Epidemiologic studies of PM2.5 and lung function in populations with asthma.

Study

Study Population

Exposure Assessment

Concentration (yg/m*)

PMz.s Copollutant Model
Results and Correlations

Allen et al. (2008):
Trenga et al. (2006)

Seattle, WA
1999-2002

n= 17, ages 6-13 yr

Most mild persistent asthma, 65%
asthma medication use

Daily supervised measures—5-10 days,
multiple sessions for some subjects

No information on participation rate

Outdoor home, total personal,
ambient

24-h avg
Ambient estimated from

personal-to-ambient sulfur ratio
and outdoor home PMz.s.

Mean/median, 75th
Outdoor home: 11.2, 14.7
Total personal: 11.3, 16.3
Ambient: 6.3, 7.6

Correlation (r): (home monitor,
ambient monitor) 0.51, 0.56
NOz2; 0.70, 0.77 CO

Copollutant models with: NA

Barraza-Villarreal etal. n= 158, ages 6-14 yr One monitor 8-h avg Correlation (r): 0.46 Os, 0.61
2008 55% mild intermittent asthma, 6% ICS 8-h moving avg Mean: 28.9 NO2
Mexico City, Mexico use, 89% atopy Within 5 km of school or home Max: 103 Copollutant models with: Os
2003-2005 Supervised measures every 15 days— _—- = 9 77 monitor-school

mean 22 weeks

No information on participation rate
O'Connor et al. (2008) n= 861, ages 5-12 yr Monitors averaged in city NR Correlation (r): 0.59 NO2, 0.37
Boston, MA; Bronx, 100% persistent asthma, 100% atopy, Number NR SOz, -0.02 Os, 0.44 CO
Manhattan, NY; 12% ICS use 24-h avg Copollutant models with: NA
Chicago, IL; Dallas, —_ Daily home measures—2 weeks eve ithi
TX: Tucson, AZ: 5 foray TY — Within median 2.3 km of home
Seattle, WA 70% max measures obtained
+Dales etal. (2009 n= 182, ages 9-14 yr Two monitors averaged 24-h avg Correlation (r): -0.26 O3, 0.68
Windsor, Canada 58% medication use 24-h avg, 12-h avg (12-8 a.m., Mean: 7.8 NO2, 0.43 SO2
October-December Daily home measures—28 days 8 a.m.—8 p.m.) 75th: 10.0 Copollutant models with: NO2,
2005 No information on participation rate 99% within 10 km of monitors SO2and Oa

Mean 1.6 and 2.2 h/day outdoors
Yamazaki et al. n= 17, ages 8-15 yr One monitor next to hospital Mean Correlation (r): (morning,
2011 Children in long-term hospital care 24-h avg, 1-h avg 6-7 a.m.: 24.0 eek ar Ae acca
Yotsukaido, Japan 400% severe, 100% medication use, 42-1 p.m.: 26.9 iain UC

0.78, 0.62, 0.56

October-December 100% atopy 6-7 p.m.: 30.0

2000

Daily supervised measures—2-3 mo
No information on participation rate

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Copollutant models with: O3

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Table 5-3 (Continued): Epidemiologic studies of PM2.5 and lung function in populations with asthma.

PMz.s Copollutant Model

Study Study Population Exposure Assessment Concentration (yg/m*) Results and Correlations
tHong et al. (2010) n= 18, mean (SD) age 9.3 (0.5) yr Monitors in city, number NR Mean: 36.2 Correlation (r): NA
Seoul, South Korea No information on asthma severity 24-h avg Copollutant models with: NA
May-June 2007 Daily home measures—1 mo

No information on participation rate

Adults
McCreanor et al. n=60, ages 19-55 yr Personal ambient Median, max Correlation (r): 0.62 UFP, 0.60
2007 100% mild/moderate asthma, 100% 2-h avg (10:30-12:30 a.m.) High-traffic road: 28.3, 76.1 NOz, 0.76 C, 0.73 EC
London, U.K. AHR, 84% atopy Scripted exposure walking on Park: 11.9. 55.9 Copollutant models with: NOz
2003-2005 Supervised measures—high and low high-traffic road and in park,

traffic
No information on participation rate

3 weeks apart

+Mirabelli et al. (2015)
Atlanta, GA
2009-2011

n= 18, ages NR.
Mean FEV:: 100% predicted

Supervised measures—pre- and
postcommute, two exposures

Personal in-vehicle Mean (SD)
2-h avg (7-9 a.m.) Asthma control > median:

Scripted exposure driving caron 23-8 (11.7)
highway, median 17/13 weeks Asthma control < median:

Correlation (rj: NA
Copollutant models with: NA

92% completed 2nd commute apart 21.5 (11.1)
+Maestrelli et al. n = 32, mean (SD) age 40 (7.5) yr Total personal NR Correlation (r): NA
2011 56% severe asthma, 91% atopy 24-h avg Copollutant models with: NA
Padua, Italy Supervised measures, six over 2 yr
Years NR

76% with 23 measures

AHR = airway hyperresponsiveness; avg = average; C = carbon; CO = carbon monoxide; EC = elemental carbon; FEV, = forced expiratory volume in 1 second; h = hour(s):

ICS = inhaled corticosteroid use; km = kilometer; max = maximum; pg/m*® = micrograms per cubic meter; mo = month(s); n = sample size; NA = not available; NO2 = nitrogen dioxide;
NR = not reported; O3 = ozone; OC = organic carbon; PM = particulate matter; PMz.5 = particulate matter with a nominal mean aerodynamic diameter less than or equal to 2.5 ym;
r= correlation coefficient; SD = standard deviation; SO2 = sulfur dioxide; UFP = ultrafine particles; yr = year(s).

+Studies published since the 2009 PM ISA.

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A few recent studies have also examined other lung function metrics. In the study of
schoolchildren in New York, NY, discussed previously, Spira-Cohen et al. (2011) observed an association

between 12-hour avg personal PM>.s exposure and PEF decrements. As with the examination of FEV), the
authors did not observe an association with PM25 at school-site monitors. In a panel study of children
receiving long-term in-hospital care in Yotsukaido, Japan, PM>2.s concentrations averaged over the

24 hours prior to spirometry were associated with both morning and evening PEF decrements (Yamazaki

et al., 2011). Given the severity of asthma in this population, the results might not be applicable to the

general population with asthma. PEF decrements were also associated with 24-hour avg PM2s

concentrations in a panel of schoolchildren in Seoul, South Korea (Hong et al., 2010). While the authors

examined several single-day lags, ranging from 0 to 4 days, they only observed an association at lag 0. As

discussed previously, Smargiassi et al. (2014) reported that personal PM2s exposure was not related to an

array of lung function metrics, including FVC and FEF 25-7s.

In summary, recent studies add to the existing evidence linking short-term PM2s exposure to
decrements in FEV; in children with asthma. While the previously existing evidence base for
PM>s-related decrements in PEF is less consistent than that for FEV, a few recent studies provide
generally consistent evidence indicating an association. Importantly, uncertainty regarding potential

copollutant confounding remains.

§.1.2.3.2 Adults

A single study evaluated in the 2009 PM ISA (U.S. EPA, 2009) examined the association
between short-term exposure to PM>.s and lung function in adults with asthma. In a panel of 60 adults
with asthma in London, average PM>2.s concentrations measured over a 2-hour outdoor walk was
associated with decrements in FEV; and MMEF>s-75%, but not FVC (McCreanor et al., 2007). Studies
published since the 2009 PM ISA are few and results are inconsistent. Mirabelli et al. (2015) studied
adults with asthma in Atlanta, GA and reported decreased FEV, associated with 2-hour avg personal

PM>.s exposure measured 3 hours before spirometry. PM2.s concentrations were measured during scripted
commutes (1.e., pre-planned routes) through rush hour traffic, resulting in higher exposure levels. The
observed associations were larger and more precise in participants with poorly controlled asthma. In
contrast, in Padua, Italy, Maestrelli et al. (2011) tested the relationship between FEV, and 24-hour avg

personal PM2s exposure the day before spirometry and reported no association in adults with asthma.
This study was limited by a design that designated 6 single-day examination visits across a 2-year period,
precluding the opportunity to examine alternative exposure lags. Additionally, low variability in personal
PM2.s measurements may have contributed to the lack of an observed association.

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5.1.2.3.3 Controlled Human Exposure Studies

Individuals with pre-existing airway diseases like asthma may suffer increased deleterious health
effects from exposure to PM compared with individuals without pre-existing airway disease. Increased
susceptibility of a PM2,s-related health effect may be associated with specific mechanisms known to
underlie the pathology of asthma, namely elevated inflammation and altered immune activity. However,
there is little evidence from studies evaluated in the 2009 PM ISA (U.S. EPA, 2009) that exposure to
PM>s results in decrements in lung function in individuals with asthma. Although a study evaluated in the
2009 PM ISA Petrovic et al. (2000) observed that a 2-hour exposure to PM>s CAPs (92 ug/m*) resulted in

decreases in thoracic gas volume in healthy volunteers, other measures of lung function (spirometry,

diffusing capacity, airway resistance) were unaffected. This general lack of effect of PM». exposure on
lung function has also been shown in a study investigating the exposure of individuals with asthma to

PM2.s CAPs (Gong et al., 2003). A recent study examining the respiratory effects of PM2.s on individuals

with asthma has been conducted by Urch et al. (2010) using a CAP facility for PM2s5 located in downtown
Toronto, Canada (study details in Table 5-4). Exposure to either PM2s CAPs alone or in addition to O;
did not affect any measurement of pulmonary function, breathing parameters (tidal volume, breathing
frequency, minute ventilation), or airway responsiveness (PC20), compared with exposure to a filtered-air
control. The lack of effect of PM2s CAPs on respiratory function observed in Urch et al. (2010) is

consistent with the results of previous controlled human exposure studies in which worsening of

pulmonary function was not observed.

Table 5-4 Study-specific details from a controlled human exposure study of
short-term PM2.5 exposure and lung function in individuals with

asthma.
Exposure Details
(Concentration;
Study Disease Status; Duration; Comparison
Study Design n; Sex Group) Endpoints Measured
Urch et al. (2010) Blinded Healthy PMz.s CAPs only:64 +3 Spirometry (pre-, 10-min, and

randomized nonsmokers (13) or 140+6 ug/m? PM2s  20-h postexposure): Flow-volume,
block design and individuals Caps + O3: 68 + 5 or DLCO, MV, VT

with asthma (10); 442 +7 g/m

n=23,11M, — PMz5+119+1 ppb Os

12 F '
Comparison group for
both groups was filtered
air; all exposures were
for 2 h carried out at rest

CAPs = concentrated ambient particles: DLCO = diffusion capacity for CO; F = female; h = hour(s); M = male; pg/m® = micrograms
per cubic meter; min = minute(s); MV = minute volume; n = number of subjects; O3 = ozone; PM25 = particulate matter with a
nominal mean aerodynamic diameter less than or equal to 2.5 um; ppb = parts per billion; VT = tidal volume.

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5.1.2.3.4 Animal Toxicological Studies

The 2009 PM ISA (U.S. EPA, 2009) evaluated a limited number of inhalation studies examining
pulmonary function in animal models of allergic airway disease, which share phenotypic features with
asthma in humans. One study reported increased airway responsiveness to methacholine, as indicated by
enhanced pause (Penh), following short-term exposure to diesel exhaust (DE). However, this study did
not determine whether effects were due to particles or to gases in the mixture. No additional studies have
become available since then. In many animal studies, changes in ventilatory patterns are assessed using
whole-body plethysmography, for which measurements are reported as Penh. Some investigators consider
Penh solely an indicator of altered ventilatory timing (see Section 5.1.7.4) in the absence of other
measurements to confirm changes in airway responsiveness.

5.1.2.3.5 Summary of Lung Function in Populations with Asthma

Overall, panel studies in children with asthma find generally consistent evidence of associations
between short-term PM>.s exposure and lung function decrements. However, uncertainty regarding
potential copollutant confounding remains. Evidence is more limited and less consistent in panel studies
involving adults with asthma. Further, several controlled human exposure studies failed to observe lung
function decrements in adults with asthma following short-term PM2.s exposure. No studies have
examined this endpoint in animal models of allergic disease, which share many phenotypic features with

asthma in humans.

5.1.2.4 Subclinical Effects Underlying Asthma Exacerbation

Several epidemiologic studies evaluated the effects of short-term PMs exposure on subclinical
effects. Results are discussed separately for children with asthma and adults with asthma. Some studies in
adults employed scripted exposures to further evaluate this relationship. Scripted studies measuring
personal ambient PM2s exposures are designed to minimize uncertainty in the PM2.s exposure metric by
always measuring PM), at the site of exposure, ensuring exposure to sources of PM2s and measuring
outcomes at well-defined lags after exposure. Several controlled human exposure and animal

toxicological studies examined subclinical effects underlying asthma exacerbation.

5.1.2.4.1 Children

Evidence described in the preceding sections for PM>.s-related increases in asthma hospital
admissions, asthma ED visits, and respiratory symptoms and lung function in children with asthma
indicates a potential link between PM2s exposure and asthma exacerbation. The 2009 PM ISA (U.S. EPA

2009) also described generally consistent epidemiologic evidence linking increases in pulmonary

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inflammation in children with asthma to short-term personal PM>2.s exposure and ambient PM2:s
concentrations. Most studies examined exhaled nitric oxide (eNO) as an indicator of pulmonary
inflammation. The relevance of eNO to asthma exacerbation is well supported. Levels of eNO have been

associated with eosinophil counts (Brody et al., 2013), which mediate inflammation in allergic asthma.

Further, eNO is higher in people with asthma and increases during acute exacerbation (Soto-Ramos et al.,

2013; Kharitonov and Barnes, 2000). In the U.S., associations between short-term PMs exposure and

eNO were observed in panel studies of children with asthma in southern California (Delfino et al., 2006)
and Seattle, WA (Allen et al., 2008; Koenig et al., 2005). In Seattle, WA, total personal PM2.s exposure

was partitioned into ambient-generated and nonambient-generated fractions based on the ratio of personal
to ambient sulfur concentrations. Only the ambient-generated PM>2.s was associated with pulmonary
inflammation (Allen et al., 2008). Associations were also observed in most (Liu et al., 2009; Murata et al.,
2007; Fischer et al., 2002), but not all (Holguin et al., 2007), studies of children outside of the U.S.

Several recent studies provide less consistent evidence of an association between short-term
PM>.s exposure and pulmonary inflammation in children with asthma (Figure 5-5). Study-specific details,
including cohort descriptions and air quality characteristics, are highlighted in Table 5-5. Among children
at four schools in the neighboring cities of E] Paso, TX and Ciudad Juarez, Mexico, eNO was associated

with 48-hour avg outdoor PM2s5 (Sarnat et al., 2012). Notably, the observed association was largely driven

by results from children in one school (Ciudad Juarez) with the highest mean PM25 concentrations. While

Sarnat et al. (2012) reported a small, imprecise association between 2-day avg outdoor PM>s

concentration and eNO in El Paso, TX, a follow-up study of children in the same El Paso, TX schools
observed null associations for 4-day avg outdoor PM>,.; concentrations (Greenwald et al., 2013). Ambient
PM>.s concentrations across the two studies were similar (Table 5-5). A reanalysis of Delfino et al. (2006)

confirmed that eNO was not associated with PM>,.s5 concentrations measured at fixed-site monitors within

12 km of subjects’ residences in a panel study of children with asthma in southern California (Delfino et
al., 2013). However, Delfino et al. (2006) did report an association with personal PM> 5s in the initial
study. In contrast to evidence of an association between personal PM25 exposure an eNO, Maikawa et al.

(2016) observed a negative association between previous-day personal PM>.s exposures and eNO in
62 children with asthma in Montreal, Canada.

Other recent studies that used fixed-site monitors to estimate short-term PM>s concentrations
reported more consistent evidence of an association between PM2s and pulmonary inflammation in
children with asthma. Panel studies of children in Beijing, China (Lin et al., 2011) and southern
California (Berhane et al., 2011) reported eNO associations with 24-hour avg PM2.s concentrations on the

same day of examination and 7-day avg concentrations prior to examination, respectively. Additionally, a

panel study of schoolchildren with asthma in Denver, CO (Rabinovitch et al., 2011) indicated a PM2s
association with increases in urinary leukotriene E4, a cytokine involved in inflammation that is found to
increase during asthma exacerbation. Results were similar by asthma severity, but varied across years,

with the PM>s-associated increases in urinary leukotriene E4 limited to 2 of the first 3 study years. Only

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some children overlapped across years, and PM2>5 concentrations were slightly higher in Year 3
(Rabinovitch et al., 2011).

Study

+Sarnat et al. (2012)

+Greenwald et al, (2013)

tLin et al. (2011)

+Delfino et al, (2013)

Delfino et al. (2007)

tMaikawa et al. (2016)

Barazza-Villarreal et al.
(2008)

Liu et al. (2009)
+Berhane et al. (2011)
McCreanor et al. (2007)

TMirabelli et al. (2075)

Location

El] Paso, TX

Ciudad Juarez, Mexico

El] Paso, TX

Beijing, China

Riverside, CA
Whittier, CA,

Riverside, CA
Whittier, CA

Montreal, Canada

Mexico City, Mexico

Windsor, Canada

13 southern CA cities

London, U.K.

Atlanta, GA

Mean PM2.5 Lag Subgroup

(ug/m3)

15.6, 6.8
31,20

9.9
13.8

46-212
23.2 (18.4)
32.8

36.2

19.3

28.9

6.5
NR
28.3, 11.9

23.8

0-1

0-3

0-1

Sh

3h

School A
School B

t
'
'
I
0

10 20 30

Percent change in exhaled nitric oxide (95% Cl)

avg = average; Cl = confidence interval; h = hour(s); g/m = micrograms per cubic meter; PM = particulate matter;
PMz25 = particulate matter with a nominal mean aerodynamic diameter less than or equal to 2.5 um.

Note: Studies in red with a dagger are recent studies. Studies in black were included in the 2009 PM ISA. Effect estimates are
standardized to a 10-pg/m? increase in 24-h avg PM2 5. Lag times reported in days. Corresponding quantitative results are reported

in Supplemental Material (

U.S. EPA, 2018).

Figure 5-5 Summary of associations between short-term PM2.5 exposures
and exhaled nitric oxide in populations with asthma.

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Table 5-5 Epidemiologic studies of short-term exposure to PM25 and subclinical effects underlying asthma
exacerbation.
PMz.5 Copollutant Model
Study Study Population Exposure Assessment Concentration (ug/m*) Results and Correlations
Children

+Sarnat et al. (2012)

E| Paso, TX; Ciudad
Juarez, Mexico

January-May 2008

n = 58 (14-15/school), ages 6-12 yr
33% ICS use, 41% hay fever
Weekly eNO—16 weeks

Mean 14 measures/subject, 787 total
No information on participation rate

School outdoor

48-h avg

Schools A and B: Low and high
traffic

Mean distance home-school:
3.2 km

r=0.71-0.93 school-school
(within city), 0.91
school-monitor, 0.73-0.86
school-—monitor

Mean outdoor
Ciudad Juarez A: 31
Ciudad Juarez B: 20
El Paso, TX A: 8.8
El Paso, TX B: 15.6

Correlation (r): (across
schools) 0.00, 0.05, -0.39,
-0.28 NOz

Copollutant models with: O3
and NO2

+Greenwald et al.

(2013)
El Paso, TX

March-—June 2010

n = 38, mean age 10 yr

55% ICS use

Weekly eNO—13 weeks

536 total measures

No information on participation rate

School outdoor

96-h avg

School A and B: Low and high
traffic

r= 0.89 school-school, 0.91
monitor-monitor, 0.73-0.86

school-monitor (Zora et al.
2013)

Mean (SD) outdoor
School A: 9.9
School B: 13.8

Correlation (r): 0.20 NO2,
0.30 BTEX, 0.44 cleaning
product VOCs, 0.37 SO2

Copollutant models with:
NA

tLin et al. (2011):
Zhu (2013)

Beijing, China

June, September,
December 2007 and

June, September
2008

n=8, ages 9-12 yr

Daily eNO—10 days, 5 periods
1,581 total measures

No information on participation rate

One monitor, 0.65 km from
school

24-h avg
r= 0.56 school-monitor

Mean across periods
212, 96.0, 144, 183, 46.4
Max overall: 311

Correlation (r): 0.30 NOz

Copollutant models with:
NO2, SO2, and CO

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Table 5-5 (Continued): Epidemiologic studies of PM2.5 and subclinical effects underlying asthma exacerbation.

Study

Study Population

Exposure Assessment

Concentration (pg/m*)

PM2.5 Copollutant Model
Results and Correlations

{Delfino et al. (2013)

Delfino et al. (2006
Riverside, CA

August-December
2003

Whittier, CA
July-November 2004

n=45, ages 9-18 yr

100% persistent asthma, 64% ICS use

Daily eNO—10 days
Number measures NR
No information on participation rate

One monitor per city Mean: 23.2 Correlation (r): 0.31 NO2,
24-h avg Max: 87.2 0.39 Os

Within 12 km of Riverside, CA Copollutant models with:
homes, 5 km of Whittier, CA NA

homes

Total personal, One monitor per Mean, max Correlation (r): (personal,

city
24-h avg, 1-h max

r=0.77 personal-home, 0.64
monitor-personal.

Total personal, 24-h avg
Riverside, CA: 32.8, 98
Whittier, CA: 36.2, 197
Total personal, 1-h max
Riverside, CA: 97.9, 432
Whittier, CA: 93.6, 573
Monitor, 24-h avg
Riverside, CA: 36.6, 87
Whittier, CA: 18, 77

monitor) 0.33, 0.25 NOz

Copollutant models with:
NO2

+Maikawa et al.
(2016)
Montreal, Canada

October 2009-April
2010

n = 62, ages 8-12 yr

15% severe asthma, 24% ICS use
Daily eNO—10 days

Median three measures/subject

Total personal
24-h avg

55% samples had insufficient
mass

Mean: 19.3
Max: 101

Correlation (r): 0.00 O3
Copollutant models with: Os

Allen et al. (2008):
Mar etal. (2005)

Seattle, WA
1999-2002

n= 17, ages 6-13 yr
Mostly mild persistent asthma, 65%
asthma medication use

Daily eNO—5-10 days, multiple
periods

6-20 measures/subject, 226 total
No information on participation rate

Home outdoor, total personal,
ambient

24-h avg
Ambient estimated from

personal-to-ambient sulfur ratio

and outdoor home PMz.s.

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Mean/median, 75th
Outdoor home: 11.2, 14.7
Total personal: 11.3, 16.3
Ambient: 6.3, 7.6

Correlation (nr): NA

Copollutant models with:
NA

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Table 5-5 (Continued): Epidemiologic studies of PM2.5 and subclinical effects underlying asthma exacerbation.

Study

Study Population

Exposure Assessment

Concentration (pg/m*)

PM2.5 Copollutant Model
Results and Correlations

+Rabinovitch et al.
(2011); Rabinovitch
et al. (2006
Denver, CO

2002-2005

n = 82 (3-yr study), 73 (2-yr study)

65-86% moderate/severe asthma,
82-90% ICS use

Daily urinary LTE4—up to 8 days, two
periods per yr

Median 11-13 measures/subject
Yr 1-3

No information on participation rate

One monitor

24-h avg, 10-h avg
(12-11 a.m.), 1-h max
(12-11 a.m.)

4.3 km from school
r= 0.92 monitor and school

Mean, max for Yr 1-3
24-h avg: 6.5-8.2, 20.5-23.7
10-h avg: 7.4-9.1, 22.7-30.2

1-h max: 16.8-22.9,
39-52 (95th)

Correlation (r): NA

Copollutant models with:
NA

Barraza-Villarreal et
al. (2008

Mexico City, Mexico
2003-2005

n= 158, ages 6-14 yr
55% mild intermittent asthma, 6% ICS
use, 89% atopy

eNO, nasal lavage IL-8 every
15 days—mean 22 weeks

702 total measures
No information on participation rate

One monitor
8-h avg

Within 5 km of school or home

r=0.77 monitor-school

Mean: 28.9
Max: 103

Correlation (r): 0.46 Os,
0.61 NO2

Copollutant models with: Os

Liu et al. (2009); Liu
(2013)

Windsor, Canada

October-December
2005

n = 182, ages 9-14 yr

37% ICS use

Weekly eNO, TBARS—4 weeks
672 total measures

No information on participation rate

Two monitors averaged
24-h avg
99% homes within 10 km

Median (IQR): 6.5 (6.0)
95th: 19.0

Correlation (r): -0.41 Os,
0.71 NOz, 0.56 SOz

Copollutant models with:
O3, NOz2, and SO2

+Berhane et al.
(2011)

13 southern
California cities

2004-2005

n = 169, ages 6-9 yr
One eNO measure, cross-sectional
No information on participation rate

One monitor per community
24-h avg

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NR

Correlation (r): (warm
season, cold season) 0.61,
-0.05 Os; 0.47, 0.65 NO2

Copollutant models with:
NA

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Table 5-5 (Continued): Epidemiologic studies of PM2.5 and subclinical effects underlying asthma exacerbation.

PM2.5 Copollutant Model

Study Study Population Exposure Assessment Concentration (pg/m*) Results and Correlations
Adults
McCreanor et al. n= 60, ages 19-55 yr Personal ambient Median, max Correlation (r): 0.60 NO2,
2007 100% mild/moderate asthma, 100% — 2-h avg (10:30-12:30 a.m.) High-traffic road: 28.3, 76.1 0.76 CO
London, U.K. AHR, 84% atopy Scripted exposure walking on Park: 11.9, 55.9 Copollutant models with:
2003-2005 2 €NO measures—high and low traffic high-traffic road and in park, NO2
No information on participation rate 3 weeks apart
{Mirabelli et al. = 18, ages NR. Personal in-vehicle Mean Correlation (rn): NA
2015 Mean FEV:: 100% predicted 2-h avg (7-9 a.m.) Asthma control > median: 23.8 Copollutant models with:
Atlanta, GA Two measures—pre- and Scripted exposure driving caron Asthma control < median: 21.5 NA
2009-2011 postcommute highway, median 17/13 weeks
Two periods apart
92% completed 2nd commute
+Maestrelli et al. n = 32, mean (SD) age 40 (7.5) yr Total personal NR Correlation (rf): NA
2011 56% severe asthma, 69% ICS use, 24-h avg Copollutant models with:
Padua, Italy 91% atopy NA
Years NR Six eNO measures over 2 yr

166 total measures
No information on participation rate

AHR = airway hyperresponsiveness; avg = average; BTEX = benzene, toluene, ethylbenzene, xylene; CO = carbon monoxide; eNO = exhaled nitric oxide; FEV, = forced expiratory
volume in 1 second; h = hour(s); ICS = inhaled corticosteroid use; IL-8 = interleukin-8; [OR = interquartile range; km = kilometer; LTE4 = leukotriene E4; max = maximum;

g/m? = micrograms per cubic meter; n = sample size; NA = not available; NO2 = nitrogen dioxide; NR = not reported; O3; = ozone; PM = particulate matter; PM2.5 = particulate matter
with a nominal mean aerodynamic diameter less than or equal to 2.5 ym; r= correlation coefficient, SD = standard deviation; SO2 = sulfur dioxide; TBARS = thiobarbituric acid

reactive substances; VOCs = volatile organic compounds; yr = year(s).
Studies published since the 2009 PM ISA.

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The inconsistency in recent findings, as related to the 2009 PM ISA, is not explained by lower
PM2.s concentrations in recent studies (Table 5-5) but may be influenced by location-specific differences
in PM sources, study populations, or building infiltration characteristics (Section 3.4). Studies evaluated
in the 2009 PM ISA observed associations in locations representing a wide range of PM2.s concentrations.
Additionally, one strength of previously reviewed studies of pulmonary inflammation is that they
examined the hourly lag structure of PM2.s associations. Most (Rabinovitch et al., 2006; Mar et al., 2005)

results indicated an increase in inflammation with increases in PM2s concentrations averaged over the
preceding | to 11 hours. Associations were also observed with 1- or 8-hour max PM:2;s that were larger
than those for 24-hour avg PM>s (Delfino et al., 2006; Rabinovitch et al., 2006). Other results indicate
that PM2.s exposure may have a rapid and transient effect on pulmonary inflammation in people with
asthma. For Seattle, WA and Riverside and Whittier, CA, distributed lag models show an increase in eNO

with the 1-hour avg PM2,s concentration up to 5 or 10 hours prior but not with longer lags of 24—48 hours
(Delfino et al., 2006; Mar et al., 2005). These results suggest that some of the recent studies may have

examined exposure windows that were too long to detect an association, although Berhane et al. (2011)

observed eNO associations with cumulative average PM2s5 up to 30 days.

Additionally, recent studies of pulmonary inflammation do not establish an independent
association with PM2>5 exposure. One recent study reports PM2.s associations that are attenuated, but still
positive in copollutant models with NO», SO», or CO (Lin et al., 2011). In a study evaluated in the 2009
PM ISA, personal PM>2,.s associations with eNO were robust to NO2 adjustment (Delfino et al., 2006). The

result for personal exposure supports an association with PM>.s that is independent of NO» exposure based

on comparable exposure measurement error and low correlation (7 = 0.30). However, the limited number
of studies examining additional copollutants, in addition to some inconsistency in the observed
associations in recent studies, leaves uncertainty as to whether PM2s exposure leads to an increase in
pulmonary inflammation in children with asthma. Further discussion of copollutant confounding is

provided in Section 5.1.10.1.

§.1.2.4.2 Adults

Studies evaluated in the 2009 PM ISA (U.S. EPA, 2009) provided contrasting evidence of an
association between short-term exposure to PM»; and lung function in adults with asthma. In a panel of

60 adults with asthma in London, average PM2,.5 concentrations measured over a 2-hour outdoor walk was

not associated with eNO measurements taken 3 to 7 hours post exposure (McCreanor et al., 2007). In

contrast, in a panel of older adults in Seattle, WA, PM25 concentrations measured outside of residences
were associated with eNO in subjects with asthma. Recent studies are limited in number and results are
also inconsistent (Figure 5-5). Mirabelli et.al. (2015) studied adults with asthma in Atlanta, GA and

reported increases in eNO associated with 2-hour avg personal PM>.s exposure measured 0, 1, 2, and

3 hours prior to spirometry. PM>.s concentrations were measured during scripted commutes through rush
hour traffic, resulting in higher exposure levels. The observed associations were larger in participants with

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poorly controlled asthma. In contrast, in Padua, Italy, Maestrelli et al. (2011) tested the relationship
between eNO and 24-hour avg personal PM2.s exposure the day before spirometry and reported negative

associations in adults with asthma. This study was limited by a design that designated 6 single-day
examination visits across a 2-year period, precluding the opportunity to examine alternative exposure

lags.

§.1.2.4.3 Controlled Human Exposure Studies

There were no studies evaluated in the 2009 PM ISA (U.S. EPA, 2009) that specifically
investigated the association between PM>2.s CAPs exposure and subclinical effects underlying asthma

exacerbation. Recently, Urch et al. (2010) investigated the respiratory effects of short-term exposure to

PMz>s on individuals with asthma by using a CAP facility for PM>.s located in downtown Toronto, Canada

(study details in Table 5-6) and found little change in sputum total cell counts, neutrophils, or

macrophages when compared with pre-exposure levels.

Table 5-6 Study-specific details from a controlled human exposure study of
short-term PM2.5 exposure and subclinical effects underlying asthma

exacerbation.
Exposure Details
(Concentration;
Disease Status; Duration; Comparison
Study Study Design n; Sex Group) Endpoints Measured
Urch etal. Blinded Healthy PM2.5 CAPs only: 64 + 3 or Sputum (pre- and 3- and 20-h
(2010) randomized nonsmokers (13) 140+ 6 ug/m? PM2s5 postexposure): IL-6, IL-8, and IL-10,
block design and individuals CAPs + O03: 68 + 5 or TNF-a, leukotriene-B, differential
with asthma (10); 44947 ug/m? cell counts

n=23;11M,12F pyy5+119+1 ppb Os Venous blood (pre-, 10-min, and
Comparison group for both 3- and 20-h postexposure): IL-6,

groups was filtered air; all F-a
exposures were for 2 h
carried out at rest

CAPs = concentrated ambient particles; F = female; h = hour(s); IL-6 = Interleukin-6; IL-8 = Interleukin-8; IL-10 = Interleukin-10;
M = male; g/m? = micrograms per cubic meter: min = minute(s); n = number of subjects; O; = ozone; PM2s = particulate matter
with a nominal mean aerodynamic diameter less than or equal to 2.5 um; ppb = parts per billion; TNF-a = tumor necrosis factor a.

5.1.2.4.4 Animal Toxicological Studies

Animal toxicological studies have focused on exacerbation of asthma in the context of allergic

airway disease. Allergic airway disease (asthma, rhinitis, etc.) is a type of immune hypersensitivity that is

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mediated by immunoglobulin E (IgE). Development of allergic airway disease requires sensitization
(immunization) that requires presentation of a foreign antigen by antigen-presenting cells (dendritic cells
and macrophage subsets) to T-lymphocytes, the activation and clonal expansion of B cells, and finally
production of antigen-specific antibody (IgE) that binds to the antigen. Secondary exposure of previously
sensitized individuals to the antigen (challenge, or elicitation phase), will activate IgE-mediated pathways

that result in eosinophil recruitment, mucus production, and reactive airways.

The 2009 PM ISA (U.S. EPA, 2009) reviewed the evidence that exposure to PM2s exacerbated
allergic responses in laboratory rodents with pre-existing allergic airway disease. Several studies involved
multiday exposures of ovalbumin (OVA)-sensitized and challenged Brown Norway rats to PM>.s CAPs.
Increased nasal and airway mucosubstances, pulmonary inflammation, and retention of anthropogenic
trace elements (La, V, Mn, S) in lung tissue were observed following 4—5 days of exposure to PM2.s
CAPs in Detroit, MI (Harkema et al., 2004; Morishita et al., 2004). A 13-day exposure to PM>.s CAPs in

Grand Rapids, MI resulted in no changes in BALF cells or gene expression in the whole lung

(Heidenfelder et al., 2009). However, enhanced OVA-specific IgE and MucSAC responses to ovalbumin

(OVA) were observed. In addition, PM2s CAPs exposure resulted in enhanced allergic bronchiolitis and
alveolitis, as well as in epithelial hypertrophy and mucus cell metaplasia, which are characteristic of
airway epithelial remodeling. Another study showed that enhancement of allergic responses in mice
depended on proximity to the PM source following multiday exposure to roadway PM2.s CAPs in Los

Angeles, CA (Kleinman et al., 2005). Additionally, a single acute exposure to re-aerosolized DEP

resulted in dose-dependent increases in levels of the Th2 cytokine IL-4 in BALF in allergic mice (Farraj
et al., 2006a, b).

Recently, Harkema et al. (2009) extended their field studies in Detroit, MI to determine whether

PM>>5 CAPs inhalation would modify the allergic responses during the process of allergen challenge of
sensitized rats. Ovalbumin-sensitized Brown Norway rats that were exposed to Detroit, MI summertime
PM>.s CAPs for the same 3 consecutive days of intra-nasal OVA challenge had increased lavaged total
protein, secreted mucosubstances (Muc5AC), and numbers of lymphocytes and eosinophils compared
with filtered-air-exposed, allergic rats (p < 0.05). PM2. CAPs exposure did not increase OVA-specific
IgE levels in BALF above that seen in response to OVA alone. Decreases in pulmonary gene expression
of TNF-a, IL-10, and JF Ny (putative Thl mediators) were also detected in PM2,5 CAPs-exposed,
OVA-challenged rats (p < 0.05). Under the same exposure protocol but in different rats and on different
days with lower PM>.; CAPs concentration, inflammation responses were unaffected by PM25 CAPs
exposure. In addition to having greater PM2,; CAPs concentration, the first exposure study consisted of
PM>.s that had more iron, sulfate, nitrate, and PAH content than during the second exposure study.

Additional study details, for this recent study and a related one, are found in Table 5-7.

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Table 5-7 Study-specific details from animal toxicological studies of short-term
PM2.5 exposure and subclinical effects underlying asthma
exacerbation.

Study/Study Population Pollutant Exposure Endpoints
Harkema et al. (2009) PM2.s CAPs Route: whole-body inhalation Histopathology of nose
Species: rat Detroit, MI (urban exposure and lung—light
Sex nale residential) Dose/concentration: Period 1: MICroscopy, airway

° . er 3 labelling index
i Particle size 595 g/m
Strain: Brown Norway : Peri . 3
a 0.66-0.79 ym eriod 2: 356 g/m BALF cells
Age/weight: 10-12 weeks Duration: 8 h/day, 3 days, two Gene

Control: filtered air

exposure periods in July
Time to analysis: 24 h

All animals sensitized to OVA.

PM2s CAPs inhalation during
OVA challenge

expression-cytokines and
Muc5AC

Wagner et al. (2012)
Species: rat

Strain: Brown Norway
Sex: male

Age/weight: 10-12 weeks

PMz.s CAPs

Urban Grand Rapids, MI
Urban Detroit, Ml
Particle sizes: PM2.5

Control: filtered control
air

Route: whole-body inhalation
Dose/concentration
(D) Detroit, MI 542 pg/m?

(GR) Grand Rapids, MI
519 yg/ms

Dose/concentration

8h x 1 day; begun 30 min
after intra-nasal OVA
challenge

Duration of exposure: 8 h
Time to analysis: 16 h
postexposure

PM characterization
Histopathology—lung
BALF cells

Lung injury—BALF protein
BALF-Muc5AC content

BALF = bronchoalveolar lavage fluid; CAPs = concentrated ambient particles; h = hour(s); HEPA = high-efficiency particulate air;
Lg/m? = micrograms per cubic meter; min = minute(s); um = micrometer; MucSAC = Mucin 5AC, oligomeric mucus/gel-forming;
OVA = ovalbumin; PM = particulate matter; PM2s5 = particulate matter with a nominal mean aerodynamic diameter less than or
equal to 2.5 um.

Morphologic responses to short-term PM»; CAPs exposure was also examined by Harkema et al.
(2009). Both the nose and the lung were evaluated for histologic changes and epithelial cell proliferation.
No additional effect on OVA-induced allergic rhinitis was seen in the animals exposed to PM2.s CAPs.
However, exposure to PM25 CAPs resulted in a greater severity of allergic bronchiolitis and alveolitis in
OVA-sensitized and challenged rats. More severe mucus cell metaplasia was found, as evidenced by
increased amounts of intra-epithelial mucosubstances in conducting airways (p < 0.05). Epithelial cell
proliferation, as measured by labelling index in the airways, was not altered by PM>5 CAPs exposure.
When the same exposure protocol was used but in different rats and on different days when PM2.s CAPs
concentration was considerably lower, morphologic responses were unaffected by PM2.s CAPs exposure.

The OVA-allergic Brown Norway rat model was also used to compare the effects of PM25 CAPs
derived from two dissimilar urban airsheds in Grand Rapids, MI or Detroit, MI (Wagner et al., 2012).

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Ovalbumin-sensitized rats were challenged with intra-nasal OVA and 30 minutes later breathed similar
concentrations of PM2s5 CAPs for 8 hours. Exposure to Detroit, MI PM2 5 CAPs, which were characterized
by high sulfates and local industrial emissions (high Pb, Zn, and V content), enhanced eosinophilic
inflammation (p < 0.05), mucus hypersecretion (p < 0.05), and mucous cell metaplasia. However, the
opposite responses were seen when allergic rats inhaled Grand Rapids, MI PM2s CAPs, which were
dominated by a large spike in morning traffic emissions (NO2, CO, EC), but had low sulfates throughout
the 8-hour exposure. Allergen-induced responses such as increases in airway eosinophils (p < 0.05),
mucus hypersecretion (p < 0.05), and mucous cells were dampened in rats exposed to Grand Rapids, MI
PM>.s CAPs.

In summary, several studies conducted in animal models of allergic airway disease provide
evidence that exposure to PM25 CAPs and DEP exacerbates allergic responses. In addition, one study
found that PM» 5 CAPs exposure resulted in an inhibition of allergic responses. These disparate findings

may be due to source-related differences in the composition of PM2; CAPs from different locations.

§.1.2.4.5 Summary of Subclinical Effects Underlying Asthma Exacerbation

Overall, panel studies in children with asthma provide some evidence of associations between
short-term PM> exposure and inflammatory markers, although uncertainty regarding potential
copollutant confounding remains. Results were more consistent with shorter lag times. Evidence is mainly
negative in panel studies and controlled human exposure studies involving adults with asthma. Further,
several studies found that short-term PMs exposure led to allergic inflammation and airway remodeling
in animal models of allergic disease, which share many phenotypic features with asthma in humans.
However, in studies of PM25 CAPs, the response was dependent on concentration and source profile of
the airshed.

§.1.2.5 Summary of Asthma Exacerbations

Recent epidemiologic studies strengthen the evidence for a relationship between short-term PM2 5
exposure and asthma exacerbation in children. In particular, recent studies add evidence supporting
associations between short-term PM2>5 concentration and asthma hospital admissions, ED visits, and
physician visits in children. Additional evidence of PM25-related increases in asthma symptoms, lung
function decrements, and pulmonary inflammation is provided by recent panel studies in children with
asthma. Findings were not entirely consistent, but overall, several well-conducted studies measuring total
personal exposure, residential outdoor concentration, and school outdoor PM» concentration observed
associations with asthma-related effects. Evidence for a relationship between short-term PM2>5 exposure

and asthma exacerbation in adults continues to be inconsistent.

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Evidence from experimental studies provides biological plausibility for associations seen in
epidemiologic studies between short-term PM2s exposure and asthma exacerbation. Although controlled
human exposure studies were inconsistent in showing effects on lung function and pulmonary
inflammation in individuals with asthma, animal toxicological studies demonstrated allergic
inflammation, enhanced serum IgE, and airway remodeling in animal models of allergic airway disease.
These changes may lead to lung function decrements and respiratory symptoms, which were observed in
epidemiology studies in relation to PM2.s exposure (Figure 5-1).

Across the indicators of asthma exacerbation, associations continue to be observed with 24-hour
avg PM>.s concentrations from the same day, from the few preceding days, or averaged over a few days
(Section 5.1.10). Evidence does not clearly point to a stronger effect for a particular exposure lag. Recent
epidemiologic studies add evidence from copollutant models showing that PM2s associations are
independent of a copollutant among NO2, CO, and O3. Based on more limited investigation, there is
evidence that PM2.s associations may be modified by these copollutants and aeroallergens. Other
copollutants have largely been unexamined. While there are some results from copollutant models based
on personal exposure measurements that may have less differential exposure measurement error, scarce
application of copollutant models limits the ability to analyze potential for confounding. Thus, as in the
2009 PM ISA (U.S. EPA, 2009), uncertainty remains in distinguishing an independent effect of PM2.s

exposure on asthma exacerbation.

5.1.3 Allergy Exacerbation

Animal toxicological studies reviewed in the 2009 PM ISA (U.S. EPA, 2009) provided evidence
that PM>.s can facilitate delivery of allergenic material to the airways, promote allergic sensitization, and

exacerbate allergic responses. The epidemiologic evidence, however, was limited, with a single study
reporting an association between short-term PMs; concentrations and hospital admissions for allergic

rhinitis in children in Turkey (Tecer et al., 2008). Recent evidence that PM>.s exposure enhances allergic

inflammation in animal models of allergic airway disease, described in Section 5.1.2.4, not only supports
PM>s-related asthma exacerbation but also indicates that PM2s exposure could affect respiratory
responses in people with allergies, but not asthma. Several recent epidemiologic studies add to the
evidence base, but do not consistently link short-term PM2.s exposure to allergy exacerbation in children
or adults. Recent studies have examined an array of outcomes, including allergy symptoms and lung
function changes and pulmonary inflammation in populations with allergies. Notably, lung function can
decrease during an allergy exacerbation because of airway obstruction caused by Th2 cytokine-mediated
inflammation, making lung function and pulmonary inflammation relevant markers of allergy

exacerbation.

Whereas Tecer et al. (2008) found evidence of an association between short-term PM2>5

concentrations and allergic rhinitis hospitalizations in children, Villeneuve et al. (2006) did not observe an

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association between short-term PM>.s and physician visits for allergic rhinitis in individuals 65 years of
age and older in Toronto. The authors examined single-day lags ranging from 0 to 7 days and reported
mostly null associations, with some small positive and negative associations depending on the lag day.
The contrasting results of the studies may indicate age-related differences in allergic rhinitis sensitivity to
PMz2s, but differences in study design and location make it difficult to draw conclusions. Other recent
studies have examined the relationship between short-term exposure to PM2s and skin allergies, including
urticaria (Kousha and Valacchi, 2015) and atopic dermatitis symptoms (Song et al., 2011). Kousha and
Valacchi (2015) monitored ED visits for urticaria in relations to short-term PM2,s concentrations in
Windsor, Ontario. The authors only analyzed single-day lags, ranging from 0 to 7 days before ED visits,
and reported associations at lags 1 (OR: 1.07 [95% CI: 0.99, 1. 16}), 2 (1.14 [1.05, 1. 23]), and 3 (1.07

[0.99, 1. 16]), with generally null results at other examined lag times. However, there are uncertainties in

the urticaria results, because over 67% of the days included in the study period had less than two reported
ED visits. Meanwhile, in a study of schoolchildren with atopic dermatitis in South Korea, PM2.s measured
on the school rooftop was not associated with self-reported symptoms of itchy skin (Song et al., 2011).

As mentioned previously, lung function changes and pulmonary inflammation in populations with

allergies may serve as markers of allergy exacerbation. In Mexico City, Barraza-Villarreal et al. (2008)

examined the association between short-term PM2>5 concentrations and several lung function and
pulmonary inflammation metrics in schoolchildren with and without asthma. The authors reported that
72% of the 50 subjects without asthma were atopic, leading them to repeat the analysis in a subgroup of
atopic children. In the subgroup analysis, PM2.s concentrations were positively associated with fractional
exhaled nitric oxide (FeNO), a measure of airway inflammation, but no quantitative results were
presented. The authors presumably did not observe similar associations with the other metrics examined
in the main analysis, including IL-8, FEV;, FVC, and FEV>s-7s.

In summary, recent animal toxicological studies expand the existing evidence base, providing
additional support for the biological plausibility of PM2s-related allergy exacerbation. In contrast, a
limited number of epidemiologic studies provide inconsistent evidence of an association across multiple
endpoints, including a variety of allergic symptoms and lung function changes and pulmonary

inflammation in people with existing allergies.

5.1.4 Chronic Obstructive Pulmonary Disease (COPD) Exacerbation

Chronic obstructive pulmonary disease (COPD) is a lung disease characterized by destruction of
alveolar tissue, airway remodeling, and airflow limitation. Reduced airflow is associated with decreased
lung function, and clinical symptoms demonstrating exacerbation of COPD include cough, dyspnea,
sputum production, and shortness of breath. Severe exacerbation can lead to ED visits or hospital
admissions. The epidemiologic studies evaluated in the 2009 PM ISA (U.S. EPA, 2009) provided

evidence of consistent positive associations between short-term PM2.s exposure and increases in hospital

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admissions and ED visits for COPD. Experimental studies evaluated in the 2009 PM ISA and the 2004
PM AQCD (U.S. EPA, 2004) provide biological plausibility for effects seen in epidemiologic studies. A
limited number of controlled human exposure and animal toxicological studies have demonstrated
changes in lung function-related parameters, as well as lung injury and inflammation. Recent studies of
the relationship between short-term PM>2.s exposure and COPD exacerbation mainly examine hospital
admissions and ED visits and are generally consistent in showing associations with PM>s. A small body
of studies expand the evidence base and show associations with respiratory symptoms and pulmonary
inflammation in adults with COPD, in some cases with measures of personal PM2.s. Results for lung
function changes are inconsistent. Thus, there is variable coherence among various endpoints linked to
COPD exacerbation.

In addition to examining the relationship between short-term PM2,.s exposure and COPD
exacerbation, some epidemiologic studies often conduct analyses to assess whether the associations
observed are due to chance, confounding, or other biases. For this reason, the evidence across
epidemiologic studies is not discussed within this section, but evaluated in an integrative manner,
focusing specifically on those analyses that address policy-relevant issues. This information is presented
in Section 5.1.10 and includes evaluations of copollutant confounding (Section 5.1.10.1), model
specification (Section 5.1.10.2), lag structure (Section 5.1.10.3), the role of season and temperature on
PMz2s associations (Section 5.1.10.4), averaging time of PM2,s concentrations (Section 5.1.10.5), and C-R
and threshold analyses (Section 5.1.10.6). The studies that inform these issues and evaluated within these
sections are primarily epidemiologic studies that conducted time-series or case-crossover analyses

focusing on COPD hospital admissions and ED visits.

5.1.4.1 Hospital Admissions and Emergency Department (ED) Visits

Associations between short-term exposure to PM2.s5 and hospital admissions and ED visits for
COPD were generally positive among the multicity and single-city studies conducted in the U.S. and
Canada and evaluated in the 2009 PM ISA (U.S. EPA, 2009). Multicity studies reviewed in the 2009 PM
ISA examining PM>2-s and hospital admissions for COPD reported both null [a Canadian study (Stieb et
al., 2009)] and positive [a U.S. study (Dominici et al., 2006)] associations between COPD hospital

admissions and PM2s. The results from multicity studies were supported by single-city studies conducted

in the U.S. and Canada that reported positive associations between short-term exposure to PM2.s and
hospital admissions and ED visits for COPD.

Recent studies examining associations between short-term PM>5 exposure and COPD hospital
admissions and ED visits generally support the positive associations reported in the 2009 PM ISA. These
recent studies report positive associations across both multi- and single-city studies, especially for

hospital admissions in populations aged 65 years and older (see Figure 5-6, Table 5-8). However, most of

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the recent studies that examine short-term PM>5 exposure and COPD ED visits consist of single-city

studies.

For each of the studies evaluated in this section, Table 5-8 presents the air quality characteristics

of each city, or across all cities, the exposure assignment approach used, and information on copollutants

examined in each COPD hospital admission and ED visit study. Other recent studies of COPD hospital

admissions and ED visits are not the focus of this evaluation because they did not address uncertainties

and limitations in the evidence previously identified, and therefore, do not directly provide supporting

evidence for the discussion of policy-relevant considerations detailed in Section 5.1.10. Additionally,

many of these studies were conducted in small single cities, were of short study duration, or had

insufficient sample size. The full list of these studies can be found here:

https://hero.epa.gov/hero/particulate-matter.

Study

TtHwang et al. (2017)
Slaughter et al. (2005)
*Cheng et al. (2015)

TBell etal. (2015)
Dominici et al. (2006)
*Kloogetal. (2014)
Chen et al. (2004)

Ito (2003)
THalonen et al. (2009)
Moolgavkar (2003)
+Belleudi et al. (2010)

Stieb et al. (2009)
+Maliget al. (2013)
tWeichenthal et al. (2016)
+Sarnat et al. (2015)

Peel etal. (2005)
Slaughter et al. (2005)
thao et al. (2016)
fRodopoulouet al. (2015)

Location
4 Taiwan cities
Spokane, WA
Kaohsuing, Taiwan

213 U.S. counties
204 U.S. counties
8 Eastern U.S. states
Vancouver, Canada
Detroit, MI
Helsinki, Finland
Los Angeles, CA
Rome, Italy

6 Canadian cities
35 Califormia counties
Ontario, Canada
St. Louis, MO
Atlanta, GA
Spokane, WA
Dongguan, China
Little Rock, AR

Lag

0-2

0-3

O-2a

0-2b
0

Hospital Admission

ED Visits

0.85

whecesepee nage Ooo
a

Allages

09 0.95 I

1.05

Ll

Odds Ratio/Relative Risk (95% Confidence Intervals)

avg = average; ED = emergency department; g/m = micrograms per cubic meter; PM = particulate matter; PM2.5 = particulate
matter with a nominal mean aerodynamic diameter less than or equal to 2.5 pm.

Note: +Studies published since the 2009 PM ISA. Black text = U.S. and Canadian studies included in the 2009 PM ISA.
Corresponding quantitative results are reported in Supplemental Material (

* Results for temperatures 225{C.
» Results for temperatures <25°C.

Figure 5-6

U.S. EPA, 2018).

Summary of associations between short-term PM25 exposures

and chronic obstructive pulmonary disease hospital admissions
and emergency department visits for a 10-~jg/m? increase in
24-hour avg PMz.s5 concentrations.

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Table 5-8 Epidemiologic studies of short-term PMzs5 exposure and hospital admissions and emergency
department visits for chronic obstructive pulmonary disease.

Upper Percentile

Mean Concentration Concentrations PM25 Copollutant Model Results

Study Exposure Assessment pg/m> pg/m? and Correlations
Hospital Admissions
7Bell etal. (2015 Monitors in county averaged ULS.: 12.3 Max U.S.: 20.2 Correlations (r): NA
213 U.S. counties Number per county NR Northeast: 12.0 Northeast: 16.4 Copollutant models with: NA
1999-2010 Midwest: 12.9 Midwest: 16.5
Older adults 265 yr South: 12.4 South: 16.5

West: 11.3 West: 20.2

Dominici et al. (2006) Monitors in county averaged 13.4 75th: 15.2 Correlations (r): NA
204 U.S. counties Number per county NR Copollutant models with: NA
+Peng et al. (2009b)
94 U.S. counties
1999-2002
Older adults 265 yr
tKloog et al. (2014) Satellite-monitor hybrid model Urban: 12.8 75th Correlations (r): NA
New York, New Jersey, Rural: 11.5 Urban: 16.7 Copollutant models with: NA
Pennsylvania, Maryland, Rural: 14.2
Delaware, Virginia, West wax
Virginia, Washington, DC
2000-2006 Urban: 96.1
Older adults 265 yr Rural: 98.9
Chen et al. (2004) NR CE 75th: 9.0 Correlations (r): NA
Vancouver, Canada Max: 32 Copollutant models with: Os, NO2,
1995-1999 CO, SO2

Older adults 265 yr

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Table 5-8 (Continued): Epidemiologic studies of PM2.5 and hospital admissions and emergency department visits
for chronic obstructive pulmonary disease.

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Mean Concentration

Upper Percentile
Concentrations

PMz.s Copollutant Model Results

Study Exposure Assessment pg/m? pg/m? and Correlations
Ito (2003 One monitor in Windsor, Ontario 18 Toth: 21 Correlations (r): NA
Detroit, Ml 95th: 42 Copollutant models with: NA
1992-1994
Older adults, age NR
+Halonen et al. (2009a) Two monitors Median: 8.8 75th: 11.0 Correlation (r): 0.43 Os.
Helsinki, Finland Max: 41.5 Copollutant models with: Os
1998-2004
Older adults 265 yr
Moolgavkar (2003) Monitors in city NR NR Correlation (rf): NA
Los Angeles, CA Number of monitors NR Copollutant models with: CO, SO2,
1987-1995 NOz.
All adults
+Kim et al. (2012 One monitor 8.0 Max: 59.4 Correlation (r): 0.30 O3, 0.26 NO2,
Denver, CO 0.23 CO, 0.23 SOz
2003-2007 Copollutant models with: NA
All adults
jTLiu et al. (2016 Four monitors averaged from one 12.0 90th: 18.5 Correlations (r): NA
Greater Houston area, TX county Copollutant models with: NA
2008-2013
All adults
+Cheng et al. (2015) Six monitors averaged Median: 44.3 75th: 61.9 Correlation (r): 0.42 O3, 0.80 NOa2,
Kaohsiung, Taiwan Max: 144 0.81 CO, 0.25 SO2
2006-2010 Copollutant models with: O3, NO2,
All adults BOs
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Table 5-8 (Continued): Epidemiologic studies of PM2.5 and hospital admissions and emergency department visits
for chronic obstructive pulmonary disease.

Upper Percentile

Mean Concentration Concentrations

PMz.s Copollutant Model Results

Study Exposure Assessment pg/m? pg/m? and Correlations
+Zhao et al. (2016) Five monitors averaged 42.6 75th: 56.8 Correlation (r): 0.40 Os, 0.67 NO2,
Dongguan, China Max: 193 0.69 SO2
2013-2015 Copollutant models with: O3, SOQ2,

NO
All adults 2
+Belleudi et al. (2010) One monitor, 2 km from city center 22.8 Correlation (r): 0.84 PMio
Rome, ltaly Copollutant models with: NA
2001-2005
ED Visits
+Weichenthal et al. (2016) Nearest monitor to 7.1 Max: 56.8 Correlation (r): <0.42 NOz
15 cities Ontario, Canada ce a coe ¥ Copollutant models with: O3
2004-2011 centroid or single available monitor
All ages
tSarnat et al. (2015 One monitor 18.0 75th: 22.7 Correlation (r): 0.23 O3, 0.35 NOa2,
St. Louis, MO (eight Missouri Max: NR 0.25 CO, 0.08 SO2.
counties, eight Illinois counties) Copollutant models with: NA
2001-2003
All adults
+TKrall et al. (2016 One monitor, each city Atlanta, GA: 15.6 NR Correlation (r): 0.57 O3, 0.39 NOz

Atlanta, GA, 1999-2009
Birmingham, AL, 2004-2010
St. Louis, MO, 2001-2007
Dallas, TX, 2006-2009

All adults

Birmingham, AL: 17.0
St. Louis, MO: 13.6
Dallas, TX: 10.7

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Atlanta, GA, 0.42 Os, -0.15 NO2
Dallas, TX, 0.29 O3, 0.29 NOo St.
Louis, MO.

Copollutant models with: NA

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Table 5-8 (Continued): Epidemiologic studies of PM2.5 and hospital admissions and emergency department visits

for chronic obstructive pulmonary disease.

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Mean Concentration

Upper Percentile
Concentrations

PMz.s Copollutant Model Results

Study Exposure Assessment pg/m? pg/m? and Correlations
Peel et al. (2005 One monitor 19.2 90th: 32.3 Correlations (r): NA
Atlanta, GA Copollutant models with: NA
1998-2000
All adults
+Rodopoulou et al. (2015) One monitor 12.4 75th: 15.6 Correlation (r): 0.33 O3

Little Rock, AR
2002-2012
Adults >15 yr

Copollutant models with: Os

+Malig et al. (2013);
+Ostro et al. (2016)

35 or 8 California counties
2005-2008
All adults

Nearest monitor

35 counties: 5.2-19.8
8 counties: 16.5 overall

NR

Correlations (r): NA
Copollutant models with: NA

Stieb et al. (2009
Halifax, Montreal, Toronto,

Ottawa, Edmonton, Vancouver,

Canada
1992-2003 across cities
All adults

One monitor Halifax, Ottawa,
Vancouver; three Edmonton; seven
Montreal, Toronto

Halifax: 9.8
Montreal: 8.6
Toronto: 9.1
Ottawa: 6.7
Edmonton: 8.5
Vancouver: 6.8

75th, Halifax: 11.3
Montreal: 10.9
Toronto: 11.9
Ottawa: 8.7
Edmonton: 10.9
Vancouver: 8.5

Correlation (r): -0.05 to 0.62 Os,
0.27-0.51 NOz, 0.01-0.42 CO,
0.01-0.55 SOz.

Copollutant models with: NA

Hospital Admissions and ED Visits

Slaughter et al. (2005)
Spokane, WA
1995-1999

One monitor

NR

90th: 20.2

Correlation (1): 0.62 CO
Copollutant models with: NA

CO = carbon monoxide; ED = emergency department; km = kilometer; max = maximum; g/m® = micrograms per cubic meter; NA = not available; NO: = nitrogen dioxide; NR = not
reported; O3; = ozone; PM = particulate matter; PMz5 = particulate matter with a nominal mean aerodynamic diameter less than or equal to 2.5 pm; PMj49 = particulate matter with a
nominal mean aerodynamic diameter less than or equal to 10 pm; r=correlation coefficient; SO2 = sulfur dioxide; yr = year(s).

Studies published since the 2009 PM ISA.

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5.1.4.1.1 Hospital Admissions

Several recent multicity studies conducted in the U.S. examined associations between short-term
PM2.s5 exposure and COPD hospital admissions in individuals aged 65 years and older. In a multicity

study conducted in the Mid-Atlantic region of the U.S., Kloog et al. (2014) examined associations

between short-term PM>.s exposure and COPD hospital admissions by assigning exposure using a novel
prediction model that combined land use regression with surface measurements of PM2>5 concentration
and satellite aerosol optical depth, a model that was also employed in a previous study conducted in New
England (Kloog et al., 2012). The authors reported a 1.83% (95% CI: 1.18, 2.48) increase in COPD

hospital admissions at mode] lag 0-1 days.

Bell et al. (2015) also examined COPD hospital admissions in adults ages 65 years and older ina

multicounty time-series analysis conducted in 213 U.S. counties. However, unlike Kloog et al. (2014),

where exposures were assigned using model predictions, Bell et al. (2015) assigned exposures through

PM>.s data retrieved from ambient monitors in each county. The authors reported a 0.34%
(95% CI: —0.05, 0.74) increase in COPD hospital admissions at lag 0, which is smaller in magnitude than
the association observed in Kloog et al. (2014), but may reflect the different exposure assignment

approaches (Section 3.4.4.1). Consistent with the U.S. multicity studies, Hwang et al. (2017) also reported
a positive association of 2% (95% CI: 0.8, 2.9; lag 0-2) with COPD hospital admissions in a study of four

cities in southwestern Taiwan focusing on people of all ages.

Several recent single-city studies in the U.S. reported inconsistent evidence of an association
between short-term exposure to PMs and hospital admissions for COPD. Kim et al. (2012) found no

evidence of an association with COPD hospital admissions in Denver, CO (quantitative results not
reported). Several single-city international studies examined the association with COPD hospital
admissions and support the evidence reported in the U.S. multicity studies. A single-city study conducted
in Rome, Italy focusing on adults aged 35 years and older investigated the association between PM2s and

COPD hospital admissions in a case-crossover analysis (Belleudi et al., 2010). Effects were assessed at

several single- (0-6) and multiday lags (0-1, 0-2, 0-5, and 0-6 days). The association for PM2s ata
0-day lag was positive but with wide confidence intervals (1.88% [95% CI: —0.27, 4.09]). The evidence
observed using a shorter distributed lag is consistent with the lag structure of associations observed in the
other COPD hospital admission studies, although in many instances the lags examined were selected

a priori. In a similar fashion, Halonen et al. (2009a) observed a 3% increase (95% CI: —1.9, 8.1) at lag 0

in a model adjusted for O3 for hospital admissions in Helsinki, Finland, but with a wide confidence
interval due to the low count of hospital admissions compared with other studies. Cheng et al. (2015),

examining hospital admissions in a case-crossover study in Kaohsiung, Taiwan, found no association
between PMos at a Q-2-day lag (RR: 1.00 [95% CI: 0.98, 1.03]).

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5.1.4.1.2 Emergency Department (ED) Visits

Several recent multicity studies conducted in the U.S. examined associations between short-term
PM2.s exposure and COPD ED visits. In a multicity study conducted in 35 California counties, Malig et
al. (2013) examined the association between short-term PM>s exposures and respiratory ED visits,
including COPD. In a time-stratified case-crossover analysis, the authors examined single-day lags and
reported positive associations at lags 1 and 2 days, with the most precise estimate at lag 2 (1.47%
[95% CI: 0.40, 2.6]). In a copollutant model with PMjo-2s, the PM2,s association was relatively unchanged
[1.58% (95% CI: 0.56, 2.62); Malig et al. (2013) and supplemental data file available on HERO]. The
positive association observed in the multicounty study conducted by Malig et al. (2013) is supported by a
study conducted in Little Rock, AR (Rodopoulou et al., 2015) that observed a 3.08% increase
(95% CI: —0.98, 7.30) in COPD ED visits at lag 2. Rodopoulou et al. (2015) also examined the
PM2s-COPD ED visits association in a copollutant model with O3 and reported that the association

remained positive, but confidence intervals increased in size (2.86% [95% Cl: —1.35, 7.24]). A multicity
case-crossover study of 15 cities in Ontario, Canada found an increase on the same order (2.2%) with

higher precision (95% CI: 1.4, 2.9) than (Rodopoulou et al., 2015) using a 3-day mean lag structure. In

contrast, Sarnat et al. (2015) in a time-series study of PM2.5 and cardiorespiratory ED visits in the St.

Louis Missouri-Ilinois (MO-IL) metropolitan area also reported no evidence of an association with
COPD ED visits (RR: 0.99 [95% CI: 0.95, 1.03]) in a 3-day unconstrained distributed lag model (i.e., lag
0-2).

§.1.4.1.3 Summary of Chronic Obstructive Pulmonary Disease (COPD)
Hospital Admissions and Emergency Department (ED) Visits

Consistent with the 2009 PM ISA (U.S. EPA, 2009), several recent studies examined COPD

hospital admissions and ED visits and report generally positive associations with PM2s, with more recent

multicity studies focusing on hospital admissions for older individuals (i.e., 65 years of age and older).
Recent multicity and single-city studies conducted in the U.S. that focused on individuals 65 years of age
and older reported positive associations between short-term PM2.s exposure and COPD hospital
admissions, Associations of short-term PM2,.5 exposure and ED visits, although generally positive, were
less precise due to most studies being conducted in individual cities. The results from the studies
evaluated in this section are supported by a recent meta-analysis of 12 studies, some of which were
reviewed in the 2009 PM ISA that reported a 3.1% (95% CI: 1.6,4.6) increase in COPD hospital
admissions (Li et al., 2015a). As detailed in Section 5.1.10.1, the assessment of potential copollutant
confounding in studies of COPD hospital admissions and ED visits was limited but provided evidence
that associations were relatively unchanged in copollutant models. Additionally, although not extensively
examined, studies generally provide evidence of larger associations in the cold or winter season compared
with warmer months (Section 5.1.10.4.1). However, the studies that examined seasonal patterns of
associations did not examine potential copollutant confounding by season.

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5.1.4.2 Respiratory Symptoms and Medication Use

A single study reviewed in the 2009 PM ISA (U.S. EPA, 2009) examined respiratory symptoms

and medication use in adults with COPD and observed inconsistent evidence of an association with PM2,s

across three single-day lags (Silkoff et al., 2005). A limited number of recent studies available for review

followed populations consisting of adults with moderate or severe COPD. The results were not entirely
consistent, although there was some evidence to indicate associations between PM>.s concentrations and
increases in respiratory symptoms in adults with COPD. Study-specific details, air quality characteristics,
and selected results from these studies are highlighted in Table 5-9. Wu et al. (2016) examined the

self-reported occurrence of several respiratory symptoms in relation to short-term PM>>5 concentrations in
a panel study of 23 adults in Beijing. The authors reported associations between most multiday (2-7) avg
PM>.s concentrations and sore throat, cough, sputum, wheeze, and dyspnea symptoms. Similarly, in a
panel of 29 adults in Mexico City, total personal PM>2.s exposure was associated with cough and phlegm,
but not wheeze (Cortez-Lugo et al., 2015). A notable limitation of the study was the high loss to

follow-up, with only 4 of the 29 subjects completing all three of the 2-week study phases. In contrast, in a
study of adults in Worcester, MA, PM2.5 was associated with a decrease in COPD exacerbations, defined

as a worsening of respiratory symptoms (Devries et al., 2016). Studies accounted for potential

confounding by temperature, season, and time trend and also adjusted for subject characteristics such as
COPD severity, race, atopic status, and comorbidity. Few studies examined any copollutants.
Associations of PM2.5 concentrations with wheeze and dyspnea persisted with adjustment for NO2 or SO»
in Wu et al. (2016). However, correlations for PM2s5 with NO> and SOQ: were high (7 = 0.80, 0.68).

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Table 5-9 Epidemiologic studies of short-term PM2.5 exposure and respiratory symptoms, lung function, and
pulmonary inflammation in adults with chronic obstructive pulmonary disease.
Exposure Assessment Single Pollutant Effect Estimate PM2.5 Copollutant Model
Study Study Population Concentration (ug/m*) 95% CIA Results and Correlations

+Chi et al. (2016
Southwestern Taiwan
2014-2016

n= 19, 68% severe COPD
Questionnaire every 2 mo for 1 yr
73% follow-up participation

Home outdoor
Three measures for 1-min
Mean: 120

Score for PM2.5 >35 vs. $35 g/m?
Wheeze: 1.46, p < 0.01

Phlegm: -0.22, p > 0.05
Dyspnea: 0.84, p > 0.05

Activity limitation: -0.84, p > 0.05

Correlation (r): NA

Copollutant models with:
NA

+Cortez-Lugo et al.
(2015)

Mexico City, Mexico
Years NR

n = 29, mean 37% predicted FEV;
Daily diary for three 12-day periods
Recruited from clinic

62% completed two or three sessions
90% time spent indoors

Total personal
2-day avg
Mean: 39

Phlegm, lag 2: 1.23 (0.98, 1.54)
Cough, lag 2: 1.33 (1.05, 1.69)
Nighttime PEF (L/min)

Lag 1: 0.16 (-2.3, 2.6)

Lag 2: -3.0 (-5.7, -0.3)

Correlation (r): NA

Copollutant models with:
NA

+Devries et al. (2016)
Worcester, MA

n= 168, 68% severe COPD
Calls to nurse on symptom onset

Three monitors averaged
Mean: 8.6

Any symptom, lag 1: 0.54 (0.28, 1.10)

Correlation (r): (seasonal
range) 0.41-0.83 NO2,

: 1 0.30-0.79 SO:
2011-2012 Recruited from clinic Max: 37.0 2
. . wg Copollutant models with:
No information on participation rate NO> and SO>
Wu et al. (2016) n = 23, 81% moderate/severe COPD One monitor Dyspnea, lag 0-4: 1.20 (1.10, 1.29) Correlation (7): 0.80 NO2,

Beijing, China
January-April,
August-September
2014

Daily diary for 11-81 days
5-21 weekly eNO measures
Recruited from clinic

96% completed one or two test
periods

1.6-8.8 km from homes
24-h avg

Median, 75th

Period 1: 96.5, 149
Period 2: 65.5, 92.0

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Sputum, lag 0-4: 1.06 (1.0, 1.13)
Cough, lag 0-4: 1.05 (0.99, 1.14)
eNO, lag 0-4: 2.6% (0.4, 4.9)

0.68 SO2, 0.84 PMio

Copollutant models with:
NO2, SOz, and PMio

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Table 5-9 (Continued): Epidemiologic studies of PM2.5 and respiratory symptoms, lung function, and pulmonary
inflammation in adults with chronic obstructive pulmonary disease.

Exposure Assessment

Single Pollutant Effect Estimate
95% Cl*

PM2.5 Copollutant Model
Results and Correlations

Study Study Population Concentration (ug/m*)
Trenga et al. (2006) n = 24, mean 56% predicted FEV: Total personal, fixed-site
Seattle, WA Daily FEV: for 36 sessions, 5-10 days ee and home
1999-2002 each eet
Supervised spirometry 24-h avg

Recruited from clinics, senior centers, Medians, 75th

retirement homes Total personal: 11.3, 16.3
Monitor: 11.2, 16.9
Home outdoor: 9.6, 14.8

Change in FEV; (mL), lag 1

Total personal: -19 (-74, 36)
Fixed-site monitor: -71 (-118, -23)
Home outdoor: -45 (-103, 12)

Correlation (r): NA

Copollutant models with:
NA

Ebelt et al. (2005 n = 16, light/moderate COPD Personal exposure, five

Vancouver, Canada 5-7 FEV: measures, every 1.5 week monitors
1998 Supervised spirometry 24-h avg

No information on participation rate | Ambient exposure

estimated from total
personal SO4?’, air
infiltration, time activity

Mean, max

Total personal: 18.5, 90.9
Ambient exposure: 7.9,

21.3

Monitor: 11.4, 28.7

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Change in FEV: (mL), lag 0

Total personal: -0.39 (-14, 14)
Ambient exposure: -66 (-124, -13)
Monitor: -27 (-88, 34)

Correlation (r): NA

Copollutant models with:
NA

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Table 5-9 (Continued): Epidemiologic studies of PM2.5 and respiratory symptoms, lung function, and pulmonary
inflammation in adults with chronic obstructive pulmonary disease.

Exposure Assessment _ Single Pollutant Effect Estimate © PMzs5 Copollutant Model
Study Study Population Concentration (ug/m*) 95% CI* Results and Correlations
tHsu et al. (2011 n=9 One monitor within 4.8 km New York: Negative association of PEF Correlation (rj: NA
New York, NY Recruited from clinics of home with PMas at monitor at lag 1 but Copollutant models with:
November Daily FEV; and PEF for 12 days 24-h avg postive assoretOn oF PEE WIN Mes ANA
y ¥ : at monitor at lag 0
2002-March 2003 Supervised spirometry Concentrations NR

No information on participation rate

avg = average; Cl = confidence interval; COPD = chronic obstructive pulmonary disease; eNO = exhaled nitric oxide; FEV, = forced expiratory volume in 1 second; h = hour(s);
km = kilometer; L = liter; max = maximum; ug/m* = micrograms per cubic meter; min = minute(s); mL = milliliter; mo = month(s); n = sample size; NA = not available; NO = nitrogen
dioxide; NR = not reported; PEF = peak expiratory flow; PM = particulate matter; PMz2s5 = particulate matter with a nominal mean aerodynamic diameter less than or equal to 2.5 um;
PM, = particulate matter with a nominal mean aerodynamic diameter less than or equal to 10 ym; r= correlation coefficient; SO = sulfur dioxide; SO,” = sulfate; yr = year(s).

*Unless otherwise specified, effect estimates are standardized to a 10-~g/m* increase in PM25.
+Studies published since the 2009 PM ISA.

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5.1.4.3 Lung Function Changes in Adults with Chronic Obstructive
Pulmonary Disease (COPD)

5.1.4.3.1 Epidemiologic Studies

In the 2009 PM ISA (U.S. EPA, 2009), results from a limited number of epidemiologic studies
indicated an association between PM and decreased FEV, in adults with COPD (Trenga et al., 2006; Ebelt
et al., 2005). A few recent studies also evaluated lung function changes in populations with COPD and

the results were inconsistent (Table 5-9). Recent studies used trained technicians to measure lung
function, but the frequency of measurements varied from daily (Hsu et al., 2011) to less than once per
week (Cortez-Lugo et al., 2015). Total personal PM2.s exposure was associated with decreased PEF in

adults with COPD in Mexico City, who spent more than 90% of their time indoors (Cortez-Lugo et al.,

2015). As discussed previously, there was high loss to follow-up in this study. Associations were
observed with 2-day avg exposures lagged 2 or 3 days but not 0 or | days. In a small panel study of adults
with COPD in New York City, NY, ambient PM> concentrations were associated with decreases in PEF
at lag 1, but increases in PEF at lag 0 (Hsu et al., 2011). Given the short sampling period (12 days) and

relatively small sample size (nine participants), the generalizability of the results is limited.

5.1.4.3.2 Controlled Human Exposure Studies

Two studies evaluated in the 2009 PM ISA (U.S. EPA, 2009) provide limited evidence for
decreased lung function among subjects with COPD exposed to PM2s (Gong et al., 2005; Gong et al.,

2004a). Gong et al. (2004a) reported decreases in oxygen saturation among elderly COPD patients,

although results were more consistent in elderly subjects without COPD; the authors reported no effects
on spirometric measures of lung function. The association between PM2.s and decreased oxygen

saturation in COPD patients was confirmed in Gong et al. (2005).

5.1.4.4 Subclinical Effects Underlying Exacerbation of Chronic Obstructive
Pulmonary Disease (COPD)
5.1.4.4.1 Epidemiologic Studies

A limited number of studies evaluated in the 2009 PM ISA (U.S. EPA, 2009) reported evidence

of an association between short-term PM2s concentrations and pulmonary inflammation in adults with

COPD. Studies examined exhaled nitric oxide (eNO) as an indicator of pulmonary inflammation, a key
characteristic of COPD. Additionally, there is evidence that eNO increases during acute COPD

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exacerbation (Perng and Chen, 2017). Small panel studies of older adults in Steubenville, OH
(Adamkiewicz et al., 2004) and Seattle, WA, (Jansen et al., 2005) reported increases in eNO associated

with 24-hour avg PM2.s5 concentrations measured at a single fixed-site monitor or outside of participants

residences, respectively.

Information from the few available recent studies continues to support a relationship between
PMz2.s and increases in pulmonary inflammation in adults with COPD. Recent studies evaluated panels of
older adults with COPD in Shanghai (Chen et al., 2015b) and Beijing, China (Wu et al., 2016). In both
studies, PM2.5 was measured at a single fixed-site monitor located within 4 km (Chen et al., 2015b) or
1.6-8.8 km (Wu et al., 2016) of subjects’ residences, but information on the variability in PM>s

concentrations in the study areas was not reported. Chen et al. (2015b) observed eNO increases consistent

with increases in PM>2.s concentrations at 7—-12-hour, 13—24-hour, 1-, 2-, and 3—7-day lags. Supporting
these findings, the authors also reported associations between PM2,s and decreased methylation of the
inducible nitric oxide synthase gene promoter that demonstrated the largest decrements at lag 0-6 hour.
Lower methylation is associated with increased gene expression of inducible nitric oxide synthase which
mediates production of nitric oxide. Wu et al. (2016) did not examine hourly lags but reported

associations between eNO and cumulative average PM2,s concentrations ranging from | to 7 days. eNO
associations were robust to adjustment for NO» but attenuated and no longer positive in two-pollutant

models including SO) (Wu et al., 2016). However, there were high correlations of PM2s with NO2 and

SO: (7 = 0.80, 0.68). While these studies provide additional support to the previously limited evidence of
an association between PM2s exposure and pulmonary inflammation in adults with COPD, uncertainties
remain in attributing the observed increases in pulmonary inflammation to PM». exposure, similar to

findings for other indicators of COPD exacerbation.

5.1.4.4.2 Controlled Human Exposure Studies

In the 2009 PM ISA (U.S. EPA, 2009), a limited number of studies investigated PM>s-induced
health effects in adults with COPD. Gong et al. (2004a) and Gong et al. (2005) found a decrease in

columnar epithelia cells (p < 0.01) following short-term exposure to PM2.s. This effect was more

pronounced in healthy subjects than in those with COPD.

§.1.4.4.3 Animal Toxicological Studies

Although no additional toxicological studies on the effects of PM on COPD have become
available in recent years, the 2004 PM AQCD (U.S. EPA, 2004) reported several studies that examined

the effects of multiday exposure to PM2.s CAPs in rats with experimentally induced bronchitis, an animal

model of COPD. Changes in tidal volume, BALF injury markers (protein, albumin, and N-acetyl

glutaminidase), and numbers of BALF neutrophils and lymphocytes were greater in bronchitic rats than in

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nonbronchitic rats exposed to PM2.s CAPs from Boston, MA (Saldiva et al., 2002; Clarke et al., 1999) and
Research Triangle Park, NC (Kodavanti et al., 2000).

5.1.4.5 Summary of Exacerbation of Chronic Obstructive Pulmonary
Disease (COPD)

Recent studies generally support an association between short-term increases in PM2s
concentration and exacerbation of COPD. They expand on the array of COPD-related outcomes and add
coherence for the observations of PM2s-related increases in COPD-related hospital admissions and ED
visits. Overall, the evidence links short-term PM>2.s exposure to COPD hospital admissions and ED visits.
These findings are supported by recent observations of PM>s-related pulmonary inflammation, but
evidence for PM>s-related symptoms and for decreases in lung function is less consistent. A strength of
these studies is their assessment of personal PM2,s exposures. Overall, copollutant confounding was not
adequately examined. Thus, the extent to which the results can be attributed specifically to PM2s
exposure is unclear. However, experimental studies in individuals with COPD and in an animal model of
COPD support an independent effect of short-term PM2.s exposure on exacerbation of COPD. Changes in
lung function-related parameters (oxygen saturation and tidal volume), as well as lung injury and
inflammation, were observed following short-term PM25 CAPs exposure and provide biological
plausibility for the findings of the epidemiologic studies (Figure 5-1).

5.1.5 Respiratory Infection

The respiratory tract is protected from exogenous pathogens by lung host defenses that include
mucociliary clearance, pathogen detoxification, and clearance by alveolar macrophages, as well as innate
and adaptive immunity. Impairment of these defense mechanisms can increase the risk of respiratory
infection. The 2009 PM ISA (U.S. EPA, 2009) described evidence supporting PM>s-related respiratory
infection, but there was uncertainty due to a small evidence base relative to those for other respiratory

effects. Previous epidemiologic studies consistently observed associations between PM>,s concentrations
and hospital admissions or ED visits for indices aggregating various respiratory infections, particularly in
U.S. and European cities. Findings from a limited number of studies also supported associations with
pneumonia. In the 2004 PM AQCD and the 2009 PM ISA, controlled human exposure studies were not
available to assess coherence, but an animal toxicological study demonstrated increased susceptibility to
pneumonia infection and altered macrophage function following exposure to PM25. Hospital admissions
and ED visits make up most of the epidemiologic evidence of respiratory infections, and this evidence
consistently indicates associations for PM25 concentrations with multiple respiratory infections grouped
together, but not individually, with pneumonia. Interpretation of the evidence, however, is complicated by

the variety of respiratory infection outcomes examined.

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In addition to examining the relationship between short-term PM>.s exposure and respiratory
effects, some epidemiologic studies have conducted analyses to assess whether the associations observed
are due to chance, confounding, or other biases. For this reason, this evidence across epidemiologic
studies is not discussed within this section but evaluated in Section 5.1.10 in an integrative manner
focusing specifically on those analyses that address policy-relevant issues. Those issues include
evaluations of copollutant confounding (Section 5.1.10.1), model specification (Section 5.1.10.2), lag
structure (Section 5.1.10.3), the role of season and temperature on PM>.s associations (Section 5.1.10.4),
averaging time of PM2s concentrations (Section 5.1.10.5), and C-R and threshold analyses
(Section 5.1.10.6). The studies that inform these issues and evaluated within these sections are primarily
epidemiologic studies that conducted time-series or case-crossover analyses focusing on respiratory

infection hospital admissions and ED visits.

5.1.5.1 Hospital Admissions and Emergency Department (ED) Visits

Associations between short-term PM2.s exposure and hospital admissions and between short-term
PM2>.s exposure and ED visits for respiratory infections were consistently observed among multicity
studies evaluated in the 2009 PM ISA (U.S. EPA, 2009), although the type of respiratory infection

examined varied across the studies (i.e., acute bronchitis, bronchiolitis, and pneumonia). Several multicity

studies reported associations between short-term PM>2.s exposure and pneumonia and acute bronchitis in
children. The overall evidence base examining short-term PM2.s exposure and hospital admissions and ED
visits for respiratory infections has expanded considerably since the 2009 PM ISA. These recent studies

report generally positive associations between PM2.5 and hospital admissions and ED visits for

pneumonia, ear infections, and all respiratory infections grouped together (see Figure 5-7, Table 5-10). As
in the 2009 PM ISA, combined respiratory infections capture a range of outcomes (pneumonia, ear

infections, bronchiolitis, sinusitis), most of which are reported in studies primarily focusing on children.

For each of the studies evaluated in this section, Table 5-10 presents the air quality characteristics
of each city, or across all cities, the exposure assignment approach used, and information on copollutants
examined in each respiratory infection hospital admission and ED visit study. Other recent studies of
respiratory infection hospital admissions and ED visits are not the focus of this evaluation because they
did not address uncertainties and limitations in the evidence previously identified, and therefore, do not
directly support the discussion of policy-relevant considerations detailed in Section 5.1.10. Additionally,
many of these studies were conducted in small single cities, were of a short study duration, or had
insufficient sample size. The full list of these studies can be found here:

https://hero.epa.gov/hero/particulate-matter.

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Study
tMalig et al. (2013)
Stieb et al. (2009)

+Rodopoulouet al. (2015)

Peel et al. (2005)
Lin et al. (2005)
+Yap etal. (2013)

fBelleudi et al, (2010)
Dominici et al. (2006)
TBell et al. (2015)

Ito (2003)
+Darrowet al. (2014)

*Strickland etal. (2015)

Lanes etal. (2014)
Malig et al. (2013)
+Cheng etal. (2015)

+Rodopoulou et al. (2015)

+Yap et al, (2013)

Zanobetti et al, (2006)
+Halonenet al. (2009)
+Sarnat et al. (2015)

+ Darrow et al. (2014)

+ Strickland etal. (2015)
+Strickland etal. (2015)

[Kousha etal. (2016)
fZemek etal. (2010)

+Darrowet al. (2014)

+Grineski et al. (2011)

* Strickland et al. (2015)

Location Age Lag \
35 California counties | 1 Hospital Admissions 1 Respiratory Infections
6 Canadian cities All 0 --
Little Rock, AR All 2 a.
Atlanta, GA All 0-2 *
Toronto, Canada 0-14 4 [| | SHHterstes WEtereePrses
Central Valley, CA 1-9 a a
South Coast, CA 1-9 3 ' ®
Rome, Italy 235 0-6 neseninenre
204 U.S. counties 265 2
213 U.S. counties 265 0 ®
Detroit, MI 265 0 Sr eee re tet ee
Atlanta, GA 0-1 O-2 ED Visits a
Georgia 0-18 O :o
St. Louis, MO All 0-2 Hospital Admissions Proeumonia
35 California counties All 1
Kaohsuing, Taiwan All 0-2a
All 0-2b
Little Rock, AR 215 2
Central Valley, CA 1-9 3
South Coast, CA 1-9 3
Boston, MA =65 0
Helsinki, Finland 265 1
St. Louis, MO All 0-2 ED visits
Atlanta, GA 0-4 0-2
Georgia 0-18 0
Georgia 0-18 O ED visits Ear Infection
Winds or, Canada 0-3 3 o---
Edmonton, Canada 1-3 3 a
Atlanta, GA 04 0-2 ED visits =e Bronchiolitis
Atlanta, GA All 0-3 ED visits een ae ne anes Acute bronchitis
Georgia 0-18 0 ED visits ea Chronic Sinusitis
0.8 Oo 1 1 12 13 14

Odds Ratio/Relative Risk (95% Confidence Interval)

ED = emergency department; ug/m* = micrograms per cubic meter; PM = particulate matter; PMzs = particulate matter with a
nominal mean aerodynamic diameter less than or equal to 2.5 um.

Note: +Studies published since the 2009 PM ISA. Black text = U.S. and Canadian studies included in the 2009 PM ISA.
Corresponding quantitative results are reported in Supplemental Material (U.S. EPA, 2018).

4 Results for temperatures 225+C.
> Results for temperatures <25°C.

Figure 5-7

Summary of associations between short-term PM2.5 exposures
and respiratory infection hospital admissions and emergency

department visits for a 10-yjg/m? increase in 24-hour avg PM2.5
concentrations.

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Table 5-10 Epidemiologic studies of short-term PM2zs5 exposure and hospital admissions and emergency
department visits for respiratory infection.

Upper Percentile

Outcome Mean Concentration Concentrations PMz.s Copollutant Model
Study Exposure Assessment Assessment pg/m? pg/m? Results and Correlations

Children
Lin et al. (2005 Four monitors averaged Hospital admissions 9.6 75th: 12.3 Correlation (r): 0.56 Os, 0.48
Toronto, Canada URI + LRI Max: 50.5 NO2; 0:10 CO; 0.47 S02
4998-2001 Copollutant models with: NA
tYap etal. (2013 Monitors in county averaged Hospitaladmissions 12.8 Sacramento, CA NR Correlation (r): NA
12 counties, Central Valley | Number per county NR. ARI and pneumonia £0 24.6 Riverside, CA Copollutant models with: NA
and South Coast, CA 73 monitors total in state.
2000-2005
+Darrow et al. (2014) 11 monitors combined for ED visits 14.1 75th: 17.8 Correlation (r): 0.30 Os, 0.41
Atlanta, GA each census tract URI and pneumonia 95th: 27.4 NOa, 0.45 CO
1993-2010 Max: 75.2 Copollutant models with: NA
+Xiao et al. (2016); Fuse-CMAQ; satellite-monitor ED visits Fuse-CMAQ Fuse-CMAQ Correlation (r): 0.61 Os, 0.22
+Strickland et al. (2015) model URI, pneumonia, ear Mean 75th: 16.4 NOs, 0.26 CO, 0.21 SOz2
Georgia, whole state infection, chronic 43.2 Max: 86.4 Copollutant models with: NA
2002-2008 or 2010 sinusitis Satellite-monitor Satellite-monitor

Median State

State: 12.9 75th: 17.4

Large urban: 13.0 99th: 37.4

Nonurban: 12.9
tZemek et al. (2010) Three monitors averaged ED visits 8.5 75th: 10.9 Correlation (r): NA

Edmonton, Canada
1998-2002

Ear infection

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Copollutant models with: NA

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Table 5-10 (Continued): Epidemiologic studies of PM25 and hospital admissions and emergency department
visits for respiratory infection.

Upper Percentile

Outcome Mean Concentration Concentrations PMz.5 Copollutant Model

Study Exposure Assessment Assessment pg/m? Lg/m? Results and Correlations
+Kousha and Castner (2016) Average of monitors in city ED visits 4.7 NR Copollutant correlation (f): NA
Windsor, Canada Ear infection Copollutant models with: NA
2004-2010
Older Adults
Dominici et al. (2006) Monitors in county averaged Hospitaladmissions 13.4 75th: 15.2 Copollutant correlation (r): NA
204 U.S. counties Number per county NR URI + LRI Copollutant models with: NA
1999-2002
7Bell et al. (2015 Monitors in county averaged Hospitaladmissions  U.S.: 12.3 Max U.S.: 20.2 Copollutant correlation (r): NA
213 U.S. counties Number per county NR URI + LRI Northeast: 12.0 Northeast: 16.4 Copollutant models with: NA
1999-2010 Midwest: 12.9 Midwest: 16.5

South: 12.4 South: 16.5
West: 11.3 West: 20.2

Ito (2003) One monitor Hospital admissions 18 75th: 21 Copollutant correlation (r): NA
Detroit, Ml Sited in Windsor, Ontario Type of infection NR 95th: 42 Copollutant models with: NA
1992-1994
Zanobetti and Schwartz One monitor Hospital admissions Median: 75th: 16.1 Correlation (r): 0.20 Os, 0.55,
2006 Data missing for 1998 Pneumonia 14.4 95th: 26.3 NO2, 0.52 CO
Boston, MA Copollutant models with: NA
1995-1999
+Halonen et al. (2009b) Hospital admissions Median: 75th: 11.7 Correlation (r): 0.39 NOo,
Helsinki, Finland Pneumonia 9.5 Max: 69.5 0.30 CO

1998-2004

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Copollutant models with:
NQz, CO

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Table 5-10 (Continued): Epidemiologic studies of PM25 and hospital admissions and emergency department
visits for respiratory infection.

Upper Percentile

Outcome Mean Concentration Concentrations PMz.5 Copollutant Model

Study Exposure Assessment Assessment pg/m? Lg/m? Results and Correlations
All Adults
t+Halonen et al. (2009a) Two monitors Hospital admissions Median: 75th: 11.0 Correlation (r): 0.43 Os.
Helsinki, Finland Pneumonia 8.8 Max: 41.5 Copollutant models with: O3
1998-2004
+Rodopoulou et al. (2015) One monitor ED visits 12.4 75th: 15.6 Correlation (r): 0.33 O3
Little Rock, AR ARI and pneumonia Copollutant models with: O3
2002-2012
ytLiu et al. (2016 Four monitors averaged Hospital admissions 12.0 90th: 18.5 Copollutant correlation (r): NA
Greater Houston area, TX Pneumonia Copollutant models with: NA
2008-2013
Mostly adults (92%)
+Belleudi et al. (2010) One monitor Hospital admissions 22.8 75th: 27.8 Correlation (r): 0.84 PMio
Rome, ltaly LRI Copollutant models with: NA
2001-2005
tSarnat et al. (2015 One monitor ED visits 18.0 75th: 22.7 Correlation (r): 0.23 O3, 0.35
St. Louis, MO (eight Missouri Pneumonia Max: NR NOa, 0.25 CO, 0.08 SOz
counties, eight Illinois Copollutant models with: NA
counties)
2001-2003
All adults
All Ages
+Krall et al. (2016) One monitor in each city ED visits Atlanta, GA: 15.6 NR Correlation (r): 0.57 O3, 0.39
Atlanta, GA, 1999-2009 URI and pneumonia Birmingham, AL: 17.0 a ee a ao

sg : . -0. 2 Dallas, TX; 0.

Birmingham, AL, 2004-2010 St. Louis, MO: 13.6 3, 0.29 NO> St. Louis, MO.
St. Louis, MO, 2001-2007 Dallas, TX: 10.7

Copollutant models with: NA
Dallas, TX, 2006-2009

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Table 5-10 (Continued): Epidemiologic studies of PM25 and hospital admissions and emergency department
visits for respiratory infection.

Upper Percentile

Outcome Mean Concentration Concentrations PMz.5 Copollutant Model

Study Exposure Assessment Assessment pg/m? pg/m? Results and Correlations
Peel et al. (2005 One monitor ED visits 19.2 90th: 32.3 Copollutant correlation (r): NA
Atlanta, GA URI and pneumonia Copollutant models with: NA
1998-2000
+Malig et al. (2013) Nearest monitor ED visits 35 counties: 5.2 to NR Copollutant correlation (r): NA
35 California counties Monitor within 25 or 20 km of ARI and pneumonia 19.8 Copollutant models with: NA
2005-2008 population-weighted ZIP code 8 counties: 16.5
+Ostro et al. (2016) centroid overall
Eight California counties
2005-2008
Stieb et al. (2009 One monitor ED visits 6.7-9.8 75th Correlation (r): -0.05 to 0.62
Halifax, Montreal, Toronto, URI + LRI 8.7-11.9 Os, 0.27-0.51 NO2,
Ottawa, Edmonton, 0.01-0.42 CO, 0.01-0.55
Vancouver, Canada SOz.
4992-2003 across cities Copollutant models with: NA
Host et al. (2008 Seven monitors Hospital admissions 13.8-18.8 95th Copollutant correlation (r): NA
Paris, Le Havre, Toulouse, URI + LRI 25.0-33.0 Copollutant models with: NA
Rouen, Marseille, Lille,
France, 2000-2003
+Winquist et al. (2012) One monitor Hospital admissions 14.4 Max: 56.6 Correlation (r): 0.25 O3
St. Louis, MO and ED visits Copollutant models with: NA
2001-2007 Pneumonia
+Kim et al. (2012 One monitor ED visits 8.0 Max: 59.4 Correlation (r): 0.30 Os, 0.26
Denver, CO Pneumonia NOz, 0.23 CO, 0.23 SO2
2003-2007 Copollutant models with: NA
+Cheng etal. (2015) Six monitors averaged Hospital admissions Median: 75th: 61.9 Correlation (r): 0.42 O3, 0.80
Kaohsiung, Taiwan Pneumonia 44.3 Max: 144 NOa, 0.81 CO, 0.25 SO2

2006-2010

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Copollutant models with: Os,
NO2, CO, SOz

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Table 5-10 (Continued): Epidemiologic studies of PM25 and hospital admissions and emergency department
visits for respiratory infection.

Study

Exposure Assessment

Outcome
Assessment

Mean Concentration
pg/m?

Upper Percentile
Concentrations
g/m?

PMz.5 Copollutant Model
Results and Correlations

+Grineski et al. (2011)
El Paso, TX
2000-2003

Two monitors averaged

Hospital admissions
Acute bronchitis

12.8

75th: 15.6
95th: 26.6
Max: 119.1

Copollutant correlation (r): NA
Copollutant models with: NA

+Winquist et al. (2012)

St. Louis, MO
2001-2007

Two monitors averaged

Hospital admissions
and ED visits

14.4

Max: 56.6

Correlation (r): 0.25 O3
Copollutant models with: NA

+Sinclair et al, (2010)
Atlanta, GA
1998-2002

One monitor

Outpatient visits for
acute respiratory
illness

17.1

NR

Copollutant correlation (r): NA
Copollutant models with: NA

ARI = acute respiratory infection; CMAQ = Community Multiscale Air Quality; CO = carbon monoxide; ED = emergency department; LRI = lower respiratory infection;

max = maximum; g/m? = micrograms per cubic meter; NA = not available; NO. = nitrogen dioxide; NR = not reported; O3 = ozone; PM = particulate matter; PMzs5 = particulate matter
with a nominal mean aerodynamic diameter less than or equal to 2.5 um; PMio = particulate matter with a nominal mean aerodynamic diameter less than or equal to 10 um;

r= correlation coefficient; SO2 = sulfur dioxide; URI = upper respiratory infection.

Studies published since the 2009 PM ISA.

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5.1.5.1.1 Hospital Admissions

Studies examined the association between short-term PM>.s exposure and hospital admissions for
a variety of respiratory infections. Several recent multicity studies conducted in the U.S. examined
associations between short-term PMs exposure and hospital admissions for respiratory infections in

children aged | to 9 years (Yap et al., 2013) and in individuals 65 years of age and older (Bell et al.

2015). Yap et al. (2013) evaluated pediatric (children aged | to 9 years) hospital admissions for

respiratory conditions associated with PM>.5 exposures in 12 California counties. For acute respiratory
infections, including pneumonia, relative risks (RR) ranged from 1.03 to 1.07 in Los Angeles, Riverside,
San Bernardino, and San Diego, CA counties at lags 0—2 days. The association for combined respiratory
infection hospital admissions was significantly higher in the south coast than the Central Valley (RR 1.07
vs. 0.99); confidence intervals were not reported. In addition to this evidence for pediatric infections, in a

multicounty time-series analysis of adults conducted in 213 U.S. counties, Bell et al. (2015) reported a

0.21% (95% CI: —0.07, 0.49) increase in combined respiratory tract infection hospital admissions among
adults aged 65 years and older at lag 0.

In addition to the multicity studies presented above, several single-city studies were conducted in

the U.S. and internationally that examined respiratory infection hospital admissions. Grineski et al. (2011)

primarily focused on examining the effect of dust and low wind events on asthma and acute bronchitis
hospital admissions in El Paso, TX. The authors reported imprecise associations with PM>2.s and acute
bronchitis hospital admissions across both single and multiday lags with an OR of 1.01 (95% CI: 0.92,
1.12) at lag 0-3 days. By contrast, in Denver, CO, Kim et al. (2012) reported no association between

PM;.s and pneumonia hospital admissions at any lag when examining a distributed lag model of

0-14 days (quantitative results not presented). Winquist et al. (2012) conducted a study in the St. Louis,

MO metropolitan area to evaluate the effect of the type of health care visit on the association with
short-term air pollution exposures, including PM2.s. This study compared four visit types including ED
visits, hospital admissions, hospital admissions that came through the ED, and nonelective hospital
admissions. The authors found that compared with ED visits patients, hospital admission patients tended
to be older, had evidence of greater severity for some outcomes, and had a different mix of specific
outcomes. For pneumonia, associations with PM2>5 were positive only among the 2—18-year-old group for
ED visits, nonelective hospital admissions, and hospital admissions through ED types of visits. The only
positive association was observed for hospital admissions through ED visits (0.43% [95% CI: —0.56,
0.68] at lag O—4 days). In Rome, Italy, Belleudi et al. (2010) reported evidence of an association between

PMz.s and lower respiratory tract infection hospital admissions among adults aged 35 years and older
(3.62% [95% CI: —0.96, 8.42]; lag 0-6 DL).

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5.1.5.1.2 Emergency Department (ED) Visits

Several recent multicity studies conducted in the U.S. examined associations between short-term
PM2>.s5 exposure and respiratory infection-related ED visits. In a multicity study conducted in 35 California

counties, Malig et al. (2013) examined the association between short-term PM>,s exposures and ED visits,

including pneumonia and acute respiratory infections. Using a time-stratified case-crossover analysis, the
authors reported positive associations at 1-day lags between short-term PMs and acute respiratory
infections (1.9% [95% CI: 1.1, 2.7]) and pneumonia (0.86% [95% CI: —0.06, 1.8]) ED visits in

single-pollutant models.

The evidence for associations with ED visits from single-city studies also has expanded
considerably since the 2009 PM ISA (U.S. EPA, 2009). Winquist et al. (2012) observed a positive
association for hospital admissions through ED visits, which can be compared with a more recent study

conducted in the same St. Louis, Missouri-[]linois (MO-IL) metropolitan area. However, unlike Winquist
et al. (2012), Sarnat et al. (2015) found no evidence of an associations between PM>2.s and pneumonia ED
visits (RR: 0.98 [95% CI: 0.96, 1.00]) at lag 0-2 days.

Several studies investigated the associations between PM» and ED visits related to several
respiratory infections in Atlanta, GA. Darrow et al. (2014) conducted an 18-year (1993-2010) study

examining the association between PM:>.; and pediatric (ages 0-4) ED visits for respiratory infections,
including bronchitis and bronchiolitis, pneumonia, and upper respiratory infection (URI). Daily
concentrations of ambient air pollution from several networks of ambient monitors were combined using
population-weighting. Pneumonia ED visits were positively associated with PM2,s (for children aged
0-4 years, RR: 1.01 [95% CI: 0.99, 1.03]). PM2.s at lag 0-2 days was not associated with an increase in
ED visits for bronchiolitis and bronchitis, but results for URI and pneumonia were positive, albeit with
wide confidence intervals, for children aged 1—4 years. In the same location, Strickland et al. (2015)

examined children ages 0-18 years old between 2002-2010 in a case-crossover study using predicted
daily PM2,.s concentrations from a two-stage spatiotemporal model with geographical weighting. The
authors found that the association with ED visits for bronchitis and upper respiratory infection increased
slightly at lag 0-day (OR: 1.010 [95% CI: 0.994, 1.027], and OR: 1.015 [95% CI: 1.008, 1.022]). In
contrast, the association for pneumonia-related ED visits were essentially null at both a 0-day lag (OR:
0.999 [95% CI: 0.979, 1.019]) and a 1-day lag (OR: 1.001 [95% CI: 0.981, 1.022]).

In contrast to the results of Winquist et al. (2012), other single-city studies such as Darrow et al.

(2014), Strickland et al. (2015), and Rodopoulou et al. (2015) found no associations for respiratory

infection ED visits. For example, in Little Rock, AR, Rodopoulou et al. (2015) found an association of

—1.34% (95% Cl: —5.31, 2.79) among all age groups using a 2-day lag. The association slightly increased
to —0.82% after the inclusion of O; in a copollutant model (95% CI: —4.96, 3.50).

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5.1.5.2 Outpatient and Physician Visit Studies

A study conducted in Atlanta, GA, Sinclair et al. (2010) examined the association between air

pollution and several respiratory-related outpatient visits, including upper and lower respiratory
infections. The authors separated the analysis into two consecutive time periods to compare the air
pollutant concentrations and relationships for acute respiratory visits for the 25-month time period
examined in a previous study (August 1998—August 2000) and an additional 28-month time period of
available data from the Atlanta Aerosol Research and Inhalation Epidemiology Study (ARIES; September
2000—December 2002). Across the two-time periods, 24-hour avg PMs concentrations were lower in the
28- versus the 25-month time period (16.2 vs. 18.4 g/m*, respectively). A comparison of the two-time
periods indicated that associations for PM2s tended to be larger in the earlier 25-month period than in the
later 28-month period. The highest association with LRI was observed for lag 3—5 in the 25-month time
period (RR: 1.071 [95% CI: 1.003, 1.144]). For URI in the 25-month period, the association was positive
at lag 0-2 days (RR: 1.015 [95% CI: 0.990, 1.040]). Note, however, that the severity of a PM2s-related
respiratory outcome, personal behavior like delaying a visit to the doctor for less severe symptoms, and
insurance type (i.e., physician visits which often are ascertained for members of a managed care
organization) may dictate whether individuals visit the doctor or a hospital, making it difficult to readily

compare results between studies focusing on physician visits versus hospital admissions and ED visits.

5.1.5.3 Subclinical Effects Underlying Respiratory Infection

Subclinical effects have been investigated solely in animal toxicological studies. As described in
the 2004 PM AQCD (U.S. EPA, 2004), Zelikoff et al. (2003) showed that exposure to PM2s CAPs in

New York City, NY resulted in altered macrophage function in rats. In addition, a greater bacterial burden

was found when infection with S. pneumoniae was followed 48 hours later by PM2.s CAPs exposure.
However, when PM2, CAPs exposure preceded S. pneumoniae infection, it had little effect on bacterial
burden. Studies described in the 2009 PM ISA (U.S. EPA, 2009) demonstrated altered susceptibility to

infectious agents following exposure to whole motor vehicle exhaust and effects due to metal-enriched

particles (i.e., ROFA). Recent studies of respiratory-related infection did not examine the effects of PM2s
CAPs or seek to distinguish between the effect of gaseous and particulate components in a mixture.

5.1.5.4 Summary of Respiratory Infection

The body of evidence for associations between short-term exposure to PM2s5 and respiratory
infection consists mainly of studies of hospital admissions and ED visits. These studies increased in
number since the last review. However, because of variability in the type of respiratory infection outcome
examined, the overall interpretation of findings is more complicated. Associations reported in single-city

studies were often imprecise, with confidence intervals crossing the null. A few recent single-city studies

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reported positive associations for acute bronchitis hospital admissions and respiratory tract infection
hospital admissions. Additionally, one multicity study conducted in the U.S. and another one in Canada
found positive associations between short-term PM2,5 exposure and hospital admissions for respiratory
infections. Most single-city studies in the U.S. consistently reported positive associations for pneumonia
(adults and children, ages 0—4), but this effect was not observed for bronchiolitis and bronchitis in
children ages 0-4 years. In contrast, a study of acute respiratory infection ED visits reported no evidence
of an association with PM>2s. However, a single-city U.S. study reported positive associations with
outpatient visits for lower and upper respiratory tract infections. These outpatient visits studies generally
provide inconsistent evidence for seasonal patterns in the strength of association. A single experimental
study in animals, demonstrating altered macrophage function and increased susceptibility to pneumonia in

response to PM3.s CAPs exposure, supports the findings of the epidemiologic studies.

5.1.6 Combinations of Respiratory-Related Hospital Admissions and
Emergency Department (ED) Visits

In addition to individual respiratory diseases, epidemiologic studies examined respiratory
diseases in aggregate where, in some cases, the aggregate represented all respiratory diseases while, in
others, a specific combination of respiratory diseases was represented (e.g., COPD, asthma, and
respiratory infections). In the 2009 PM ISA (U.S. EPA, 2009), a small number of studies examined
short-term PM2.s exposure and all respiratory-related diseases in the context of hospital admissions and

ED visits. These studies generally comprised single-city studies and reported evidence of consistent,
positive associations when examining effects in children, people of all ages, adults, and older adults

(i.e., >65 years of age) at lags within the range of 0 to 2 days. However, across these studies the
evaluation of potential copollutant confounding was limited to analyses of PMio-2.s, with no evaluation of
gaseous pollutants. When interpreting these results, it is often difficult to determine whether the
associations observed indicate that PM>.; may affect the spectrum of respiratory diseases or reflects the

evidence supporting associations with specific respiratory diseases, such as asthma.

Studies published since the completion of the 2009 PM ISA (U.S. EPA, 2009) report generally
consistent, positive associations across studies of hospital admissions and ED visits for all age ranges,
particularly in multicity studies (Figure 5-8). Among studies that examined both combinations of
respiratory diseases grouped together and individual respiratory diseases, as detailed in previous sections
within this chapter, most observed positive PM2.s associations with asthma (Section 5.1.2), respiratory
infection (Section 5.1.5), or both, with results for COPD (Section 5.1.4) being more variable. However,

some studies show associations with all three respiratory diseases. For studies that did not observe

PM)>s-related increases in hospital admissions or ED visits for all respiratory-related diseases, associations
were often observed for individual respiratory diseases within the same study, for example asthma

[e.g., Yap et al. (2013)]. As in the individual respiratory diseases discussed earlier in this chapter, positive

associations with respiratory-related diseases are more consistently observed among children and when

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examining people of all ages. However, recent studies further expand analyses with older adults, with
multicity studies conducted in the U.S. providing evidence of consistent, positive associations between

short-term PM2.s exposure and respiratory-related diseases.

+Samoli_et al. (2016) 5 European cities l Hos pital Admissions :o- All Ages
+Basagiia et al. fn Sa 5 European cities Ll 1—o—
tLanzmeger et al. (2016)b 4 European cites 0-5 ; —#—.
tKollanus et al. (2016) 4 Finland cites 0 -o—
Burnett etal (199 Toronto, Canada i4 1 —*
Slaughter et al. (2005 Spokane, WA 3 —1e—
+Wingust. etal (2012 St. Lous, MO 0-4 DL —o—
+Rodopoulou_et al. (2014) Dojia Ana County, NM I ———
+Adar et al (201 4} Meta-analysis — @
rStafoggia etal (2013) 8 European cities 0-5 oe 15+
‘Yap etal. (2013) Central Valley, CA 0-2 9 1-9
yap etal, (2013 South Coast, CA 0-2¢ e
Wingust etal, (2012) St. Louis, MO 0-4 DL Se  _ 2-18
Istro et al. (2009) 6 CA counties 3 ie <19
Bell etal (2008 202 U.S. counties 2 » 65+
loog etal (2 i) i Atlantic U.S. states 0-1 ' @
Bravo et al. (2017) 708 U.S. counties 0 1@
‘Bravo et al. (2017) 418 U.S. counties Od 1e
Bravo et al. (2017) 418 U.S. counties Oc Le
Bell et al. (2015) 213 US. counties 0 °
arene etal (2012) New England, U.S, 6-1 19
aaa etal. (2014) 110 U.S. counties 0 oo
Ba Gees etal (2009) 26 U.S. counties 6-1 \ -*
eee edo 2016) 7 4 Finland Fare es —_o—-
ung eta ‘ancouver. Canada -2 ——e
Wirguist et al. (2012 St. Louis, MO 04 DL —s—
Roovowion el al 7 14) Dofia Ana County, NM l —
TMalig et al. (2013 35 California. counties l ED Visits 1 All Ages
TWeicd tO etal (2016) Ontario, Canada 0-2 i
Peel et al. Atlanta, GA 0-2 ea
Tolbert ee Oat ) Atlanta, GA 0-2 -
+Darrow et al. (2011) Atlanta, GA 1 oe
+Rodopoulou Pr al, Rn 4) Dofia Ana County, NM I —
Slaughter et al a Spokane, WA 2 +.
+Winqusst etal BO St. Lous, MO 0-4 DL re
+Wi ingusl et al (2012) St. Lous, MO 0-4 DL i 2-18
tRodopoulou et al. Sours) Dofa Ana County, NM 1 1 @ 65+
+Wingust et al. (2012) St. Lous, MO 0-4 DL ———
O.8 09 l L.l 12

Odds Ratio/Relative Risk (95% Confidence Interval)

avg = average; DL = distributed lag; ED = emergency department; pg/m? = micrograms per cubic meter; PM = particulate matter;
PMz25 = particulate matter with a nominal mean aerodynamic diameter less than or equal to 2.5 pm.

Note: {Studies published since the 2009 PM ISA. Black text: U.S. and Canadian studies included in the 2009 PM ISA.
*Five European cities as part of the MED-PARTICLES project.

’Only four of the five cities had PMz<5 data.

°Quantitative data for confidence intervals not reported, but above the null.

‘Monitoring data result.

*Downscaler Community Multiscale Air Quality (CMAQ) model, only counties and days with monitoring data.
Corresponding quantitative results are reported in Supplemental Material (U.S. EPA, 2018).

Figure 5-8 Summary of associations from studies of short-term PM25
exposure and respiratory-related hospital admission and
emergency department visits for a 10-g/m? increase in 24-hour
avg PMz2.5 concentrations.

Consistent with earlier sections, the focus of this section is on those studies that address
uncertainties and limitations in the evidence for association between short-term PM>2.5 exposure and
respiratory-related hospital admissions and ED visits identified at the completion of the 2009 PM ISA
(U.S. EPA, 2009). For each of the studies that evaluated hospital admissions and ED visits for

combinations of respiratory-related diseases, Table 5-11 presents the air quality characteristics of each

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city, or across all cities, the exposure assignment approach used, and information on copollutants
examined. Other recent studies of hospital admissions and ED visits for respiratory-related diseases that
did not address uncertainties and limitations in the evidence previously identified are not the focus of this
evaluation. Additionally, many of these other studies were conducted in small single cities, were ofa
short study duration, or had insufficient sample size. The full list of these other studies can be found in
HERO: https://hero.epa.gov/hero/particulate-matter.

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Table 5-11

emergency department visits.

Epidemiologic studies of short-term PM2.5 exposure and respiratory-related hospital admissions and

Upper Percentile

Study, Location, Years, ICD Codes Mean Concentration Concentrations
Age Range Exposure Assessment ICD-9 or ICD-10 Lg/m? Copollutant Examination

Hospital Admissions

Bell et al. (2008 Average of all monitors in 490-492, 464-466, NR NR Correlation (r): NA

202 U.S. counties each county 480-487 Copollutant models with:

1999-2005 NA

265 yr

Bell et al. (2009a Average of all monitors in 490-492, 464-466, NR NR Correlation (nr): NA

168 U.S. counties each county 480-487 Copollutant models with:

1999-2005 NA

265 yr

Ostro etal. (2009) Average of all monitors in 460-519 19.4 NR Correlation (r): NA

Six California counties each county Copollutant models with:

2000-2003 NA

<19 yr

Fung etal. (2006 Average of all monitors 460-519 Cl Max: 32 Correlation (r): -0.03 Os,

Vancouver, Canada NOz, 0.23 CO, 0.42

Trtaee Cc llutant models with
opollutant models with:

265 yr NA

Burnett et al. (1997) One monitor 464-466, 490, 480-486, 16.8 75th: 23 Correlation (rf): 0.32 Os,

Toronto. Canada 491-494, 496 95th: 40 0.45 NQz, 0.42 CO, 0.49

1992-1994, summers only Max: 66 S02

All ages

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Copollutant models with:
O03, CO, NOz, SOz

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Table 5-11 (Continued): Epidemiologic studies of PM2.5 and respiratory-related hospital admissions and
emergency department visits.

Upper Percentile

Study, Location, Years, ICD Codes Mean Concentration Concentrations
Age Range Exposure Assessment ICD-9 or ICD-10 Lg/m? pg/m? Copollutant Examination

+Powell et al. (2015) Average of all monitors in 464-466, 480-487, 12.18 75: 14.2 Correlation (r): NA
110 U.S. counties each county 490-492 Copollutant models with:
1999-2010 NA
265 yr
+Bravo et al. (2017) (1) Average ofall monitors 464-466, 480-487, Monitors: 12.5 NR Correlation (rn): NA
708 U.S. counties, eastern within a county 490-492 Downscaler CMAQ: Copollutant models with:
2/3rd of U.S. (2) County-level 12.6 NA
2002-2006 Oe ba Downscaler CMAQ

average 0 2.5 Subset: 12.6
e695 yt concentrations

predicted by

downscaler CMAQ at

census tract centroids

(3) Same as (2), but only

for counties and days

with monitoring data
TBell etal. (2015 Average ofall monitors in 464-466, 480-487, ULS.: 12.3 Max U.S.: 20.2 Correlation (r): NA
213 U.S. counties each county 490-492, 493 Northeast: 12.0 Northeast: 16.4 Copollutant models with:
1999-2010 Midwest: 12.9 Midwest: 16.5 NA
265 yr South: 12.4 South: 16.5

West: 11.3 West: 20.2

+Zanobetti et al. (2009) Average of all monitors in 460-519 15.3 NR Correlation (r): NA
26 U.S. counties each county Copollutant models with:
2000-2003 NA
265 yr
+Bell et al. (2014 One monitor in each of 464-466, 480-487, 14.0 NR Correlation (r): NA

Three Connecticut and one
Massachusetts counties

2000-2004
265 yr

three counties, two
averaged in one
Connecticut county

490-492

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Copollutant models with:
NA

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Table 5-11 (Continued): Epidemiologic studies of PM2.5 and respiratory-related hospital admissions and
emergency department visits.

Upper Percentile

Study, Location, Years, ICD Codes Mean Concentration Concentrations
Age Range Exposure Assessment ICD-9 or ICD-10 pg/m? pg/m? Copollutant Examination
+Kloog et al. (2012) Predicted daily 460-519 9.6 75th: 11.7 Correlation (r): NA
New England Slater e i Max: 72.6 Copollutant models with:
s x 10-km grid cells NA
2000-2006 based on AOD observation
265 yr data and 78 monitoring
sites as detailed in Kloog
et al. (2011), R? = 0.81,
then matched to ZIP codes
+Kloog et al. (2014) Predicted daily 460-519 11.9 75th: 14.7 Correlation (fn: NA
Mid-Atlantic states Se ee ‘ Max: 95.9 Copollutant models with:
2 x 10-km* grid cells NA
2000-2006 based on AOD observation
265 yr data and 161 monitoring
sites as detailed in Kloog
et al. (2011), R? = 0.81,
then matched to ZIP codes
tYap et al. (2013 Average of all monitors in 460-466, 480-486,493 12.8-24.6 NR Correlation (rn): NA
42 counties, Central Valley ach county Copollutant models with:
and South Coast, CA NA
2000-2005
1-9 yr
tSamoli et al. (2016a Average of all monitors in 466, 480-487, 490-492, 7.8-22.7 NR Correlation (fn: NA
Five European cities each city 494, 496, 493 Copollutant models with:
2001-2011 NA
All ages
tLanzinger etal. (2016b)° Average ofall monitors in JOO-J99 14.9-20.7 Max: 78.8-114.8 Correlation (r): 0.55-0.73

Four European cities
(UFIREG)

2011-2014
All ages

each city

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NOz, 0.40-0.61 PMio-2.5,
0.25-0.37 UFP, 0.49-0.50
PNC

Copollutant models with:
NA

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Table 5-11 (Continued): Epidemiologic studies of PM2.5 and respiratory-related hospital admissions and
emergency department visits.

Upper Percentile

Study, Location, Years, ICD Codes Mean Concentration Concentrations
Age Range Exposure Assessment ICD-9 or ICD-10 Lg/m? pg/m? Copollutant Examination

+Basagafia et al. (2015) One monitor in each city 460-519, JOO-—J99 16.0-27.6 NR Correlation (r): NR

Five European cities Copollutant models with:

(MED-PARTICLES) NR

2001-2010

All ages

TStafoggia et al. (2013) Average of all monitors in 460-519 17.2-34.4 NR Correlation (r): >0.60 with

Eight European cities each city NOz

(M ED-PARTICLES) Copollutant models with:

2003-2013 O3, NOz, PM10-2.5

215 yr

tJones et al. (2015) Fused-CMAQ?! to 12-km? 491, 492, 493, 496 8.0 75th: 11.1 Correlation (rn): -0.34-0.59

New York State grid cells, geocoded — Max: 69.5 Os

2000-2005 addresses to each grid cell Copollutant models with:
NA

All ages

+Kim et al. (2012 One monitor 480-486, 490-493, 496 7.9 Max: 59.4 Correlation (r): 0.68 SO4*,

Denver, CO 0.82 NOs”

2003-2007 Copollutant models with:
NA

All ages

tKollanus et al. (2016) One urban background JO0-J99 8.6 75th: 10.8 Correlation (rn): NA

Helsinki, Finland monitor and one regional Max: 54.1 Copollutant models with:

2001-2010
All ages

background monitor

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NA

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Table 5-11 (Continued): Epidemiologic studies of PM2.5 and respiratory-related hospital admissions and
emergency department visits.

Upper Percentile

Study, Location, Years, ICD Codes Mean Concentration Concentrations
Age Range Exposure Assessment ICD-9 or ICD-10 Lg/m? pg/m? Copollutant Examination
ED Visits
Peel et al. (2005 One monitor 460-466, 477, 480-486, 19.2 90th: 32.3 Correlation (r): 0.55-0.68,
Atlanta, GA 491, 492, 496, 493, CO, NOz
4993-2000 786.09 Copollutant models with:
NA
All ages
Tolbert et al. (2007) One monitor 460-465, 460.0, 477, 17.1 75th: 21.9 Correlation (r): 0.62 Os,
Atlanta, GA 480-486, 491, 492, 496, 90th: 23.8 0.47 NOz, 0.47 CO, 0.17
493, 786.07, 786.09, SO2, 0.47 PMio-2.5
1993-2004 Max: 65.8
466.1, 466.11, 466.19 Copollutant models with:
All ages NA
+Malig et al. (2013) Nearest monitor within 460-519 5.2-19.8 NR Correlation (r): NA
35 California counties 20 oe aan sihaai Copollutant models with:
a population-weighte PMio-2
2005-2008 centroid of each patient's ‘ores
All ages residential ZIP code
tKrall et al. (2016 One monitor in each city 460-465, 466.0, 477, Atlanta, GA: 15.6 NR Correlation (fn: NA
Four U.S. cities a 491-493, 496, st. Louis, MO: 13.6 Copollutant models with:
1999-2010 Dallas, TX: 10.7 NA
Birmingham, AL: 17.0
+Darrow et al. (2011) One monitor 460-466, 477, 480-486, 24-h avg: 16 75th, Max: Correlation (r): 24-h avg:
Atlanta, GA 24-h avg, 1-h max, 491-493, 496, 786.09 4-h max: 29 24-h avg: 21, 72 a ao a ee 0.45
1998-2004 commute (7-10 a.m.), Commute: 17 4-h max: 36, 188 Sichar for nightie: love
daytime (8 a.m.-7 p.m.), igher for nighttime, lower
All ages nighttime (12-7 a.m.) Daytime: 15 Commute: 21, 76 for daytime and commute.
Nighttime: 17 Daytime: 19, 71 Copollutant models with:

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Nighttime: 14, 88

NA

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Table 5-11 (Continued): Epidemiologic studies of PM2.5 and respiratory-related hospital admissions and
emergency department visits.

Upper Percentile

Study, Location, Years, ICD Codes Mean Concentration Concentrations
Age Range Exposure Assessment ICD-9 or ICD-10 Lg/m? pg/m? Copollutant Examination
+Weichenthal et al. (2016) Nearest monitor to JO0-J99 7.1 Max: 56.8 Correlation (r): <0.42 NO2
Ontario, Canada (15 cities) Population-weighted ZIP Copollutant models with:
2004-2011 code centrold oF single Os, NOz, oxidative
available monitor potential
All ages
Hospital Admissions and ED Visits, Separately
Slaughter et al. (2005) One monitor 464-466, 490, 480-487, NR 90: 20.2 Correlation (r): 0.62 CO;
Spokane, WA 491-494 496 0.31 PMio-25
4995-1999 Copollutant models with:
NA

All ages
tWinquist et al. (2012) One monitor 460-465, 466.0,466.1, 14.4 75th: 22.7 Correlation (rf): 0.25 O3
St. Louis, MO ace a Se es Max: 56.6 Copollutant models with:

i ee AS , NA
2001-2007 786.07
All ages
t+Rodopoulou et al. (2014) Three monitors 460-465, 466, 480-486, 10.9 75th: 13 Correlation (rf): -0.05 O3
Dofia Ana County, NM 490-493, 496 Max: 55.6 Copollutant models with:
2007-2010 NA
218 yr

AOD = aerosol optical depth; avg = average; CMAQ = Community Multiscale Air Quality; CO = carbon monoxide; ED = emergency department; h = hour(s); |CD = International
Statistical Classification of Diseases and Related Health Problems; km = kilometer; max = maximum; MED-PARTICLES = particles size and composition in Mediterranean countries:
Geographical variability and short-term health effects: ug/m* = micrograms per cubic meter; NA = not available; NOz = nitrogen dioxide; NO; = nitrate ion; NR = not reported:

O3 = ozone; PM = particulate matter; PMio-25 = particulate matter with a nominal mean aerodynamic diameter greater than 2.5 um and less than or equal to 10 um;

PMz5 = particulate matter with a nominal mean aerodynamic diameter less than or equal to 2.5 um; PNC = particle number concentration; r= correlation coefficient; R? = coefficient
of determination; SO2 = sulfur dioxide; SO,*" = sulfate ion; UFIREG = Ultrafine Particles—An Evidence-Based Contribution to the Development of Regional and European
Environmental and Health Policy; UFP = ultrafine particles; yr = year(s).

*Median concentration.

®PM25 concentrations are for lag 0-1 day.

‘Only four of the five cities had PMz25 data.

‘CMAQ predictions bias corrected using monitored data.
+Studies published since the 2009 PM ISA.

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5.1.6.1 Hospital Admissions

Recent studies that examined the association between short-term PM2.5 exposure and
respiratory-related hospital admissions build upon the evidence detailed in the 2009 PM ISA (U.S. EPA
2009), particularly the examination of effects in older adults (i.e., >65 years of age). Multicity studies

conducted in Europe (Lanzinger et al., 2016b; Samoli et al., 2016a; Basagafia et al., 2015) and Finland

(Kollanus et al., 2016) that examined people of all ages provide evidence of consistent, positive

associations that are similar in magnitude to those reported in the U.S. and Canadian studies evaluated in
the 2009 PM ISA (Figure 5-8). The results from analyses of people of all ages are further supported by
Stafoggia et al. (2013) in a study of eight southern European cities that reported a 1.36% (95% CI: 0.23,
2.49) increase in hospital admissions at lag 0-5 days, as well as a meta-analysis conducted by Adar et al.
(2014) (RR: 1.01 [95% CI: 1.00, 1.02]). However, single-city studies conducted in St. Louis, MO
(Winqguist et al., 2012) and Dofia Ana County, NM (Rodopoulou et al., 2014), do not provide consistent

evidence of an association with respiratory-related diseases in all-ages analyses.

Studies that examined the relationship between short-term PM25 exposure and respiratory-related
hospital admissions in children are few, but generally report associations that are similar in magnitude to

previous studies. An exception is the study conducted by Yap et al. (2013) in 12 California counties
focusing on children | to 9 years of age that showed no evidence of an association in the Central Valley
counties (RR = 1.0) but a positive association in the south coast counties (RR = 1.07) at lag 0-2 days.
Winguist et al. (2012) also reported a positive association for children in St. Louis, MO, but the
confidence intervals were wide (RR: 1.02 [95% CI: 0.96, 1.07]; lag 0-4 DL).

Most of the recent studies of respiratory-related hospital admissions focus on older adults and
consisted mostly of multicity or entire state analysis conducted in the U.S. These recent multicity studies
report evidence of consistent, positive associations, except the study by Kollanus et al. (2016) in four

cities in Finland (Figure 5-8). The associations reported across the U.S. for multicity studies are based on
a variety of exposure assignment approaches (see Table 5-11), all of which resulted in associations that
were similar in magnitude. In a multicounty time-series analysis conducted in 213 U.S. counties from
1999-2010, Bell et al. (2015) observed a 0.25% (95% CI: 0.01, 0.48) increase in all respiratory hospital
admissions at lag 0 among adults aged 65 years and older. In a similar study of 110 U.S. counties, Powell
et al. (2015) reported results consistent with Bell et al. (2015) (0.67% [95% CI: 0.14, 1.21]; lag 0). Bell et

al. (2014) also examined single-day lags, but in four counties in Connecticut and Massachusetts, and

reported evidence of positive associations across lags of 0 to 2 days, albeit with wide confidence intervals
(quantitative results not presented). Additional evidence of a positive association between short-term

PM2.5 exposure and respiratory-related hospital admissions is provided by Zanobetti et al. (2009) in an

analysis of 26 U.S. counties in which a 2.1% (95% CI: 1.2, 3.0) increase in hospital admissions was
reported at lag 0-1. The results from the epidemiologic studies that relied on community-based monitors

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are supported by a series of studies that used a combination of monitored, modeled, and in some cases,
satellite-based PM: 5 concentrations. In a multicity study conducted in the New England region of the

U.S., Kloog et al. (2012) assessed exposure using a novel prediction model that combined land use

regression with surface PM>. measurements from satellite aerosol optical depth. The authors observed a
0.70% (95% CI: 0.35, 1.05) increase in respiratory-related hospital admissions for a 0—1-day lag. In a
sensitivity analysis using monitor-based exposure assessment in the time-series analysis, Kloog et al.
(2012) reported similar results (1.51% [95% CI: 0.42, 2.60]), but with slightly larger confidence intervals.
Kloog et al. (2014) built upon the exposure assessment used in Kloog et al. (2012) in a study conducted in
the Mid-Atlantic region of the U.S. The authors reported a 2.2% (95% CI: 1.9, 2.6) increase in
respiratory-related hospital admissions at lag 0-1 day. The results of Kloog et al. (2012) and Kloog et al.
(2014) are supported by Bravo et al. (2017) in a study of 708 U.S. counties. The authors examined

associations between short-term PM2>,s exposure and respiratory-related hospital admissions using three

different exposure assessment approaches: (1) a population-weighted average of PM2.s concentration
computed in 708 U.S. counties using a downscaled CMAQ model (Section 3.3.2.4.3); (2) a
population-weighted average of downscaled CMAQ-simulated PM25 concentrations computed in the
418 U.S. counties that have monitoring data; and (3) PM>.s concentrations from the 418 U.S. counties
with fixed-site monitors. Across these three exposure assignment approaches, the authors reported a
relatively consistent percent increase in hospital admissions at lag 0: (1) 1.16% (95% CI: 0.88, 1.45);
(2) 1.11 (95% CI: 0.66, 1.56); and (3) 1.10% (95% CI: 0.70, 1.50).

5.1.6.2 | Emergency Department (ED) Visits

Compared to studies that examined hospital admissions for respiratory-related diseases, fewer
studies focused on ED visits, with the majority examining associations with short-term PM>,s exposure in
analyses of all ages. Additionally, a recent study, which examined associations with PM size fractions
smaller than 2.5 jm, but larger than UFP (i.e., number concentration [NC] and surface area concentration
[SC] for particles 100-300 nm), also supports the positive associations with respiratory-related ED visits

observed for PM>; (Leitte et al., 2011). Whereas, many hospital admission studies were conducted over

multiple cities or entire states, the ED visit studies are mostly limited to individual cities.

Malig et al. (2013), in a study of 35 California counties, reported a 1.6% (95% CI: 0.98, 2.27)
increase in respiratory-related ED visits at lag 1. Building on the previous studies conducted in Atlanta,
GA (Tolbert et al., 2007; Peel et al., 2005), Darrow et al. (2011) also examined associations between

short-term PM2,s5 exposures and respiratory-related ED visits, reporting an association similar in
magnitude to the previous studies (0.4% [95% Cl: —0.2, 1.0]; lag 1). Additionally, Krall et al. (2016), ina
study of four U.S. cities (i.e., Atlanta, GA, Birmingham, AL, St. Louis, MO, and Dallas, TX), reported

positive associations for each city at lag 0 (quantitative results not presented). Single-city studies

conducted in Canada and the U.S. report associations that overall are consistently positive and generally

similar in magnitude to Malig et al. (2013) (Figure 5-8). Across the studies evaluated, only Winquist et al.

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(2012) examined associations with respiratory related ED visits in children (i.e., 2-18 years of age) in St.
Louis, MO, and reported an association larger in magnitude (RR: 1.03 [95% CI: 1.02, 1.05]; lag 0-4 DL)
compared with that observed for people of all ages (RR: 1.01 [95% CI: 1.0, 1.02]; lag 0-4 DL). Of the
few studies that examined effects in older adults (Rodopoulou et al., 2014; Winquist et al., 2012), there

was no evidence of an association between short-term PMs exposure and respiratory-related ED visits.

5.1.6.3 Summary of Respiratory-Related Hospital Admissions and
Emergency Department (ED) Visits

Recent epidemiologic studies that examined short-term PM2.s exposure and hospital admissions
and ED visits for respiratory-related diseases generally support the results from studies evaluated in the
2009 PM ISA (U.S. EPA, 2009). Across studies, there is evidence of generally consistent, positive

associations among children, with a growing body of evidence for older adults, primarily from multicity

U.S.-based studies (Figure 5-8). Additional studies focusing on people of all ages, also provide evidence
supporting an association with PM2s5, with most of the studies conducted in individual cities.

The main results of studies detailed within this section are supported by analyses that examined
specific policy-relevant issues as detailed in Section 5.1.10. Compared with the 2009 PM ISA (U.S. EPA

2009), recent studies examine potential copollutant confounding, but overall, the assessment is limited to

only a few studies. These studies demonstrate that associations between short-term PM2.s exposure and
respiratory-related hospital admissions and ED visits are relatively unchanged in models with gaseous
pollutants and PMjo-2.5 (Section 5.1.10.1). In addition to copollutant confounding, several studies
examined the influence of alternative model specifications on the PM>.s association with
respiratory-related hospital admissions and ED visits and found that associations remained relatively
unchanged when accounting for temporal trends and weather covariates using different specifications
(Section 5.1.10.2). Analyses that focused on whether there are differences by season provide some
evidence that PM: associations are larger during the warmer months, but some studies reported larger
associations during the colder months (Section 5.1.10.4.1). The difference in associations by season could
reflect geographic variability that continues to be observed in multicity studies. However, to date it
remains unclear what factors contribute to the observed geographic variability in PM2.s associations with

respiratory-related diseases (Bell et al., 2009a).

Studies evaluated in the 2009 PM ISA (U.S. EPA, 2009) tended to support PM2.s associations

within the first few days after exposure (i.e., lag 0 to 3 days). Recent studies support that evidence and

provide some preliminary evidence that PM2.s effects may be more prolonged, ranging from 0-5 days
(Section 5.1.10.3). To date, very few studies have examined subdaily averaging times of PM2s
concentrations (Section 5.1.10.5). In terms of respiratory-related hospital admissions and ED visits,
available evidence indicates that subdaily averaging times do not result in stronger associations with
respiratory-related hospital admissions and ED visits than 24-hour avg times (Section 5.1.10.5). Lastly,

recent evaluations of the C-R relationship between short-term PM>> exposure and respiratory-related

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hospital admissions and ED visits provide evidence of a linear relationship, but this evidence is based on
rather limited analyses that did not empirically evaluate alternatives to linearity (Section 5.1.10.6).

5.1.7 Respiratory Effects in Healthy Populations

The 2009 PM ISA (U.S. EPA, 2009) did not have a discussion devoted to evaluating the

relationship between short-term PM2.s exposure and respiratory effects in healthy populations, but

relevant epidemiologic studies provided inconsistent evidence for PM25-related decreases in lung function
and increases in pulmonary inflammation. No evidence was found for increases in respiratory symptoms
in individuals with no underlying respiratory disease. Controlled human exposure studies evaluated in the
2009 PM ISA provided no evidence for changes in lung function and limited evidence for pulmonary
inflammation, while animal toxicological studies more consistently provided evidence for PM>s

exposure-related effects.

To characterize the current state of the evidence, this section focuses on results specific to healthy
populations. Some studies employed scripted exposures in an attempt to further inform the relationship
between short-term PM>2.s exposure and respiratory effects. Scripted studies measuring personal ambient
PMz2.s exposures are designed to minimize uncertainty in the PM25 exposure metric by always measuring
PMz2.s at the site of exposure, ensuring exposure to sources of PM2.s, and measuring outcomes at
well-defined lags after exposure.

There are recent epidemiologic studies in populations with 13-28% prevalence of asthma,
COPD, or atopy, some of which indicate PM>,s-associated increases in respiratory effects. However, these
studies are not evaluated in this section, because it is not known whether the results apply to the healthy
portion of the population or are instead driven solely by an association in individuals with pre-existing
respiratory conditions; these studies can be found in HERO (https://hero.epa.gov/hero/particulate-matter).

Further, these studies do not provide additional insight on issues such as copollutant confounding, effects

at low PM>.s5 exposure concentrations, or critical exposure periods.

5.1.7.1 Epidemiologic Studies

The 2009 PM ISA (U.S. EPA, 2009) evaluated a limited number of epidemiologic studies that

examined respiratory effects in healthy populations. A study of adult school crossing guards in New

Jersey observed decreases in lung function associated with 1-hour max PM>.s concentrations (Fan et al.
2008). In contrast, Holguin et al. (2007) did not observe an association between PM>:s and lung function

or lung inflammation in a study of school children in Ciudad Juarez, Mexico. Several recent studies are
available for evaluation, with most focusing on lung function changes and/or lung inflammation in
healthy populations. Study-specific details, including cohort descriptions and air quality characteristics
are highlighted in Table 5-12.

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5.1.7.1.4 Respiratory Symptoms

While respiratory symptoms are frequently studied in populations with pre-existing respiratory
conditions, such as asthma or COPD, the outcome is less often examined in healthy populations.
Therefore, only a single recent study is available for review. In a study of school children in Santiago,
Chile, 7-day avg PM>.s was associated with increased odds of cough and a composite index of respiratory
symptoms (Prieto-Parra et al., 2017). The associations were relatively unchanged in two-pollutant models

with PMj0, NO2, SO2, or O3. However, copollutant correlations were not reported, limiting the
interpretability of the models.

5.1.7.1.2 Lung Function Changes

The majority of recent studies on lung function changes in relation to PM2.5 concentrations
examined adults during scripted exposures and exposure interventions. Studies examining lung function
changes in adults after commuting in cars, buses, or on bicycles, did not observe associations between
personal ambient PM>2.s exposure and FEV, (Mirabelli et al., 2015; Weichenthal et al., 2011; Zuurbier et
al., 201 1b). In a study of adults commuting 2 hours through Atlanta, GA traffic, Mirabelli et al. (2015)
reported PM2 s-related decreases in FVC immediately after the commute. The association appeared to be

transient, with no association observed 3 hours post commute.

A number of studies in the U.S. (Mirowsky et al., 2015), Canada (Dales et al., 2013), and Europe
(Matt et al., 2016; Kubesch et al., 2015; Steenhof et al., 2013; Strak et al., 2012) used quasi-experimental

designs to assign participants to either rest or exercise in different locations with notable pollutant

contrasts. Similar to the studies of scripted commutes through traffic, many of these quasi-experimental
studies observed null associations between lung function and PM>.s (Kubesch et al., 2015; Mirowsky et
al., 2015; Strak et al., 2012). In contrast, Dales et al. (2013) observed decreases in FEV; and FEF2s-7s

associated with 8-hour avg PM>.5 concentrations in Sault Ste. Marie, Canada. Associations were observed

despite low mean concentrations of 8-hour avg PM>.s. Additionally, in Barcelona, Spain, Matt et al.
(2016) reported that healthy adults experienced decreased FEV, associated with 2-hour avg PM2s
immediately after exposure. Notably, PM25 was associated with increased FEV, 7 hours after exposure,
again indicating potentially transient effects. Another study in China implemented an exposure
intervention by moving healthy, nonsmoking adults from an industrial town to a less polluted city for

9 days (Hong et al., 2010). Participants experienced increased FEV, and PEF associated with decreased
24-hour avg PM>:s.

Only a few studies examined lung function is healthy children. School children in an agricultural
area of Brazil experienced decreases in PEF in association with PM2,5 concentrations measured outside of
school; concentrations were averaged over the 6, 12, or 24 hours preceding spirometry (Jacobson et al.,

2012). In Seoul, South Korea (Hong et al., 2010), composite monitor 24-hour avg PM>.s was associated

with a small, imprecise decrease in PEF in schoolchildren at lags 0 and 3, but no other lags up to 4 days.

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The location of the monitors relative to the school was not specified, so it is not clear to what degree
exposure measurement error might have affected the results (Section 3.4.2.2).

5.1.7.1.3 Subclinical Effects

Most recent studies of subclinical respiratory effects in healthy populations examined eNO as an
indicator of pulmonary inflammation. Many of the same studies that were evaluated in the previous
subsection on lung function also measured eNO. Therefore, the majority of recent studies similarly
examined adults during scripted exposures. Studies of adults during and after commuting in cars, buses,
or on bicycles, generally observed associations between personal ambient PM25 exposure and subclinical
respiratory effects (Mirabelli et al., 2015; Weichenthal et al., 2011; Zuurbier et al., 201 1b). Mirabelli et al.
(2015) observed associations between eNO and PM>>s concentrations during a 2-hour scripted commute
through Atlanta, GA traffic. The authors reported PM2s-related increases in eNO levels 0, 1, 2, and
3 hours post commute. A similar PM>s-related increase in eNO was reported in a group of adults cycling
alongside high- and low-traffic roads in Ottawa, Canada (Weichenthal et al., 2011). The observed

associations with personal PM2,.s concentrations were strongest 2 hours after cycling. Conversely, PMs
was associated with a decrease in eNO ina study of adults commuting 2 hours by either car, bus, or bike

in the Netherlands (Zuurbier et al., 201 1b). However, the authors also noted that personal ambient PM>.s

was associated with a decrease in club cell secretory protein (CC16), a pulmonary biomarker that is often

decreased in subjects with lung epithelial damage.

Results from studies using quasi-experimental designs were less consistent than scripted exposure
studies, despite having similarly high mean concentrations of PM2.s. In New York, PM2.5 exposure while
walking near high-traffic roads and in a forest was associated with eNO 24 hours after exposure

(Mirowsky et al., 2015). However, eNO was not associated with PM2,s in studies in which participants

were randomized to exercise or rest at locations with air pollution exposure contrasts in Barcelona, Spain
(Kubesch et al., 2015) or Utrecht, the Netherlands (Strak et al., 2012). As part of the same project in the

Netherlands, Steenhof et al. (2013) reported an association between PM2.s exposure and nasal lavage

levels of the pro-inflammatory cytokine, IL-6. The observed association was persistent in two-pollutant
models including NOx, O3, or SO. (Steenhof et al., 2013).

A single study examined subclinical effects in school children. Carlsen et al. (2016) observed a
5.4 ppb (95% CI: —3.1, 13.0 ppb) increase in eNO associated with 2-day avg PMs at two schools in

Umea, Sweden. PM2.; was measured at monitors located within 1.5 km of the two schools. Although

copollutant models were not examined, PM>.s was weakly correlated with NOx and only moderately

correlated with O3.

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Table 5-12 Epidemiologic studies of short-term PMz2.5 exposure and respiratory effects in healthy populations.

Study

Study Population

Exposure Assessment
Concentration in (ug/m*)

Single-Pollutant Association
95% C

PMz.s Copollutant Model
Results and Correlations

Exposure Interventions

tHao et al. (2017)
Shanghai and Shandong,
China

2012

n = 42, ages 50-61 yr
9-day relocation from higher to
lower air pollution city

Outcomes every other day

Total personal
24-h avg

Mean (SD)
Shanghai: 95.1
Shandong: 187

Per 10 g/m? decrease
FEV: 9.0 (3.6, 14.4) mL
PEF: 33.2 (4.8, 61.5) mL/sec

Correlation (nr): NA

Copollutant models with:
NOz

Scripted Outdoor Exposures

+Mirabelli et.al. (2015)
Atlanta, GA
2009-2011

n=21, ages NR

Morning commute on highway
Two times each, 75 observations
Outcomes 0, 1, 2, 3h after

Personal in-vehicle
2-h avg (7-9 a.m.)
Mean: 28.8

Per 20.9 g/m?
eNO, 0h: 2.4% (-3.3, 8.5)

FEV; percent predicted, 0 h: -0.42%

(-2.2, 1.3)

Correlation (r): NA
Copollutant models with: NA

t+Mirowsky et al. (2015)

New York, Sterling Forest
NY; Nutley, NJ

June-September
2011-2012

n = 26, ages 18-33 yr

Walking on highway bridge,
no-truck highway, forest

One time each, 70 observations
Outcomes 0, 24 h after

Personal ambient

2-h avg

Mean, max

Bridge: 31, 45

No-truck highway: 21, 50
Forest: 13, 24

Increment NR
eNO, 0h: -0.38% (-1.6, 0.31)
eNO, 24 h: 0.87% (-0.09, 1.8)

Correlation (r): 0.66 PMio,
0.29 EC, 0.38 BC, 0.4 OC,
0.39 Os

Copollutant models with: NA

+Dales etal. (2013)
Sault Ste. Marie, Canada
May-August 2010

n = 61, mean (SD) age 24 (6) yr
Near steel plant, college campus
five times each

Outcomes 0 h after

Personal ambient

8-h avg

Mean (SD)

Steel plant: 12.8
College campus: 11.6

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Per 9 yg/m?
FEV: -0.42% (-0.83, 0)
FEF2s-75: -0.92% (-1.7, -0.12)

Correlation (r): NA
Copollutant models with: NA

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Table 5-12 (Continued): Epidemiologic studies of PM2z.5 and respiratory effects in healthy populations.

Study

Study Population

Exposure Assessment
Concentration in (ug/m*)

Single-Pollutant Association
95% Cl

PM2z.5 Copollutant Model
Results and Correlations

+Weichenthal et al.
(2011)

Ottawa, Canada
May-September 2010

n = 42, ages 19-58 yr

Cycling on high- and low-traffic
road

One time each, 118 observations

Outcomes 0, 1, 2, 3h after

Personal ambient

1-h avg

Mean, max

High-traffic road: 12.2, 34
Low-traffic road: 8.1, 26

Per 8.7 yg/m>

1-h postexposure

FEV:: -16 (-90, 58) mL
2-h postexposure

eNO: 1.1 (0.08, 2.2) ppb

Correlation (7): (high traffic,
low traffic) 0.06, -0.22 UFP;
0.32, 0.24 BC; 0.75, 0.59
CO; -0.30, -0.04 SOz2; 0.31,
0.45 NOz; 0.58, 0.36 Os

Copollutant models with: NA

+Strak et al. (2012):
+Steenhof et al. (2013)

Utrecht, the Netherlands
March-October 2009

n= 31, ages 19-26 yr
Free-flowing traffic road,
stop-and-go traffic road, urban
site, farm, underground train
station

One time each, with exercise
Outcomes 0, 2, 22 h after

Personal ambient

5-h avg

Geometric mean, max
39, 167

Per 11.5 ug/m?

FVC: 0.08%, p> 0.10

eNo: 0.17%, p > 0.10

For outdoor sites only

Nasal lavage IL-6: 16%, p < 0.05

Correlation (r): -0.65 Os,
0.21 NOz, 0.31 NOx

Copollutant models with: Os,
S02, NOx

+Zuurbier et al. (2011b):
+Zuurbier et al. (2011a)

Arnhem, the Netherlands
June 2007-June 2008

n = 34, ages 23-55 yr

Commute in car, bus, bike

One time each, 352 observations
Outcomes 0, 6 h after

Personal ambient

2-h avg

Mean, max

Diesel bus: 39.1, 324
Diesel car: 58.1, 358

Gas car: 68.1, 403

Bike, high traffic: 49.8, 219
Bike, low traffic: 65.2, 241

Per 68.1 g/m, 6 h postexposure
FEV1: 0.02% (-0.41, 0.45)
MMEF: 0.60% (-0.73, 1.9)

eNO: -2.5% (-5.9, 1.1)

CC16: -1.3% (-6.8, 0.3)

Correlation (rn): NA

Copollutant models with:
NO2

+Matt et al. (2016)

November 2013-March
2014

Barcelona, Spain

n = 30, ages 19-57 yr

Bridge over high-traffic road,
seaside park

One time each, with exercise and
rest

Outcomes 0, 7 h after

Personal ambient
2-h avg

Mean, 95th
High-traffic: 82, 92
Seaside park: 39, 48

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Per 1 tg/m?, 0-h postexposure
FEV: -0.55 (-1.4, 0.31) mL
PEF: -0.06 (-0.32, 0.21) L/min
Per 1 ug/m®, 7-h postexposure
FEV:: 0.43 (-0.52, 1.4) mL
PEF: 0.15 (-0.05, 0.35) L/min

Correlation (r): -0.04
high-traffic, 0.7 seaside park
NOx

Copollutant models with: NA

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Table 5-12 (Continued): Epidemiologic studies of PM2z.5 and respiratory effects in healthy populations.

Study

Study Population

Exposure Assessment
Concentration in (ug/m*)

Single-Pollutant Association

95% Cl

PM2z.5 Copollutant Model
Results and Correlations

+tKubesch et al. (2015)
Barcelona, Spain

February-November
2011

n = 28, ages 18-60 yr
Bridge over high-traffic road,
marketplace

One time each, with exercise and

Outcomes 0, 3, 6 h after

Personal ambient

2-h avg

Mean, 95th

High-traffic: 80.8, 88.6
Marketplace: 30.0, 37.7

Per IQR (NR)
FEV;: 0.00 (-0.02, 0.02) mL
FEF 25-75: -0.05 (-0.11, 0) mL
eNO: 0.40 (-0.53, 1.3) ppb

Correlation (r): 0.91 NOx
Copollutant models with: NA

Fan et al. (2008
Patterson, NJ
February-May 2005

n = 11, mean (SD) age 61 (14) yr
Crossing guards at work

Three work shifts, 27 observations
Outcomes 0 h after

Personal ambient

Mean (SD), max difference
from 24-h avg

1-h avg: 35.2, 87
1-h max: 71.3, 278

Increment NR

FEV), 1-h avg: 20 (-58, 98) mL
FEV, 1-h max: -130 (-287, 27) mL

Correlation (rn): NA
Copollutant models with: NA

General Community Exposures

Holguin et al. (2007)
Ciudad Juarez, Mexico
2002-2003

n = 99, ages 6-12 yr
Biweekly measures for 4 mo

Outdoor school

Children live 0.2-0.7 km
away

24-h avg
Mean: 17.5

No quantitative results

Correlation (r): 0.30 NO2,
0.49 EC

Copollutant models with: NA

+Carlsen et al. (2016)

Umea, Vasterbotten,
Sweden

April-June 2011

n= 95, ages 11-12 yr
Two measures/week for 2 mo
973 observations

Monitors within 1.5 km of
schools

24-h avg
Mean: 5.6
Max: 16.7

Per 10 pg/m?

eNO (ppb)

Lag 0: 1.9 (-5.8, 10)
Lag 0-1: 5.4 (-3.1, 13)

Correlation (r): 0.04
PMio-2.5, 0.36 NO2, 0.42 O3

Copollutant models with: NA

+Jacobson et al. (2012)
Alta Floresta, Brazil
August-December 2006

n = 224, ages 8-15 yr
Daily measures for 4 mo

School outdoor

24-h avg, 6-h avg
(12-6 a.m.), 12-h avg
(12 a.m.-noon)

Mean, 90th for 24-h avg
24.4, 44.1

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Per 10 pg/ms
PEF (L/min)

24-h avg: -0.38 (-0.63, -0.13)

6-h avg: -0.36 (-0.66, -0.06)
12-h avg: -0.31 (-0.65, 0.02)

Correlation (nr): NA
Copollutant models with: NA

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Table 5-12 (Continued): Epidemiologic studies of PM2z.5 and respiratory effects in healthy populations.

Exposure Assessment Single-Pollutant Association PM2z.5 Copollutant Model

Study Study Population Concentration in (ug/m*) 95% Cl Results and Correlations
+Prieto-Parra et al. n = 83, ages 6-14 yr One monitor OR per 10 ug/m%, lag 0-6 Correlation (nr): NA
2017 Daily measures for 3 mo Most children live within Cough: 1.22 (Cl NR) Copollutant models with:
Santiago, Chile Mean observations: 100 in yr 1, 3 km Three symptom index: 1.28 PMio, NO2, Os, SO2, K, Mo,
May-September 80 in yr 2 Mean: 30 Pb, S, Se, and V
2010-2011
tHong et al. (2010) n = 92, mean age = 9 (SD = 0.5) yr Monitors in city, number NR No quantitative results Correlation (r): NA
Seoul, South Korea Daily measures for 1 mo 24-h avg Copollutant models with: NA
May-June 2007 Mean: 36.2

avg = average; BC = black carbon; CC16 = club cell protein; C] = confidence interval; CO = carbon monoxide; EC = elemental carbon; eNO = exhaled nitric oxide; FEF 2s-75 = forced
expiratory flow between 25 and 75% of forced vital capacity; FEV, = forced expiratory volume in 1 second; FVC = forced vital capacity; h = hour(s); IL-6 = interleukin-6;

IQR = interquartile range; K = potassium; km = kilometer; L = liter; pg/m* = micrograms per cubic meter; min = minute(s); mL = milliliter; max = maximum; MMEF = maximum
midexpiratory flow; mo = month(s); Mo = molybdenum; n = sample size; NA = not available; NO2 = nitrogen dioxide; NOx = sum of NOz and nitric oxide; NR = not reported;

O3 = ozone; OC = organic carbon; OR = odds ratio; Pb = lead; PEF = peak expiratory flow; PM = particulate matter; PM2z5 = particulate matter with a nominal mean aerodynamic
diameter less than or equal to 2.5 um; PM,o-25 = particulate matter with a nominal mean aerodynamic diameter greater than 2.5 pm and less than or equal to 10 pm:

PM, = particulate matter with a nominal mean aerodynamic diameter less than or equal to 10 um; ppb = parts per billion; r= correlation coefficient; S = sulfur; SD = standard
deviation; Se = selenium; sec = second(s); SO2 = sulfur dioxide; UFP = ultrafine particles; V = vanadium; yr = year(s).

+Studies published since the 2009 PM ISA.

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5.1.7.2 Controlled Human Exposure Studies

Studies evaluated in the 2009 PM ISA (U.S. EPA, 2009) provided little evidence that exposure to
PM>.s results in decrements in lung function in healthy populations. Although Petrovic et al. (2000)

observed that a 2-hour exposure to PM2.s (92 g/m*) resulted in decreases in thoracic gas volume, other
measures of lung function (spirometry, diffusing capacity, airway resistance) were unaffected. No clear
effect of short-term exposure to PM2.s5 on lung function was demonstrated in several studies investigating
the exposure of healthy volunteers to PM2.s CAPs (Gong et al., 2003; Ghio et al., 2000; Gong et al., 2000)
or urban traffic particles. In a recent study, Huang et al. (2012) exposed healthy volunteers to PM2s CAPs

collected from Chapel Hill, NC. The authors reported no changes in multiple markers of lung function
(including FVC, FEV;, and FEF2s-7s) or in the marker for diffusion capacity DLCO at | and 18 hours
postexposure (study details in Table 5-13).

The 2009 PM ISA (U.S. EPA, 2009) provided limited evidence that exposure to PM2.s resulted in

subclinical or inflammatory effects in healthy populations. Ghio et al. (2000) reported an increase in

airway and alveolar neutrophils following exposure to PM2s CAPs. A follow-up analysis of Ghio et al.
(2000) determined the increase in BALF neutrophils was associated with the Fe, Se, and SO,’ content of
the particulate matter (Huang et al., 2003). Recently, the healthy population respiratory response to PM2.s
has been further examined by Behbod et al. (2013) and Huang et al. (2012). These studies involved
exposure to PM>; CAPs at either approximately 250 p.g/m* (Behbod et al., 2013) or 90 pg/m* for
approximately 2 hours [Huang et al. (2012); additional study details are in Table 5-13]. Multiple markers

of airway inflammation were measured. Behbod et al. (2013) reported that relative to filtered air, no

significant airway (sputum) responses were observed in subjects exposed to Toronto, Ontario PM>s
CAPs. Exposures to relatively lower levels of PM2s CAPs [approximately 90 g/m*; Huang et al. (2012)]

corroborated the effects seen in the higher exposure study (Behbod et al., 2013) in that the exposure to
Chapel Hill, NC PM2s CAPs had no effect on IL-6, IL-8, or al-antitrypsin in the bronchoalveolar lavage
of exposed healthy subjects, although changes in blood parameters were observed (see Section 6.1.11).

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Table 5-13 Study-specific details from controlled human exposure studies of
short-term PM2.5 exposure and respiratory effects in healthy
populations.

Exposure Details

Study Disease Status; (Concentration; Duration;
Study Design n; Sex; (Age) Comparison Group) Endpoints Measured
Behbod et al. (2013) Double-blind, Healthy 234.7 ug/m? PM2s CAPs, Sputum (pre- and 24-h
randomized nonsmokers; Toronto, ON. (IQR: postexposure): Total cell and

cross-over n= 35; 11M, 12 52.4 yg/m*) for 130 min neutrophil counts
block design F (18-60 yr) (120-min

exposure + 10 min to

complete tests) at rest.

Comparison groups were

either (1) filtered air or

(2) medical air; a minimum

2-week washout period

was used between

exposures.
Huang et al. (2012) Not Healthy 89.5 + 10.7 g/m? PM2s Lung function
specifically nonsmokers; CAPs or 73.4 + 9.9 g/m? BAL (18-h postexposure): IL-6
stated n=23;15M,8 PMzs CAPs + 0.5 ppm NOz |L-8, a1-antitrypsin, LDH,

F (20-36 yr) for 2 h, Chapel Hill, NC.
During exposure, subjects
completed four cycles of
15 min each rest or
exercise. Comparison
group was clean air.

differential leucocyte counts

BAL = bronchoalveolar lavage; CAPs = concentrated ambient particles; F = female; h = hour(s); IL-6 = interleukin-6;

IL-8 = interleukin-8; |OR = interquartile range; LDH = lactate dehydrogenase; M = male; pg/m*? = micrograms per cubic meter;
min = minute(s); n = number of subjects; NO2 = nitrogen dioxide; PM2.5 = particulate matter with a nominal mean aerodynamic
diameter less than or equal to 2.5 um; ppm = parts per million; yr = year(s).

5.1.7.3. Animal Toxicological Studies

5.1.7.3.1 Lung Function

The 2004 PM AQCD (U.S. EPA, 2004) and the 2009 PM ISA (U.S. EPA, 2009) reported several

animal toxicological studies that measured pulmonary function following single or multiday exposure to

PM25 CAPs. Decreased breathing frequency (or respiratory rate) was observed in dogs exposed to PM2.s
CAPs in Boston, MA by tracheostomy exposure (Godleski et al., 2000). In addition, a strong increase in

airway irritation, as indicated by decreases in end inspiratory pause and increases in end expiratory pause,
pause, and enhanced pause (Penh) was observed (Nikolov et al., 2008). Increased tidal volume was found
in rats exposed to PM2,s CAPs in Boston, MA (Clarke et al., 1999) but not in New York City, NY
(Gordon et al., 2000). Increases in inspiratory and expiratory times were not seen in Wistar Kyoto rats

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exposed to PM>.s CAPs in Research Triangle Park, NC (Kodavanti et al., 2005). Results of these studies,
showing changes in breathing frequency and depth of breathing, indicate that short-term PM2,s exposure

stimulated airway irritant responses by activating sensory nerves and local reflexes.

Recently, Diaz et al. (2013) evaluated the effects of exposure to PM>2.s roadway tunnel particles

on pulmonary function in Sprague-Dawley rats. A 2-day exposure to tunnel particles with gases removed
by a denuder resulted in increased rapid shallow breathing, as indicated by increased frequency and
decreased tidal volume, minute volume, inspiratory time, and expiratory time (p < 0.05). This breathing
pattern, as well as the observed decrease in expiratory flow at 50% (EFso; p = 0.01), provide evidence of
an irritative respiratory response. A 2-day exposure to a secondary organic aerosol formed from
photochemical oxidation of primary tunnel gases (SOA) resulted in increases in pauses, including Penh
(p < 0.05). A 4-day exposure to SOA decreased several parameters including frequency, tidal volume,
minute volume, EFso, and Vi, an indicator of respiratory drive (p < 0.05). A 4-day exposure to
photochemically aged primary particles plus SOA (P + SOA) produced the largest change in breathing
parameters including decreased volumes, flow, respiratory drive, and respiratory effort (p < 0.05). This
pattern is reflective of rapid shallow breathing and suggests an irritative respiratory response with an
additional effect at the thoracic level. Additional study details for this study, and other recent

toxicological studies, are found in Table 5-14.

The effect of social stress on pulmonary function was examined in older Sprague-Dawley rats
exposed to PM>.s CAPs in Boston, MA (Clougherty et al., 2010). In stressed animals, PM25s CAPs
exposure was associated with increased breathing frequency (p = 0.001), lower tidal volume (p = 0.001),
lower PEF (p = 0.003), and shorter times (p < 0.001), suggesting rapid shallow breathing. In unstressed
animals, PM2,; CAPs exposure was associated with increased PIF (p = 0.03) and greater MV (p = 0.05).

Effects on other pulmonary function parameters have been reported. Amatullah et al. (2012)

found that a 4-hour exposure of BALB/c mice to PM2.s CAPs in Toronto increased quasi-static elastance

of the lung (p < 0.05). Yoshizaki et al. (2017) examined sex-related differences in tracheal hyperreactivity

of BALB/c mice due to a multiday exposure to PM2.s CAPs in Sao Paulo, Brazil. Tracheal rings from
male mice that were exposed to PM2.s CAPs were hyporesponsive to methacholine, a bronchoconstrictor,
compared with tracheal rings from male mice exposed to ambient air (p < 0.05). Tracheal rings from
diestrus female mice that were exposed to PM25 CAPs responded similarly to methacholine as tracheal
rings from female mice exposed to ambient air. However, tracheal rings from estrus and proestrus female

mice were hyperresponsive to methacholine compared with air controls (p < 0.05).

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Table 5-14 Study-specific details from animal toxicological studies of short-term
PM2.5 exposure and respiratory effects in healthy animals.

Study/Study Population

Pollutant

Exposure

Endpoints

Amatullah etal. (2012
Species: mouse

Sex: female

Strain: BALB/c

Age/weight: 6-8 weeks,

18g

PMz2. CAPs Toronto
Particle size: PMo.15-2.5

Control: HEPA-filtered
air

Route: nose-only inhalation

Dose/concentration: PMo.15-2.5
254 ugims

Duration: 4h

Time to analysis: at end of
exposure

Modifier: baseline ECG

Pulmonary function
BALF cells

Aztatzi-Aquilar et al.
(2015)

Species: rat

Sex: male

Strain: Sprague-Dawley

PM2s CAPs Mexico
City

Particle size: PMas
Control: filtered air

Route: inhalation

Dose/concentration: PMz.s
178 ugims

Duration: acute 5 h/day,
3 days

Subchronic 5 h/day,
4 days/week, 8 weeks

Time to analysis: 24 h

Gene expression and protein
levels—lung tissue IL-6,
components of the RAS and
kallikrein-kinin endocrine
system-heme oxygenase-1

Budinger et al. (2011)
Species: mouse

Sex: male

Strain: C57BL/6

PM2.5 CAPs Chicago,
IL

Particle size: PMas
Control: filtered

Route: whole-body inhalation

Dose/concentration:
88.5 + 13.4 g/m?

Duration: 8 h/day for 3 days

BALF and lung tissue-protein
level and gene expression of
inflammatory mediators

Plasma—biomarkers of

i i coagulation
wild type and IL-6 ambient alr
knockouts
Age/weight: 8-12 weeks
Chiarella et al. (2014) PM25 CAPs Chicago, Route: whole-body inhalation BALF and lung tissue—IL-6,
IL norepinephrine

Species: mouse
Sex: male
Strain: C57BL/6

wild type and AdrB
knockouts

Age/weight: 8-12 weeks

Particle size: PMas

Control: filtered
ambient air

Dose/concentration:
109.1 + 6.1 yg/m>

Duration: 8 h/day for 3 days

Brown adipose
tissue—norepinephrine

Clougherty et al. (2010)

Species: rat
Sex: male
Age/weight: 12 weeks

PMz2s5 CAPs Boston,
MA

Particle size:
PM#s2.5 um

Control: filtered air

Route: whole-body inhalation

Dose/concentration:
374 ug/ms

With large variance
Duration: 10 days, 5 h/day

Time to analysis: respiratory
data was collected during
exposure at 10 min. intervals
using Buxco

Coexposure: stress

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Pulmonary function
« Peak inspiratory flow
e Minute volume
e Breathing frequency
e Inspiratory time
e  Expiratory time
e  Expiratory flows
« §=6 Tidal volume

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Table 5-14 (Continued): Study-specific details from animal toxicologic studies of
short-term PMz.5 exposure and respiratory effects in
healthy animals.

Study/Study Population Pollutant

Exposure

Endpoints

Diaz et al. (2013
Species: rat

Sex: male

Strain: Sprague-Dawley
Age/weight: 250-300 g

Roadway tunnel
particles (gases
removed by denuder)

Primary particles (P)
Primary particles and
secondary aerosol
(P-SOA)

Secondary organic
aerosol (SOA)

Particle size:
PM <2.5 um
Control: filtered air

(oxidizable gases,
VOC and particles

Route: whole-body Inhalation

Dose/concentration:
P—47.5 ug/m?

P + SOA—50 pg/ms
SOA—48.7 g/m?

Duration: 2-4 days, 5 h/day
Time to analysis: 24 or 48h

Coexposure:

NO: P—71.2 ppb
P + SOA—2.1 ppb
SOA—27.1 ppb

NOx: P—92.6 ppb
P + SOA—37.5 ppb

BALF cells

Lung function
e Tidal volume
« Minute volume
e Expiratory time
e Inspiratory time

e Expiratory flow at
50% (flow)

« Pause

e Enhanced pause

e End expiratory pause
e End inspiratory pause

removed) SOA—56.9 ppb ¢ Peak of inspiratory
, flow
e Inspiratory time
Kim et al. (2016b DEP (NIST SRM) Route: inhalation Middle ear: gene expression
Species: mouse Particle size: not Dose/concentration: 2 mg/m? Microarray and pathway
Sex: male reported Duration: 1 h/day for 5 days analyse

Strain: BALB/c
Age/weight: 6-10 weeks

Time to analysis: 9 days

Mauderly et al. (2011)
Species: Mouse

Sex: male and female
Strain: C57BL/8, A/J,

Simulated coal
emissions low,
medium, high doses
and high-dose filtered
groups

BALB/c Particle size: not
Age/weight: 10-13 weeks reported in this
(C57BL/6) publication. Likely

PM <2.5
Control: clean air

5-8 weeks (A/J)

3 weeks gestation,
4 weeks after birth
(BALB/c)

Species: Rat

Sex: male and female
Strain: F344
Age/weight: 7-9 weeks

Route: whole-body Inhalation

Dose/concentration: 1,000,
300, 100 g/m?

Duration: 6 mo or 1 week,
7 days/week, 6 h/day

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BALF cells/cytokines (F344
rats)

e MIP-2
e Leukocytes

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Table 5-14 (Continued): Study-specific details from animal toxicologic studies of
short-term PMz.5 exposure and respiratory effects in
healthy animals.

Study/Study Population Pollutant Exposure Endpoints
Plummer et al. (2012) PM2.5 CAPs from Route: whole-body inhalation BALF cells

Species: mouse Fresno, CA, (F, urban) Dose/concentration: Lung tissue

Sexe male or Westside (W, rural) — F/summer 284 jg/m®, Cytokine/chemokine

locations in California, F/winter 156 ug/m, Histopathology—tung

Strain: CS/7BL/6 in two seasons W/summer 126 pg/m’,
Age/weight: 12-14 weeks, (summer, winter) Wiwinter 86 pg/m?
25-30 g Particle size: PM2.s Duration: 6 h/day for 10 days
Control: ambient air Time to analysis: 48 h

Note: composition of PMas

CAPs defined for

organic/elemental carbon,

nitrate, sulfate, ammonia,

chloride
Rohr et al. (2010 PMz2.5 CAPs residential Route: whole-body inhalation BALF cells
Species: Rat urban Detroit, Ml Dose/concentration: Lung injury
Sex: Male Particle size: PMa.s 507 g/m? e _BALF protein content
Strain: SH Control: HEPA-filtered Duration of exposure: 8 h,
WKY clean air 13 consecutive days

Age/weight: 11-12 weeks Time.to anetyale. 25h

Tyler et al. (2016 DEP, resuspended Route: whole-body inhalation BALF cells and cytokines
Species: mouse Particle size: Dose/concentration: Particle uptake in bronchial
Strain: C57BL/6 1.5-3.0 um+1.3-1.6 315.3 + 50.7 pg/ms macrophages
Age/weight: 6-8 weeks Hm Duration: 6 h

Control: filtered air
Xu etal. (2013 PMz.5 CAPs Columbus, Route: whole-body inhalation Immunohistochemistry—lung
Species: mouse OH Dose/concentration: BALF cells—flow cytometry
Sex: male Particle size: PM25 143.8 g/m?
Strain: C57BL/6 Control: filtered air Duration: 6 h/day,

5 days/week, 5, 14, 21 days

Age/weight: 3 weeks .
Time to analysis: immediately

postexposure
Yoshizaki et al. (2016) PM2.s CAPs Sao Paulo, Route: whole-body Inhalation Gene expression and protein
Species: mouse Brazil Dose/concentration: levels—nasal epithelium AhR,
Sex: male and female Particle size: cumulative dose x time PMzs5; ©@Strogen receptor, cytochrome
Strain: BAl Bic PMo.1-2.5 ym 594 + 77 ug/ms P450 enzymes
Control: ambient air Duration: multiday Immunohistochemistry—nasal

Age/weight: 21 days epithelium mucus profile and

Coexposure: other ambient Mucus contant

pollutants and also PMio

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Table 5-14 (Continued): Study-specific details from animal toxicologic studies of
short-term PMz.5 exposure and respiratory effects in
healthy animals.

Study/Study Population Pollutant Exposure Endpoints

Yoshizaki et al. (2017) PM2.5 CAPs Sao Paulo, Route: whole-body Inhalation Ex vivo tracheal

Species: mouse Brazil Dose/concentration: rings—reactivity to

Sex: male and female Particle size: Cumulative dose = time methacholine

(diestrus, proestrus, and = PMo.1-25 pm PMz.5: 600 pg/m? BALF cells and cytokines
estrus) Control: ambient air Duration: multiday Lung immunohistochemistry
Strain: BALB/c Coexposure: other ambient

Age/weight: 21 days pollutants, PMio

AdrB = beta adrenergic receptor; AhR = aryl hydrocarbon receptor; BALF = bronchoalveolar lavage fluid; CAPs = concentrated
ambient particles; DEP = diesel exhaust particles; ECG = electrocardiogram; F = urban: g = gram; h = hour(s);

HEPA = high-efficiency particulate air; IL-6 = interleukin-6; mg = milligram; g/m? = micrograms per cubic meter; min = minute(s);
MIP-2 = macrophage inflammatory protein-2; um = micrometer; mo = month(s); NIST SRM = National Institute of Standards and
Technology Standard Reference Material; NO = nitric oxide; NOx = oxides of nitrogen; P = primary particles; P-SOA = primary
particles plus secondary organic aerosol; PM = particulate matter; PMo1-2.5 = particulate matter with a nominal mean aerodynamic
diameter less than 2.5 um and greater than or equal to 0.1 um; PMo 15-25 = particulate matter with a nominal mean aerodynamic
diameter less than 2.5 um and greater than or equal to 0.15 pm; ; PMz2s = particulate matter with a nominal mean aerodynamic
diameter less than or equal to 2.5 um; PMio = particulate matter with a nominal mean aerodynamic diameter less than or equal to
10 um; ppb = parts per billion; RAS = renin-angiotensin system; SH = spontaneously hypertensive; SOA = secondary organic
aerosol; VOC = volatile organic carbon; W = rural; WKY = Wistar Kyoto.

5.1.7.3.2 Respiratory Tract Injury

As described in the 2009 PM ISA (U.S. EPA, 2009), several studies examined injury and altered

lung barrier/secretory function in response to single or multiday exposure to PM2s CAPs. While increased

BALF protein and lung water content were observed in rats exposed to PM2s CAPs in Boston, MA
(Gurgueira et al., 2002; Clarke et al., 1999), injury indices were not observed in rats exposed to PM2s
CAPs in New York City, NY and Research Triangle Park, NC (Gordon et al., 2000; Kodavanti et al.,
2000). Recently, Rohr et al. (2010) exposed Wistar Kyoto rats to residential urban PM2s5 CAPs in Detroit,
MI for 13 days and found increased BALF protein content (p < 0.05). Indices of injury (BALF protein
and LDH activity) were not increased by any exposure to San Joaquin Valley, CA PM2s CAPs despite

evidence of inflammation (Plummer et al., 2012). Additional study details are found in Table 5-14.

5.1.7.3.3 Respiratory Tract Oxidative Stress

As described in the 2009 PM ISA (U.S. EPA, 2009), several studies examined oxidative stress in

response to PM2.s exposure. Increased lung chemiluminescence, activities of manganese superoxide

dismutase (MnSOD) and catalase, thiobarbituric acid reactive substances (TBARS), and protein carbonyl
content were reported in rats exposed to PM2s CAPs in Boston, MA (Rhoden et al., 2004; Gurgueira et
al., 2002). Pretreatment with the thiol antioxidant N-acetylcysteine blocked PM-mediated oxidative stress

in Rhoden et al. (2004). In a recent study, tissue heme oxygenase-| activity, an index of oxidative stress,

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was not increased by any exposure to San Joaquin Valley, CA PM2s5 CAPs (Plummer et al., 2012) despite
evidence of inflammation (Table 5-14).

5.1.7.3.4 Respiratory Tract Inflammation

The 2004 PM AQCD (U.S. EPA, 2004) and 2009 PM ISA (U.S. EPA, 2009) reported several

studies that examined the effect of single and multiday exposure to PM2s on inflammation. Exposure to

PM:>.s CAPS in Boston, MA resulted in increased BALF neutrophils in dogs [exposed by tracheostomy;
Godleski et al. (2000)] and increases in BALF neutrophils and lymphocytes in rats (Rhoden et al., 2004;
Saldiva et al., 2002; Clarke et al., 1999), while BALF macrophages were decreased (Clarke et al., 1999).
Godleski et al. (2002) found concentration-dependent increases in numbers of BALF neutrophils and

increases in gene expression of inflammatory mediators following exposure to PM>,s; CAPs in Boston,
MA. Increases in BALF total cells, neutrophils, and macrophages were also seen in rats exposed to PM2.s
CAPs from Fresno, CA (Smith et al., 2003). Exposure of rats to PM2,s CAPs in New York City, NY

resulted in increased lavageable cells in one study (Zelikoff et al., 2003) and no increases in inflammatory

cells in another (Gordon et al., 2000). Similarly, exposure to PM2s CAPs in Research Triangle Park, NC
had disparate effects in different studies (Kodavanti et al., 2005; Kodavanti et al., 2000). Other studies

investigated the effects of exposure to traffic-related air pollution, such as whole DE or GE or on-road

highway aerosols, on pulmonary inflammation. However, these studies did not distinguish between the

effects of the gaseous or particulate parts of the mixture.

Similarly, recent studies do not consistently show inflammation following inhalation exposure to
PM25. Amatullah et al. (2012) found no changes in BALF inflammatory cells immediately following a
4-hour exposure of BALB/c mice to PM2s CAPs in Toronto (Table 5-14). No increases in BALF
inflammatory cells were found in Wistar Kyoto rats exposed for 13 days to PM2s CAPs in Detroit, MI

despite an increase in BALF protein, an index of lung injury (Rohr et al., 2010). In contrast, increases in

lung tissue and BALF IL-6 were observed following multiday exposure of C57BL/6 mice to PM25 CAPs
in Chicago, IL (Chiarella et al., 2014; Budinger et al., 2011) and Mexico City (Aztatzi-Aguilar et al.,
2015). Budinger et al. (2011) also reported increases in BALF MCP-1 and TNF-a. In IL-6 knockout mice,

short-term PM>2.s exposure failed to increase IL-6 levels, while the other two mediators were unaffected.

In addition, upregulation of the IL-6 target genes surfactant protein B and tissue factor in lung tissue and
thrombin-antithrombin complex in plasma was observed in wild type, but not in IL-6 knockout mice.
These results demonstrate the involvement of lung IL-6 in mediating systemic increases in
thrombin-antithrombin complex, a key mediator of thrombosis. Furthermore, increased numbers of
neutrophils in the BALF were found in C57BL/6 mice exposed for 10 days to PM2,s CAPs in California
[p < 0.05; Plummer et al. (2012)]. In this latter study, PM2s CAPs were collected during two seasons

(summer and winter) from an urban (Fresno, CA) and a rural site (Westside) near Fresno, CA. While
BALF neutrophils were increased in mice exposed to Westside summer and Westside winter PM2,s CAPs

(p < 0.05), levels of KC, MCP-1, and IFN-y were decreased in lung tissue from mice exposed to Fresno,

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CA summer PM2.5 CAPs (p < 0.05). This study demonstrates that urban and rural sites within the same
airshed and season can have PM with differing ability to produce inflammation.

Xu et al. (2013) conducted a time course study of pulmonary inflammation in CS7BL/6 mice
exposed for 5, 14, and 21 days to PM2s CAPs in Columbus, OH. No increases in numbers of
macrophages or neutrophils were found in BALF. However, immunohistochemically staining of lung
tissue showed increases in macrophages (using F4/80 + as the marker) at the three time points (p < 0.05),
peaking at 5 days. No increases in neutrophils (using NIMPR14 as the marker) were seen in lung tissue.
This study is unique in demonstrating early recruitment of macrophages to lung tissue in the absence of

neutrophils and is indicative of innate immune system activation.

Other studies examined the effects of source-related PM25 on pulmonary inflammation. Tyler et
al. (2016) exposed C57BL/6 mice to resuspended DEP for 6 hours and found no increase in inflammatory
cells or cytokines in the BALF and no increase in particle uptake in bronchial macrophages, despite

inflammation in the hippocampus (Section 8.1.3). Diaz et al. (2013) exposed Sprague-Dawley rats to

three kinds of PM2,.s—primary particles that were obtained directly from a tunnel with roadway gases
removed by a denuder (P), secondary organic aerosols formed from photochemical oxidation of the
primary tunnel gases (SOA), and photochemically aged primary particles plus SOA (P + SOA).
Lymphocytes in BALF increased following 1-day exposure to P (p < 0.05) and 2-day exposure to

P+ SOA (p < 0.07), while neutrophils in BALF increased after 2-day exposure to SOA (p < 0.01) and

P + SOA (p < 0.05). Mauderly et al. (2011) exposed mice and rats for 1 week to simulated coal emissions
with and without the addition of a particle filter. The increase in MIP-2 seen in the BALF of F344

(p < 0.05) was prevented by filtration, indicating that the particulate part of the mixture had a role in the

pro-inflammatory response.

Two of the aforementioned studies investigated the relationship between pulmonary inflammation
and neurohumoral or endocrine pathways. Chiarella et al. (2014) evaluated the role of the SNS in

modulating inflammation following exposure to PM25 using knockout mice lacking the B2-adrenergic
receptor, specifically on macrophages. While wild type C57BL/6 mice exposed for several days to PM2.s
CAPs in Chicago, IL had increased IL-6 mRNA and protein in BALF (p < 0.05), knockout mice had a
greatly diminished response (p < 0.05). This finding implicates agonists of the B2-adrenergic receptor
(i.e., catecholamines) as partly responsible for the effects of PM>.s on IL-6 through the stimulation of
B2-adrenergic receptors on lung macrophages. Supporting evidence was provided by the finding that
treatment with an agonist of the B2-adrenergic receptor enhanced IL-6 levels in the BALF of wild type
mice exposed to PM2s (p < 0.05). Additionally, levels of the catecholamine norepinephrine were
increased in BALF and brown adipose tissue following PM2,.s exposure (p < 0.05), indicative of increased
sympathetic tone. Taken together, the results of this study provide evidence that exposure to PM2s
activates the sympathetic nervous system, which enhances the release of IL-6 from lung macrophages.
This study also examined the downstream effects of macrophage-derived IL-6 on thrombosis (see
Section 6.1.12).

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Aztatzi-Aguilar et al. (2015) evaluated the RAS and kallikrein-kinin endocrine system in the lung
in Sprague-Dawley rats exposed for several days to PM>.s CAPs in Mexico City. Increased protein
expression of IL-6 in lung tissue (p < 0.05) was accompanied by increased expression of the angiotensin I
receptor gene, reduced angiotensin I receptor protein levels, and increased angiotensin-converting enzyme
mRNA levels (p < 0.05). Protein levels of angiotensin converting enzyme and mRNA levels of
angiotensin II receptor mRNA were not affected. In addition, PM2.s CAPs exposure resulted in increased
mRNA levels for kallikrein-1 enzyme (p < 0.05). Kallikrein-1 is a serine protease enzyme required to
produce kinin peptides, which are necessary to activate bradykinin receptors. The RAS mediates
vasoconstriction and vascular oxidative stress and inflammation and is counterbalanced by the
kallikrein-kinin endocrine system via bradykinin-mediated production of nitric oxide, an important
vasodilator. The SNS is known to regulate the endocrine systems. Although not specifically examined in
this study, PM>.s exposure-mediated activation of the SNS activation may link PM2.s exposure and the
RAS.

§.1.7.3.5 Morphology

As described in the 2009 PM ISA (U.S. EPA, 2009), several studies found that exposure to PM>s
CAPs in Boston, MA resulted in mild morphological changes in the lung including hyperplasia of the
terminal bronchiolar and alveolar ductal epithelium and pulmonary arteriolar edema (Rhoden et al., 2004;
Batalha et al., 2002; Saldiva et al., 2002). Recently, Yoshizaki et al. (2016) evaluated the effects of
multiday exposure to Sao Paulo, Brazil PM2,s CAPs on nasal epithelium in male and female BALB/c

mice. The influence of estrus cycle in females was also determined. PM2.s CAPs exposure resulted in an
increase in acidic mucus content in males and a decrease in acidic mucus content in females (p < 0.05;
Table 5-14). PM2.s CAPs exposure had no effect on neutral mucus content in either male or female mice.
In addition, estrus cycle had no effect on mucus content or response to PM2,s CAPs exposure.
Upregulation of message and protein levels of estrogen, aryl hydrocarbon receptors, and cytochrome
P450 proteins was examined in nasal epithelium. PMs CAPs exposure resulted in decreased mRNA
levels of estrogen receptor B2 and cytochrome p450 1b1 in female mice (p < 0.01), Female rats in
diestrus, but not estrus or proestrus, exhibited decreased mRNA levels of estrogen receptor B2,
cytochrome p450 1b1, and cytochrome p450 1a2 (p < 0.05). Estrogen receptor protein levels were
decreased in nasal epithelium and aryl hydrocarbon receptor protein levels were increased in submucosal
gland by PM2s CAPs exposure in female mice (p < 0.05). Only female rats in estrus (not diestrus or

proestrus) exhibited these changes (p < 0.05).

5.1.7.3.6 Allergic Sensitization

The 2009 PM ISA (U.S. EPA, 2009) described numerous studies demonstrating the adjuvant

potential of PM. While most of these studies involved intra-nasal or other noninhalation routes of

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exposure, one inhalation study demonstrated a strong adjuvant effect of PM (Whitekus et al., 2002). In
this study, mice were exposed to resuspended DEP and subsequently challenged with OVA.
OVA-specific IgG1 and IgE were enhanced by DEP exposure in the absence of general markers of
inflammation. This effect, as well as DEP-mediated lipid peroxidation and protein oxidation, was blocked
by pretreatment with the thiol antioxidants N-acetylcysteine and bucillamine. These results indicate that
oxidative stress plays a role in DEP-mediated allergic sensitization. Recent studies that have become
available since the last review, while supportive of the adjuvant potential of PM2s, involve noninhalation

routes of exposure (i.e., subcutaneous, intraperitoneal, and oropharyngeal aspiration).

§.1.7.3.7 Pathways Related to Otitis Media

Kim et al. (2016b) conducted a transcriptomic analysis in the middle ear following exposure to
DEP (Table 5-14). BALB/c mice were exposed to resuspended DEP for several days and gene expression
microarray and pathway analysis were performed on tissue collected 9 days later. In the middle ear,

numerous genes were upregulated or downregulated because of DEP exposure. Pathway analysis
identified several of these genes as potential biomarkers for DEP-related otitis media including
cholinergic receptor muscarinic 1, erythropoietin, son of sevenless homolog 1, estrogen receptor 1, cluster

of differentiation 4, and interferon « 1.

5.1.7.4 Summary of Respiratory Effects in Healthy Populations

Similar to results described in the 2009 PM ISA (U.S. EPA, 2009), evaluation of the current
epidemiologic evidence indicates that short-term PM>.s5 exposures are inconsistently related to respiratory

effects in healthy adults. Where there is supporting evidence, changes tend to be transient, and
confounding by copollutants is inadequately examined. For general community daily average exposures,
there is some consistent epidemiologic evidence for PM2.s-related respiratory effects in healthy children,
but the evidence is limited in number for any one particular endpoint. In addition to the limited supporting
evidence, uncertainties remain as to whether short-term PM2.s exposure leads to overt and persistent
respiratory effects in healthy populations or is related to such effects across a wide range of PM2s

concentrations.

Controlled human exposure and animal toxicological studies also examined pulmonary function
and inflammation responses to short-term exposure to PM25 CAPs. While evidence from controlled
human exposure studies was inconsistent, animal toxicological studies clearly demonstrated changes in
pulmonary function and inflammation. Recent evidence supports the previously observed involvement of
airway irritant responses in mediating the changes in respiratory function, such as rapid shallow
breathing, seen following exposure to PM2s5. BALF cellular infiltrates are commonly found following

exposure to PM>5 and appear to primarily involve recruitment of macrophages and neutrophils into the

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airways. In addition, several studies implicate changes in various cytokines in BALF and lung tissue.
Increases in numbers of specific macrophages in lung tissue provides evidence for the activation of innate
immunity over several days to several weeks. Pulmonary injury and oxidative stress responses were
inconsistent. However, a study evaluated in the 2009 PM ISA demonstrated oxidative stress-mediated
allergic sensitization due to inhalation of PM>.s. Different regions of the respiratory tract are affected by
short-term PM>2.s exposure with morphologic changes observed in the terminal bronchiolar and alveolar
regions and changes in mucus profile found in in nasal epithelium. A mechanistic study shows
involvement of the SNS in augmenting macrophage-mediated inflammatory effects following exposure to
PM; s. In addition, the RAS and kallikrein-kinin endocrine system in the lung were affected by short-term
exposure to PM25.

Variability in results observed in controlled human exposure and animal toxicological studies
could be due to the time points assessed (too long after exposure), the nature of the exposures (dose,
particle composition), the sensitivity of the model (species, strain, age, predisposing factors) and the
sensitivity of the measurements used. When PM» CAPs are used, the composition of the PM, which is
related to source and season, could add to this variability. Finally, whether the exposure was a single time
or repeated could have a large effect. Repeated exposures, even those less than 30 days, may trigger
adaptive physiologic and cellular responses that are not present for very short-term single exposure

studies, such as single acute exposures.

5.1.8 Respiratory Effects in Populations with Cardiovascular Disease

Given the prevalence of cardiovascular disease in the general population and the
interrelationships between the cardiovascular and respiratory systems, numerous animal toxicological
studies have been conducted in animal models of cardiovascular disease. Many of these studies were
evaluated in the 2004 PM AQCD and the 2009 PM ISA (U.S. EPA, 2009). Pulmonary function responses
were examined following single and multiday exposure of hypertensive rats to PM»; CAPs from New
York, NY, Research Triangle Park, NC, Taiwan, and Boston, MA (Kodavanti et al., 2005; Lei et al.,
2004; Nadziejko et al., 2002; Godleski et al., 2000). Alterations in tidal volume and breathing frequency

were found, indicating the involvement of airway irritant receptors and the triggering of local reflexes in

the response to short-term PM2 exposure. Multiday exposure of spontaneously hypertensive (SH) rats to
PM2>.s CAPs in the Netherlands altered levels of BALF CC16 in a concentration-dependent manner
(Kooter et al., 2006). CC16 is a secretory product of nonciliated bronchiolar club cells and is a marker of

injury and thought to contribute to the control of inflammation. However, there was no evidence of
pulmonary injury (as assessed by BALF LDH levels) in this study or in another study involving PMs
CAPs in Research Triangle Park, NC (Kodavanti et al., 2005). Kooter et al. (2006) also found that a
multiday exposure of SH rats to PM2.5 CAPs in the Netherlands increased levels of heme oxygenase-1, an

indicator of oxidative stress. Several studies in hypertensive rats evaluated pulmonary inflammation
following exposure to PM2.s CAPs. While some studies found increased numbers of inflammatory cells in

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BALF [and even a correlation between PM2.s CAPs concentrations and numbers of neutrophils (Cassee et
al., 2005; Lei et al., 2004)], others did not (Kooter et al., 2006; Kodavanti et al., 2005). Campen et al.
(2006) found a concentration-dependent effect on inflammation in PM2s-exposed ApoE knockout mice, a

model of atherosclerosis.

A few recent studies add to this evidence base (Table 5-15). Rohr et al. (2010) exposed SH rats to
PM2.5 CAPs in Detroit, MI and found no evidence of lung injury as assessed by BALF protein levels.

Farraj et al. (2015) studied the effect of a 4-hour exposure of SH rats to PM>s CAPs in two seasons,

summer and winter, in Research Triangle Park, NC. Activities of LDH, glutathione S transferase, and
CuZn SOD, indicators of injury and oxidative stress, were decreased by exposure to summer PM2,s CAPs
but not winter PM»; CAPs (p < 0.05). PM25 CAPs concentration was higher in summer than in winter,
but metal exposure concentrations were roughly equivalent. Concomitant exposure to 200 ppb O3
appeared to have little additional effect on these parameters. No effects on inflammation were found by
Rohr et al. (2010) or Farraj et al. (2015). Furthermore, Tyler et al. (2016) conducted an inhalation

exposure of ApoE knockout mice to resuspended DEP and found no increase in inflammatory cells or

cytokines in the BALF and no increase in particle uptake in bronchial macrophages, despite inflammatory
effects in the hippocampus (Section 8.1.3). Overall, short-term PM>.s exposure results in pulmonary
effects in some studies but not others. Among the respiratory endpoints, the most consistent evidence is

for changes in pulmonary function.

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Table 5-15 Study-specific details from animal toxicological studies of short-term
PM2.5 exposure and respiratory effects in models of cardiovascular

disease.
Study/Study Population Pollutant Exposure Endpoints
Farraj et al. (2015) PM2.s CAPs Route: whole-body inhalation Lung injury—BALF LDH

Species: rat

Sex: male

Strain: SH
Age/weight: 12 weeks

Research Triangle
Park, NC

Particle size: 324 nm
summer, 125 nm
winter

Control: filtered air

Dose/concentration:
85-170 g/m?

Duration: 4h
Time to analysis: 24 h

Modifier: telemeter implanted,

summer and winter

activity
Inflammation—BALF cells
BALF antioxidant

enzymes—GST and CuZn
SoD

Rohr et al. (2010

Species: rat

Sex: male

Strain: SH

WKY

Age/weight: 11-12 weeks

PM2s5 CAPs
residential urban
Detroit, Ml

Particle sizes: PMas

Route: whole-body inhalation

Dose/concentration:
507 yg/m?

Duration of exposure: 8 h,
13 consecutive days

Time to analysis: 24 h

BALF cells
Lung injury

«  BALF protein
content

Tyler et al. (2016
Species: mouse
Strain: ApoE knockout
Age/weight: 6-8 weeks

DEP, resuspended

Particle size:
1.5-3.0 + 1.3-1.6 um

Control: filtered air

Route: whole-body inhalation

Dose/concentration:
300 pg/m®

Duration: 6h

BALF cells and cytokines

Particle uptake in bronchial
macrophages

ApoE = apolipoprotein E; BALF = bronchoalveolar lavage fluid; CAPs = concentrated ambient particles; CuZn SOD = copper, zinc
superoxide dismutase; DEP = diesel exhaust particles; GST = glutathione S transferase; h = hour(s); LDH = lactate
dehydrogenase; yg/m? = micrograms per cubic meter; nm = nanometer; PM2.5 = particulate matter with a nominal mean
aerodynamic diameter less than or equal to 2.5 um; SH = spontaneously hypertensive; WKY = Wistar Kyoto.

5.1.9

Respiratory Mortality

Studies that examine the association between short-term PM2.s exposure and cause-specific

mortality outcomes, such as respiratory mortality, provide additional evidence for PM2s-related

respiratory effects, specifically, whether there is evidence of an overall continuum of effects. The

multicity epidemiologic studies evaluated in the 2009 PM ISA provided evidence of consistent positive

associations, ranging from 1.0—2.2% for a 10-1g/m* increase in 24-hour avg PMs concentrations,

between short-term PM>.s exposure and respiratory mortality (U.S. EPA, 2009). However, compared with

associations between short-term PMz2,s exposure and cardiovascular and total (nonaccidental) mortality,

confidence intervals were larger because respiratory mortality comprises a smaller percentage of all

mortalities. Across studies, the PM2\s effect on respiratory mortality was observed to be immediate, with

associations occurring in the range of lag 0 to 2 day(s). A limitation within the evidence was that

multicity studies did not extensively examine potential copollutant confounding, but evidence from

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single-city studies suggested that the PM>,s-respiratory mortality relationship was not confounded by
gaseous copollutants. Additionally, there was limited coherence across epidemiologic and controlled
human exposure studies, further complicating the interpretation of the associations observed for

short-term PM>.s exposure and respiratory mortality.

Recent multicity epidemiologic studies along with meta-analyses provide additional evidence of
generally consistent positive associations between short-term PM: exposure and respiratory mortality
(Figure 11-2). In addition to providing evidence that supports the immediate timing of respiratory
mortality effects (i.e., lag 0 to 1 days), some recent studies also provide initial evidence that respiratory
mortality effects from short-term PM2.5 exposure may be more prolonged (i-e., lags >2 days). Unlike the
studies evaluated in the 2009 PM ISA (U.S. EPA, 2009), some recent studies have also further evaluated
the PM>s-respiratory mortality relationship by examining cause-specific respiratory mortality outcomes
[i.e., COPD, pneumonia, and LRTI; Janssen et al. (2013) and Samoli et al. (2014)]. Overall, the results

reported in the studies that examine cause-specific respiratory mortality outcomes are generally consistent

with the results for all respiratory mortality, but the smaller number of mortality events observed results

in unstable estimates with larger uncertainty.

Evidence to further characterize the PM>s-respiratory mortality relationship is also provided by
recent epidemiologic studies. Overall, these studies continue to support a relationship between PM>:s and
respiratory mortality and provide additional evidence that: (1) gaseous pollutants do not confound the
PM>s-respiratory mortality relationship; (2) PM2s effects on respiratory mortality may not be limited to
the first few days after exposure; (3) the magnitude of the association tends to be largest during warmer
months; and (4) there is inconsistent evidence that temperature extremes modify associations between

short-term PM>2s exposure and respiratory mortality (see Section 5.1.10).

5.1.10 Policy-Relevant Considerations

Epidemiologic studies that examined short-term PM2s5 exposure and respiratory-related effects
often conduct additional analyses to assess whether the associations observed are due to chance,
confounding, or other biases. Within this section, evidence is evaluated across epidemiologic studies to
further assess the association between short-term PM2.s exposure and respiratory-related effects, focusing
specifically on those analyses that address policy-relevant issues, including copollutant confounding
(Section 5.1.10.1), model specification (Section 5.1.10.2), lag structure (Section 5.1.10.3), the role of
season and temperature on PM>s associations (Section 5.1.10.4), averaging time of PM>2,.s concentrations
(Section 5.1.10.5), and C-R and threshold analyses (Section 5.1.10.6). The studies that attempt to address
these issues are primarily epidemiologic studies that conducted time-series or case-crossover analyses
focusing on respiratory-related ED visits and hospital admissions and respiratory mortality. Studies

examining additional endpoints, such as subclinical markers of a PM-related respiratory effect (e.g., lung

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function, inflammation, etc.), may also address some of these issues, but are not the focus of this

evaluation.

5.1.10.1 Examination of Potential Copollutant Confounding

The potential confounding effect of copollutants is a previously identified source of uncertainty in
examining the relationship between short-term PM2.s exposure and respiratory effects, and thus requires
careful consideration particularly with respect to whether the magnitude and direction of PM2.s risk
estimates change in copollutant models. Compared with the evidence available at the completion of the
2009 PM ISA, many recent studies conducted analyses to assess whether the relationship between
short-term PM>2.s exposures and respiratory-related effects, specifically hospital admissions, ED visits, and
respiratory mortality, are confounded by copollutants. Recent studies have examined the potential for
copollutant confounding by evaluating copollutant models that include O3 (Figure 5-9), NO: (Figure
5-10), SO2 (Figure 5-11), CO (Figure 5-12), and PMio-2.s (Figure 5-13). These recent studies address a

previously identified data gap by providing information on the extent to which effects associated with

exposure to PM25 are independent of coexposures to correlated copollutants. Generally, these studies
indicate that the association between short-term PM>.s exposures and respiratory health outcomes is robust
to the inclusion of copollutants in a statistical model. This evidence provides support for an independent

association between PM>.s concentrations and respiratory-related effects.

Building off studies evaluated in the 2009 PM ISA, recent studies that examined the potential
confounding effects of O03 on associations between short-term PM2.s exposure and respiratory-related
outcomes continue to report correlations between O3 and PM>s ranging from low (<0.4) to high (+0.7).
Across the respiratory-related outcomes examined, where positive associations with PM2s were reported
in single-pollutant models, associations were often attenuated in copollutant models, but remained
positive. The most extensive evaluation of potential copollutant confounding was for studies focusing on
asthma hospital admissions and ED visits, for which recent studies report results that are consistent with
those observed in studies evaluated in the 2009 PM ISA (Figure 5-9). Additionally, recent evidence
provides additional support for positive PM2,s associations with hospital admissions and ED visits for all
respiratory diseases as well as initial evidence indicating that PM2.s associations with respiratory mortality
are relatively unchanged in copollutant models with O3. Although panel studies infrequently reported
results from copollutant models, adverse associations reported across several endpoints were generally
persistent, albeit attenuated in some copollutant models with O3. Individual panel study results from
copollutant models with O3 are discussed within the relevant endpoint sections (Section 5.1.2.2,

Section 5.1.2.3, and Section 5.1.7.1).

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Study

Burnett etal (1997}a
Thurston et al. (1994)
+Staffogia et al. (2013)

?Werhenthal etal. (2016)

{Zhao et al. (2017)

tSiverman etal (2010)a

7Silverman etal (2010)a

ATSDR (2006)a
ATSDR (2006)a
Tto et al. (2007}a
Paula etal. (2008)a

+Samat etal (2015)

+Werchenthal et al. (2016)

Chen et al (2004)

fRodopoulou et al (2015)

Tto (2003)

+Samoli etal (2013)b

tLee etal (2015)

Location
Toronto, CAN

Toronto, CAN
8 European cities

Ontario, Canada

Donnguan, China
New York, NY
New York, NY

Bronx, NY

Manhattan, NY

New York, NY
Mame
St. Lous, MO

Ontario, Canada

Vancouver, CAN
Lath Rock, AR

Detrot, MI

10 European Med cities

1] East Asian cities

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Correlation
0.32
0.72

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ED Visits

HA 1

ED Visits

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All Respiratory

HA

Asthma

coOPD

ED Visits —~—®
7

HA -e

Mortality i

Prheumonia

Respiratory

Relative Risk/Odds Ratio (95% Confidence Interval)

avg = average; COPD = chronic obstructive pulmonary disease; DL = distributed lag; ED = emergency department; HA = hospital

admission; ICU = intensive care unit; ug/m* = micrograms per cubic meter; PM = particulate matter; PMzs = particulate matter with a

nominal mean aerodynamic diameter less than or equal to 2.5 um.
Note: +Studies published since the 2009 PM ISA. Black text = U.S. and Canadian studies included in the 2009 PM ISA.

*Copollutant analyses for warm season only.
’Copollutant analysis only conducted for lag 0-5 days.

‘ICU admissions.

*non-ICU admissions.
Corresponding quantitative results are reported in Supplemental Material (

Figure 5-9

Across studies, PMs associations with respiratory-related outcomes remain positive, although in

U.S. EPA, 2018).

Summary of associations for short-term PM2.5 exposure and

respiratory-related outcomes from copollutant models with ozone

for a 10-"g/m? increase in 24-hour avg PMz.s5 concentrations.

some cases attenuated, in copollutant models with NO2. Generally, PM2.s was reported to be low to

moderately correlated with NO> (r < 0.7). Similar to the evaluation of copollutant models with O3, most

of the evidence with respect to potential copollutant confounding by NO: is from studies examining

asthma hospital admissions and ED visits, with recent studies supporting the results from studies
evaluated in the 2009 PM ISA. Recent studies also build on the initial evidence reported in the 2009 PM

ISA that PM>\s associations are robust to control for NO: in studies examining hospital admissions and

ED visits for all respiratory diseases and provide initial evidence that PM>2>s associations with respiratory

mortality are also robust (Figure 5-10). While panel studies infrequently reported results from copollutant

models, adverse associations reported across several endpoints were persistent, although in some cases

attenuated, in copollutant models with NO>. Individual panel study results from copollutant models with

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NO; are discussed within the relevant endpoint sections (Section 5.1.2.2, Section 5.1.2.3, Section 5.1.2.4,
Section 5.1.4.2, Section 5.1.4.4, and Section 5.1.7.1).

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Study Location Ages Lag Correlation
Burnett etal. (1997)a Toronto, Canada All 1-4 HA All Respiratory
0.45
{Staffogia et.al (2013) 8 European cities 15+ 0-5
> 0.60)
*Weichenthal et al (2016) Ontario, Canada All 0-2 ED Visits
< 0.42
+Zhao etal. (2017) Donnguan, China All 0-3 HA Asthma
0.67
fiskandar etal. (2012) Ontario, Canada 6-18 0-4 Tore et ecr,
0.33 Sp ne ee
ATSDR (2006)a Bronx, NY All 0-4 ED
0.61
ATSDR (2006)a Manhattan, NY 04
0.64 =
Ito et al (2007}a New York, NY o-]
+Sarmat etal. (2015) St. Lous, MO 032 DL
0.35
TWeichenthal et al (2016) Ontario, Canada 0-2
=<0.42
Chen et al. (2004) Vancouver, CAN 65+ 0-2 BAC OR seeeeseeresont Srerscsreronar COPD
- a
Moolgavkar (2003) Los Angeles, CA 0
Tto (2003) Detroit, MI 0-3 HA 1 Pneumonia
_ 1—2-
FSamoli etal. (2013)b 10 European Med cities All 0-5 Mortality |-@ Respiratory
03-08 eo
tLee etal (2015) 1] East Asian cites 0-1 @
19
peseeeee fonnsceenpe esses qoseeeees poceeees peseeeees
0.9 1.0 1. 1.2 13 14 1.5

Relative Risk/Odds Ratio (95% Confidence Interval)

avg = average; COPD = chronic obstructive pulmonary disease; DL = distributed lag; ED = emergency department; HA = hospital
admission; g/m? = micrograms per cubic meter; PM = particulate matter; PM2s = particulate matter with a nominal mean

aerodynamic diameter less than or equal to 2.5 um.

Note: +Studies published since the 2009 PM ISA. Black text = U.S. and Canadian studies included in the 2009 PM ISA.

4Copollutant analyses for warm season only.
’Copollutant analysis only conducted for lag 0-5 days.
Corresponding quantitative results are reported in Supplemental Material (

Figure 5-10

U.S. EPA, 2018).

Summary of associations for short-term PM2.5 exposure and
respiratory-related outcomes from copollutant models with
nitrogen dioxide for a 10-yjg/m? increase in 24-hour avg PM25

concentrations.

The examination of potential copollutant confounding by SO: on the relationship between
short-term PM2.s exposure and respiratory-related outcomes is similar to that observed for O3 and NO>,
with most of the evidence from studies examining asthma hospital admissions and ED visits (Figure
5-11). Across studies, correlations between PM>.s and SO? were primarily <0.5. Most of the studies that
examined copollutant models with SO were evaluated in the 2009 PM ISA, but recent studies add to the

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evidence base for asthma hospital admissions and ED visits, further demonstrating that associations are

relatively unchanged in copollutant models with SO:, while also providing new evidence for respiratory

mortality. Even though panel studies infrequently reported results from copollutant models, adverse

associations reported across several endpoints were generally persistent, although in some cases

attenuated, in copollutant models with SO. Individual panel study results from copollutant models with
SO, are discussed within the relevant endpoint sections (Section 5.1.2.3, Section 5.1.2.4, Section 5.1.4.2,

Section 5.1.4.4, and Section 5.1.7.1).

Study

Burnett et al (1997)a
tZhao et al. (2017)
ATSDR (2006)a
ATSDR (2006}a

Ito et al. (2007}a

+Samat et al (2015)

Chen et al. (2004)

Ito (2003)

*Samoli etal. (2013}b

flee etal. (2015)

Location Ages
Toronto, CAN All
Dennguan, China All
Bronx, NY
Manhattan, NY
New York, NY
St. Lous, MO
Vancouver, CAN 65+
Detroit, MI 65+

10 European Med cities All

LL East Asian cities

0-5

0-1

Correlation

0.49

= 0.4c

HA

TLA

ED Visits

HA

HA

Mortality

:-o All Respiratory
tote
i -@- Asthma
to ie
1’
te.
ices
rie ea eens
‘-«
ae
1--#-
===
| =a n= @e- = COPD
1--@-- Pneumonia
w=
Ve Respiratory
-ie-
‘eo
%
SefsSsssree RasSsess= PaaS Sseen FECES Se ee Teresa 1
10 L.l 12 13 14 1.5

Relative Risk/Odds Ratio (95% Confidence Interval)

avg = average; COPD = chronic obstructive pulmonary disease; DL = distributed lag; ED = emergency department; HA = hospital
admission; g/m? = micrograms per cubic meter; PM = particulate matter; PM2s = particulate matter with a nominal mean

aerodynamic diameter less than or equal to 2.5 um.

Note: +Studies published since the 2009 PM ISA. Black text = U.S. and Canadian studies included in the 2009 PM ISA.
*Copollutant analyses for warm season only.

’Copollutant analysis only conducted for lag 0-5 days.

*Correlations were <0.4 in all cities except Milan and Turin where it was ~0.6.
Corresponding quantitative results are reported in Supplemental Material (

Figure 5-11

U.S. EPA, 2018).

Summary of associations for short-term PM25 exposure and

respiratory-related outcomes from copollutant models with sulfur

dioxide for a 10-yjg/m? increase in 24-hour avg PM2.5

concentrations.

Compared to 03, NO2, and SO the assessment of potential copollutant confounding by CO has

not been extensively examined in recent studies (Figure 5-12). However, across the studies evaluated in
the 2009 PM ISA, along with the recent study conducted by Sarnat et al. (2015) examining asthma ED

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visits, evidence indicates that in studies that observed positive associations with PM2:s, the association

was relatively unchanged in copollutant models with CO.

Study Location Ages Lag Correlation
Burnett etal (1997}a Toronto, Canada All 1-4 HA : -.- All Respiratory
0.42 1S
Ito et al. (2007)a New York, NY All O-1 ED Visits ' = Asthma
sa ‘ =
+Sarnat etal (2015) St. Lous, MO 02 DL ‘--@-
t
0.25 0
Chen et al. (2004) Vancouver, CAN 65+ 0-2 HA i {SS See esses ~~~ ene enn n ne coPD
=== aie -4 aes {to SSea eee ees
Ito (2003) Detroit, MI 65+ 0-3 HA : —o- Pneumonia
om ‘ -_< ce -
09 10 Ll 12 13 14 1.5

Relative Risk/Odds Ratio (95% Confidence Interval)

avg = average; COPD = chronic obstructive pulmonary disease; DL = distributed lag; ED = emergency department; HA = hospital
admission; pg/m* = micrograms per cubic meter; PM = particulate matter; PM2s = particulate matter with a nominal mean
aerodynamic diameter less than or equal to 2.5 um.

Note: +Studies published since the 2009 PM ISA. Black text = U.S. and Canadian studies included in the 2009 PM ISA.
*Copollutant analyses for warm season only.
Corresponding quantitative results are reported in Supplemental Material (U.S. EPA, 2018).

Figure 5-12 Summary of associations for short-term PM2.5 exposure and
respiratory-related outcomes from copollutant models with
carbon monoxide for a 10-yjg/m? increase in 24-hour avg PM2.5
concentrations.

Recent studies also greatly expand upon the examination of potential copollutant confounding by
PM o-25 (Figure 5-13). Across the studies evaluated, correlations between PM2s and PMio-2.s were
primarily low (7 < 0.4). PM2,s associations for all respiratory-related outcomes are generally unchanged in
models that adjust for PMio-2s. However, an uncertainty across studies that examined either single- or
copollutant models that include PM 10-25 is the variety of methods employed to estimate PMjo-2,s
concentrations and the potential measurement error associated with each method (Section 2.5.1.2.3 and
Section 3.3.1.1).

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Study Location Ages Lag Correlation 1
Peng etal, (2008) 108 U.S. Counties 65+ 2 HA « All Respiratory
0.12 oe
{Siaffogia et al. (2013) 8 European cities 15+ 0-5
ss 0
TMalig et al (2016) 35 California counties All l ED Visits ‘@
031 to
Chen et al. (2004) Vancouver, CAN 654 0-2 HA fee oS cOPD
a Paees seen ees ee Woe sco esse sees ee eeee
#Maliz et al. (2013) 35 CA counties All 2 ED Visits r®
0.31 oo
+Malig et al (2013) 35 CA counties All l ED Visits : e ARI
0.31 ea
#Maliz et al (2013) 35 CA counties All lL ED Visits * Pneumonia
0.31 0
7Samoli etal (2013)a LO European Med cities All 0-5 Mortality Le Respiratory
0.2-0.7 17d
FJanssen et al. (2013) Netherlands z *
0.29 ino
{Lee et al (2015) 11 East Asian cities 0-1 =
ww
peveeeee= t-----=-- areeeeses= peoseeee= presses qertseees \
0.9 1.0 1.1 1.2 13 14 1.5

Relative Risk/Odds Ratio (95% Confidence Interval)

ARI = acute respiratory infection; avg = average; COPD = chronic obstructive pulmonary disease; ED = emergency department;
HA = hospital admission; pg/m* = micrograms per cubic meter; PM = particulate matter; PM2.5 = particulate matter with a nominal
mean aerodynamic diameter less than or equal to 2.5 um; PMjo-25= particulate matter with a nominal mean aerodynamic diameter
greater than 2.5 um and less than or equal to 10 um.

Note: +Studies published since the 2009 PM ISA. Black text = U.S. and Canadian studies included in the 2009 PM ISA.
4Copollutant analysis only conducted for lag 0-5.
Corresponding quantitative results are reported in Supplemental Material (U.S. EPA, 2018).

Figure 5-13 Summary of associations for short-term PM25 exposure and
respiratory-related outcomes from copollutant models with
PM10-2.5 for a 10-yg/m? increase in 24-hour avg PM2.5
concentrations.

In conclusion, since the 2009 PM ISA, there has been growth in the number of studies that
examined potential confounding of the relationship between short-term PM2.5 exposure and
respiratory-related outcomes by copollutants. These recent studies provide additional evidence supporting
that PM>.s associations are relatively unchanged, although in some instances attenuated as well as

increased, in copollutant models with gaseous and particle pollutants.

5.1.10.1.1 PM2>5 within the Multipollutant Mixture

Although copollutant models are important in assessing potential copollutant confounding, it is
well known that collinearity between pollutants can result in unstable estimates and that air masses are not

limited to just two pollutants (Dominici et al., 2010). Therefore, in addition to copollutant models, studies

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that examine multipollutant exposures can provide additional information on the role of PM2,s within the
complex air pollution mixture.

Analyses of pollutant mixtures, which use an array of statistical methods and pollutant
combinations, for respiratory-related effects have focused on asthma ED visits. These studies indicate
increases in asthma ED visits when ambient concentrations of PMs and a copollutant(s) are
simultaneously high, but do not clearly show a larger increase than with PM>>s alone. In analyses
conducted in Atlanta, GA (Winquist et al., 2014a) and then subsequently for the entire state of Georgia

(Xiao et al., 2016), PM>2.s was a priori grouped with the other criteria pollutants (i.e., O3, CO, NO2, and

SO;) to examine their joint effect on pediatric asthma ED visits. In both studies, PM>.s was associated

with pediatric asthma ED visits in single-pollutant models. However, in Xiao et al. (2016) joint effect

models were relatively similar to the single-pollutant model, but in Winquist et al. (2014a) the joint effect

model results were much larger (quantitative results only presented for warm season, no interaction
model; Table 5-16).

Instead of defining air pollution mixtures a priori, other analyses examined whether there were
groups of days with similar pollution profiles, specifically days representative of high and low air
pollution exposures based on quartiles of PM2s, NO», CO, and O3 concentrations using a classification
and regression tree (C&RT) approach. This approach was used to examine associations between high and
low air pollution days and asthma in Atlanta, GA; St. Louis, MO; and Dallas, TX. In Atlanta, GA. Gass et
al. (2014) reported that RRs with PM»; were largest in magnitude for days when PM2.s concentrations
were in the highest quartile, while NO» was in the lowest two quartiles, as well as days when both NO:

and PM:s5 were in higher quartiles. Gass et al. (2015) expanded the analysis of Gass et al. (2014) to
include Atlanta, GA, St. Louis, MO, and Dallas, TX. The authors observed that pollution profiles varied

across cities resulting in the overall quartiles of pollutant concentrations for a particular mixture
sometimes differing from the distribution of concentrations within an individual city. For example, PM2s

concentrations were in the 4th quartile for one city, but the overall mixture across cities showed that PM2.s

concentrations were in the Ist quartile. Gass et al. (2015) reported evidence of mixtures with high PM» s
concentrations having the association largest in magnitude, but associations were similar in magnitude in

instances when PM2s concentrations were in the lowest quartile.

Whereas the other multipollutant studies focused on examining combinations of pollutants at

different parts of the individual pollutant concentration distribution, Toti et al. (2016) in Houston, TX

focused on pollutant concentrations on same and successive days that were in the 4th quartile of each
pollutant concentration distribution. Across the different combinations, as well as those that included
PM_.s, the authors reported ORs that were relatively similar in magnitude. In contrast with U.S. cities, the
association between asthma ED visits and an air quality health index (AQHI), which combines PM2s,
NOs», and O3 based on mortality risk, in Windsor, ON, appears to be influenced by either PMs or Os,
depending on the lag (Szyszkowicz and Kousha, 2014). The OR for the AQHI was similar to that of O3 at
lag O and that of PM2,; at lags 4 and 5 (Table 5-16). Whereas the previous studies evaluated focused on

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multipollutant mixtures, Weichenthal et al. (2016) examined whether there was evidence of effect

modification of the PM>s-asthma ED visit association in 15 Ontario cities. The authors observed that the
PM>s association increased with increasing city-level oxidative potential of PM2s, NO», and O; combined
(Weichenthal et al., 2016).

In summary, the studies that examined multipollutant mixtures that include PM25s indicate that
mixtures encompassing days with high PM» concentrations are often those mixtures with the highest risk
estimates. Additionally, when comparing single-pollutant PM2.s results with those based on mixtures, the
risk estimate associated with the mixture is relatively similar and, in some cases, larger than that observed
for PM2s.

Table 5-16 Combined influence of short-term PM25 exposure and copollutants
on emergency department visits for asthma.

PM25 Single-Pollutant OR/RR

Study 95% Cl Combined OR or RR (95% Cl)
{Xiao et al. (2016 Per 6.9 ug/m? Joint Effect Model, Criteria Pollutants Combination (O3,
Georgia 4.03 (1.02 1.04); lag 0-2 CO, NQ2, SO2, and PMa2.5); lag 0-2 per IQR increase in
2002-2008 each pollutant

No interactions: 1.03 (1.01, 1.05)
Interactions: 1.06 (1.02, 1.09)

tWinquist et al. (2014a) Per 9.2 ug/m*, warm season Joint Effect Model, Criteria Pollutant Combination (Os,

Atlanta, GA 1.04 (1.02, 1.07) CO, NO2, SO2, and PMas)
4998-2004 Warm season, no interactions: 1.13 (1.06, 1.21)
+Gass et al. (2014) NR C&RT to group days by PMa5, NOz, Os, and CO
Atlanta, GA quartiles
1999-2009 Q1 PM2s, NO2, CO, and Os: 1.0 (reference)
Q4 PM2s, Q1-4 Os, Q1 or 2 NO2, Q1-4 CO: 1.10 (1.05,
1.16)
Q4 PMz5, Q1-3 O3, Q3 NO2, Q1-4 CO: 1.08 (1.01,
1.15)
Q1 PM2s5, Q1-4 Os, Q3 or 4 NOz, Q1-4 CO: 1.08 (1.03,
1.14)
{Gass et al. (2015) NR C&RT to group days by PM2.5, NO2, and Os quartiles
Atlanta, GA, 1999-2009 Q1 PMas, NO2, and Os: 1.0 (reference)
St. Louis, MO Q4 PM25, Q3 Oz, Q1 or 2 NOz: 1.07 (1.03, 1.12)
2001-2007 Q1 PM2s5, Q3 Os, Q3 or 4 NOz: 1.04 (0.99, 1.08)
Dallas, TX Q1-4 PMas, Q4 Os, 3 NO2: 1.05 (1.01, 1.09)
2006-2008

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Table 5-16 (Continued): Combined influence of PM2.5 and copollutants on
emergency department visits for asthma.

Study

PM25 Single-Pollutant OR/RR

%o

Combined OR or RR (95% Cl)

tToti et al. (2016
Houston, TX
2006-2012

NR

Association rule mining to estimate ORs for all PMz2.s,
Os, NO2, SO2, CO, and lag 0 to 4-day combinations and
identify unique, statistically significant ORs.

Q1-3 of each pollutant in combination: 1.0 (reference)
Q4 PM25 lag 0 and Q4 O3 lag 0: 1.20 (1.02, 1.41)

Q4 PMas lag 0, Q4 NOz lag 0 and Q4 Os lag 2: 1.33
(1.00, 1.65)

+Szyszkowicz and
Kousha (2014)
Windsor, ON, Canada

2004-2010

Per IQR (not reported) increase

Lag 0: 1.02 (0.97, 1.06)
Lag 3: 1.03 (0.99, 1.08)
Lag 4: 1.05 (1.01, 1.09)

AQHI combining PMzs, O3, and NOz (per 1 unit)
Lag 0: 1.03 (0.99, 1.07)
Lag 3: 1.02 (0.98, 1.06)
Lag 4: 1.04 (1.01, 1.08)

+Weichenthal et al.
(2016)

15 cities Ontario,

Lag 0-2 avg, per 10 pg/m?

1.06 (1.05, 1.07)

Effect modification by oxidative potential of PMz.s, NO2,
and O3

Q1: 1.02 (0.99, 1.04)

Canada
2004-2011

Q2: 1.06 (1.00, 1.13)
Q3: 1.08 (0.97, 1.19)
Q4: 1.10 (1.05, 1.15)

AQHI = Air Quality Health Index; avg = average; C&RT = classification and regression tree; Cl = confidence interval; CO = carbon
monoxide; |OR = interquartile range; pg/m® = micrograms per cubic meter; NO2 = nitrogen dioxide; NR = not reported; O3 = ozone;
OR = odds ratio; PM = particulate matter; PMzs5 = particulate matter with a nominal mean aerodynamic diameter less than or equal
to 2.5 um; Q1 = 1st quartile; Q2 = 2nd quartile; Q3 = 3rd quartile; Q4 = 4th quartile; RR = relative risk; SO, = sulfur dioxide.

+Studies published since the 2009 PM ISA.

5.1.10.2 Model Specification

An underlying uncertainty in interpreting epidemiologic study results is the difference in the
magnitude and precision, and sometimes direction, of risk estimates across studies. It has remained
difficult to explain why there are differences in risk estimates, but it is often thought to reflect the
different statistical models used in each study. However, it has also been hypothesized that other factors
may also be contributing to these observed differences such as differences in PM2,s composition or

demographics between study locations (e.g., Section 11.6.3).

Recent epidemiologic studies have conducted sensitivity analyses to assess whether PM2s
associations with respiratory-related outcomes are dependent on the statistical model employed, in an
attempt to reduce potential biases in observed associations. Such sensitivity analyses assess the influence
of alternative model specifications, such as by increasing the degrees of freedom (df) to account for
temporal trends or by including alternative weather covariates. Collectively, recent studies that examined
model specification provide evidence that PM>.s associations are generally robust to increasing the df per

year to account for temporal trends, but in some cases attenuation of the association was observed when

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these additional dfs were included. Additionally, studies reported that PM>.s associations are relatively
unchanged regardless of the weather covariates included in statistical models (i.e., different weather
variables or lag days and df specified for the weather variables). Collectively, these studies reduce the
uncertainty associated with the differences in the magnitude and direction of risk estimates in

epidemiologic studies potentially resulting from the different statistical models employed across studies.

Several studies examined different approaches to control for seasonality or temporal trends by
either increasing or decreasing the df/year used in studies of short-term PMs exposure and
respiratory-related effects. PM>.s-associated increases in asthma hospital admissions and ED visits were
consistently observed when different d{/year were used to account for temporal trends. For example,
studies conducted in several U.S. cities reported that PM» associations remained robust to alternative
degrees of freedom (2-28 df/year) for temporal trends (Alhanti et al., 2016; Sarnat et al., 2015; Kim et al.,

2012; Silverman and Ito, 2010). When examining all respiratory-related hospital admissions and ED

visits, an examination of the control for temporal trends was limited to a few studies, all of which were
conducted in Europe, (Stafoggia et al., 2013) in eight European cities, and (Lanzinger et al., 2016b) in the
UFIREG project. Stafoggia et al. (2013) provided evidence that uniformly applying the same df/year

across all cities could underestimate the PM2,s association. This was demonstrated in an analysis that
compared results for models where 8 df/year was applied to each city or where the df/year applied to each
city was selected by minimizing the absolute value of the sum of the partial autocorrelation functions
(PACF) with the base model that employed a three-way interaction between year, month, and day of week
to account for temporal trends. The authors reported that using 8 df/year attenuated the association, while
the PACF approach, which resulted in df/year ranging from 3—9 for each city, resulted in relatively
unchanged PM) risk estimates. However, Lanzinger et al. (2016b) reported that PM» associations were

relatively unchanged in models employing 3, 4, or 6 df/year to account for temporal trends.

In addition to conducting sensitivity analyses that examined control for temporal trends, some
studies also assessed whether associations between short-term PM2,s exposure and respiratory-related
hospital admissions and ED visits were sensitive to alternative weather covariates. Altering the lags
(e.g., 0, 2-day avg) for temperature and humidity in New Jersey (Gleason et al., 2014), or adjusting for
maximum temperature in Atlanta, GA and St. Louis, MO (Alhanti et al., 2016) resulted in PM>s

associations that were relatively unchanged. Stafoggia et al. (2013) also examined the influence of

including a longer temperature lag (i.e., 0-6 days) in the model to account for the potential prolonged
effects of temperature on respiratory diseases. Replacing the 0—1-day lag temperature covariate with a
0-6-day lag term resulted in a relatively similar effect (lag 0-1: 1.36% [95% Ck: 0.23, 2.49]; lag 0-6:
1.48% [95% CI: 0.29, 2.69]).

While most studies examined the influence of model specification on PMzs associations with
respiratory-related effects by specifically including alternative weather covariates in statistical models, a
few studies conducted analyses to examine whether there was evidence of model misspecification and
potential residual confounding. In studies conducted in Atlanta, GA (Strickland et al., 2010) and St.

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Louis, MO (Sarnat et al., 2015), model misspecification was evaluated by examining associations with
PM:.s5 concentrations on the day after an asthma ED visit (lag —1 day). In both studies the results of the
base model are relatively similar to those reported for lag —1 day [i.e., Strickland et al. (2010) warm
season RR: 1.05 (95% CI: 1.02, 1.08), lag 0-2, RR: 1.03 (95% CI: 1.00, 1.05), lag -1; Sarnat et al. (2015)
all year RR: 1.04 (95% CI: 1.01, 1.06), lag 0-2, RR: 1.02 (95% CI: 0.99, 1.04), lag —1]. The smaller
association, closer to the null in both studies, indicates that potential confounders of the relationship

between short-term PM>.s exposure and asthma ED visits were adequately accounted for in the statistical

model.

Across studies that examined alternative model specifications, replacing covariates used in the
base model to account for the confounding effects of weather did not result in measurable changes in
PMz2.s associations for respiratory-related effects. Additionally, there was little evidence that increasing
the df/year to account for temporal trends influenced PM2.s associations; however, initial evidence
indicates that applying the same df/year across individual cities in a multicity study may contribute to

underestimating PM>s risk estimates.

5.1.10.3 Lag Structure

An examination of associations between short-term PMp>.s exposure and respiratory-related effects
across different lag days can provide evidence to support whether PM2>s elicits an immediate, delayed, or
prolonged effect on health. As detailed throughout this chapter, evidence from studies that examine
respiratory-related hospital admissions and ED visits indicates positive associations across single-day as
well as multiday lags ranging from 0 to 4 days. However, to date many studies have not systematically
evaluated different lags to examine the timing of effects, specifically whether there is evidence of an
immediate (lag 0-1), delayed (lag 2—5), or prolonged (lag 0-5) PM2s effect. An examination of lag
structure in recent studies focusing on asthma, COPD, respiratory infections, and all respiratory-related
hospital admissions and ED visits indicates that the strongest association in terms of magnitude and
precision is generally within a few days after exposure for each of these outcomes, but there is some

evidence demonstrating the potential for a prolonged PM>5s effect.

Among children in Atlanta, GA (Strickland et al., 2010) and individuals of all ages in Denver, CO

(Kim et al., 2012), the pattern of associations for PM2s-asthma ED visits varied. In Strickland et al.

(2010), lag 0 was reported to have the largest association, but positive associations persisted across
single-day lags of 1 to 7 days (Figure 5-14).

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PNM2.5 Warm Season
RR: 1.09 95% Cl: 1.06, 1,13

Rate Ratio

1.01
' ! .
eH
os
eH
ee
eo
ai
oe

o 1 2 3 4 8 6 7
Day-specific Lag

Cl = confidence interval; PMzs5 = particulate matter with a nominal mean aerodynamic diameter less than or equal to 2.5 um;
RR = relative risk.

Source: Reprinted with permission of the American Thoracic Society. Copyright © 2019 American Thoracic Society. Strickland et al.
(2010). The American Journal of Respiratory and Critical Care Medicine is an official journal of the American Thoracic Society.

Figure 5-14 Rate ratio and 95% confidence intervals for individual lag days
from a constrained cubic polynomial distributed lag model
examining associations between short-term PMz.s5 exposure and
pediatric asthma emergency department visits in Atlanta, GA.

In contrast to the relatively immediate effect observed in Strickland et al. (2010), Kim et al.

(2012) reported positive associations across the full range of lags examined (0-14), with the strongest
associations, in terms of magnitude and precision, observed at lags 4 to 12 days, indicating a potential
delayed response to short-term PM2,s exposure (Figure 5-15). When examining a distributed lag model of
0 to 7 days in Adelaide, Australia, Chen et al. (2016) observed an inconsistent pattern of associations,

with the strongest associations for asthma hospital admissions occurring at lags 2 and 4 days. When
comparing results from multiday averages and distributed lag models, risk estimates were found to be
larger for the distributed lag model in Atlanta, GA [Strickland et al. (2010); lag 0-2 RR: 1.05

(95% CI: 1.02, 1.08); lag 0-7 DL RR: 1.10 (95% CI: 1.07, 1.14)], but a similar magnitude of an
association was observed at shorter and longer distributed lag models in St. Louis, MO [Sarnat et al.
(2015); lag 0-2: 1.04 (95% CI: 1.01, 1.06); lag 0-4 DL RR: 1.04 (95% CI: 1.01, 1.08)].

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HY

PM25 = particulate matter with a nominal mean aerodynamic diameter less than or equal to 2.5 pm; RR = relative risk.

Source: Kim et al. (2012).

Figure 5-15 Relative risk and 95% confidence intervals for individual lag days
from a constrained distributed lag model examining associations
between short-term PMz.5 exposure and asthma hospital
admissions in Denver, CO.

The assessment of associations across different lags was more limited for COPD and respiratory
infection than for asthma. Belleudi et al. (2010) examined both single-day and multiday lags (0 to 6 days,
0-1, 0-2, 0-5, and 0-6) for both COPD and lower respiratory tract infections. For COPD, the authors
reported positive associations across a few single-day lags with the strongest association in terms of
magnitude and precision observed at lag 0 (1.88% [95% CI: —0.27, 4.09]) and 2 (1.76% [95% CI: —0.18,

3.73]), with no evidence of an association for any of the multiday lags examined. However, for lower

respiratory tract infections, positive associations were observed across single-day lags ranging from | to
5 days, but the magnitude of the association varied, with the largest being at lags 2 (2.82%) and 3
(3.04%). The multiple single-day lags reporting positive associations was supported when examining
multiday averages, which provide evidence of a prolonged effect of short-term PM2s exposure on lower

respiratory tract infection (lag 0-5: 3.71 [95% CI: —0.57, 8.17]; lag 0-6: 3.62 [95% CI: —0.96, 8.42]).

Associations across different lags were further evaluated in recent studies focusing on all
respiratory-related hospital admissions and ED visits. Overall, consistent, positive associations are
reported across a range of single-day lags in multiple multicity studies (Bravo et al., 2017; Lanzinger et

al., 2016b; Samoli et al., 2016a; Jones et al., 2015; Stafoggia et al., 2013). Some recent studies examined

associations over a range of single-day lags through either a traditional single-day lag model or a
distributed lag model. For example, Samoli et al. (2016a) and Jones et al. (2015) examined a series of

single-day lags and reported positive associations that were similar in magnitude across each individual

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lag, but with wide confidence intervals. In contrast to Samoli et al. (2016a) and Jones et al. (2015), Kim et
al. (2012) did not report evidence of an association between short-term PM» exposure and
respiratory-related hospital admissions when examining the individual lag days of a 0 to 14 day
constrained distributed lag model. However, the results for combinations of respiratory-related diseases

differed from those observed for asthma hospital admissions in Kim et al. (2012) where, as previously

mentioned, positive associations were observed at lags 4 to 12 days. In single-day lags of 0 to 2 days,
Bravo et al. (2017) reported a 0.79% increase (95% CI: 0.62, 0.97) at lag 0 in hospital admissions, but no

evidence of an association at lags 1 or 2 days. However, when examining a distributed lag model of

0-7 days, the magnitude of the association increased as lag days increased providing some evidence of a
potential prolonged PM2.s effect. However, confidence intervals also increased (Figure 5-16).

Percent (%) Change in Hospital Admissions per 10 tig/m® Increase in PM,

T T T I | ]
0-1 0-3 0-5 0-7

Distributed lags (days)

avg = average; g/m? = micrograms per cubic meter; PM25 = particulate matter with a nominal mean aerodynamic diameter less
than or equal to 2.5 um.

Source: Bravo et al. (2017).

Figure 5-16 Percent increase in respiratory-related hospital admissions for a
distributed lag model up to 0-7 days for a 10-7g/m? increase in
24-hour avg PMz.5 concentrations across 708 U.S. counties.

The results of Bravo et al. (2017) are consistent with both Lanzinger et al. (2016b) and Stafoggia
et al. (2013) who observed positive associations across each of the lags examined, with the largest

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association occurring at lag 0-5 days in both studies. [Lanzinger et al. (2016b): 2.8%, lag 0-1; 5.1%, lag
2-5; and 6.0%, lag 0-5; Stafoggia et al. (2013): 0.49, lag 0-1; 1.1%, lag 2—5; and 1.4%, lag 0-5].

Analyses of respiratory mortality provide further information about the lag structure of
associations between short-term PMo2,s exposure and respiratory morbidity outcomes. Multicity
epidemiologic studies that examined cause-specific mortality in the 2009 PM ISA observed immediate
effects with consistent positive associations for respiratory mortality at lags ranging from 0 to 2 days;
however, these lags were selected a priori. Lippmann et al. (2013b), within the NPACT study, and

Janssen et al. (2013), in a study conducted in the Netherlands, examined PM2s-respiratory mortality

associations at single-day lags ranging from 0 to 3 days. Whereas Lippmann et al. (2013b) reported the

strongest association at lag 1, Janssen et al. (2013) reported evidence of larger associations and with

greater precision up to lags of 3 days. Stafoggia et al. (2017), examining single-day lags ranging from 0 to

10 days, provide evidence that potentially supports the pattern of associations observed in both Lippmann
et al. (2013b) and Janssen et al. (2013). The authors reported evidence of an immediate effect at lag 1, but

also evidence of positive associations similar in magnitude at lags 3, 6, and 7 (quantitative results not
presented). However, confidence intervals were wide, complicating the comparison of results across

studies.

An examination of multiday lags by Lee et al. (2015) found a similar magnitude of an association

across lags ranging from 0—1 to 0-4 days, which is consistent with the results of the studies examining
single-day lags. However, Samoli et al. (2013), when examining lags indicative of immediate, delayed,

and prolonged effects, reported evidence of an immediate PM2s effect on respiratory mortality (0.72%
[95% CI: -0.11, 1.6]; lag 0-1) that was larger at longer lags (lag 2-5: 1.6% [95% CI: 0.62, 2.7]; lag 0-5:
1.9% [95% CI: 0.7, 3.1]). These results were further confirmed when examining single-day lags in a
polynomial-distributed lag model of 0-7 days, in which associations were relatively consistent in

magnitude from 0 to 2 days and then steadily increased out to 7 days.

Across the respiratory-related hospital admission and ED visit and mortality studies evaluated
that conducted systematic evaluations of PM2s associations across a range of lags, recent studies further
support studies evaluated in the 2009 PM ISA that provided evidence of associations at lags ranging from
0-5 days. Studies of respiratory morbidity, specifically asthma and all respiratory-related hospital
admissions and ED visits, along with more limited evidence from studies of COPD and respiratory
infection, provide support that longer PM2.s exposures (i.e., 0-5-day lags) are associated with
respiratory-related effects. Studies of respiratory mortality tended to support more immediate PM>s
effects (i.e., lags of 0 to 2 days), but initial evidence of stronger associations, in terms of magnitude and
precision, at lags of 0-5 days is consistent with the pattern of associations observed in the hospital

admission and ED visit studies.

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5.1.10.4 The Role of Season and Temperature on PM25 Associations

The examination of seasonal differences in PM>.s associations within studies that focus on
respiratory-related hospital admissions and ED visits, as well as respiratory mortality, can provide
information useful to assessing whether specific sources that vary by season are contributing to the PM25
associations observed in all-year analyses. Additional studies that examine potential modification of PM2s
associations by temperature can further clarify the effects of season on observed associations. Studies
evaluated in the 2009 PM ISA demonstrated seasonal variability in PM2.s associations with
respiratory-related effects, with some studies reporting associations in warmer months and others in
colder months; this variability is further supported by recent studies. Few recent studies have examined

potential modification of PM2.s associations by temperature.

5.1.10.4.1 Season

Recent studies have further examined the role of season on the relationship between short-term
PM2.s5 exposure and respiratory-related effects, with the most extensive analyses focusing on asthma and
all respiratory-related hospital admissions and ED visits. In studies of respiratory-related hospital
admissions and ED visits, the warm season was most often defined as April-September, particularly for
most northern U.S. cities, but in some cases, the warm months were May—October, such as for Atlanta,
GA. PM>s-associated increases in asthma ED visits were observed in New Jersey in studies restricted to

the warm season (Gleason and Fagliano, 2015; Gleason et al., 2014). Seasonal differences in associations

are also supported by Malig et al. (2013) in a study of 35 California counties and asthma ED visits, who

reported associations larger in magnitude in the warm than in the cold season, as well as Stafoggia et al.
(2013), in a study of eight European cities, who examined whether associations between short-term PM2.s
exposure and all respiratory-related hospital admissions in the warm season were larger in magnitude than
those observed in the all-year analysis. When restricting the analysis to the warm season
(April-September), Stafoggia et al. (2013) reported a larger percent increase in respiratory-related
hospital admissions (4.49% [95% CI: 1.72, 7.35]; lag 0-5) compared with the all-year analysis (1.36%
[95% CI: 0.23, 2.49]; lag 0-5).

An examination of associations between short-term PM2,.s exposure and asthma hospital

admissions and ED visits in the cold season in U.S. locations were null except in New York, NY

(Silverman and Ito, 2010; Ito et al., 2007). Additionally, (Rodopoulou et al., 2014) in a study examining

all respiratory disease and acute respiratory infection ED visits in New Mexico, (Belleudi et al., 2010) ina

study conducted in Rome, Italy focusing on respiratory infection ED visits, and (Lanzinger et al., 2016b)

in a study of four European cities focusing on all respiratory-related hospital admissions reported
evidence of associations larger in the cold versus the warm season. The pattern of seasonal associations
was also found to differ between two Australian cities, with a larger association in the warm season in
Sydney (Jalaludin et al., 2008) and in the cold season in Adelaide (Chen et al., 2016).

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Additional studies conducted more refined analyses, focusing on all four seasons, to examine
potential seasonal differences in PM25 associations with respiratory-related hospital admissions and ED
visits. For studies of asthma hospital admission and ED visits, an examination of PMz2.s associations by
the four seasons is limited to Detroit, MI and Seoul, South Korea, but are consistent with each other in

showing associations only in the spring [i.e., March—May; Li et al. (2011) and Kim et al. (2015)].

However, studies focusing on all respiratory-related hospital admissions and ED visits reported a slightly
different pattern of associations. Zanobetti et_al. (2009), in a study of 26 U.S. counties, reported the

largest association in the spring (4.34% [95% CI: 2.19, 6.54]; lag 0-1) with the percent increase in

respiratory-related hospital admissions ranging from |.26—1.79% in the other seasons. Jones et al. (2015),

in a study in New York state observed a slightly different pattern of associations across the seasons than

Zanobetti et al. (2009). Focusing on lag 1, the authors reported the largest associations in the summer and

fall with little evidence of an association in the winter and spring. Bell et al. (2015), in a study of 213 U.S.

counties, observed stronger associations with respiratory tract infection hospital admissions in the spring
(0.80% [95% CI: 0.02, 1.58]) and winter (0.40% [95% CI: —0.29, 1.10]) than in the fall and spring when
no evidence of an association was reported. The results from studies examining all four seasons support
the results from studies that reported stronger associations during the warm season, but also provide some
evidence that the greatest risk of PM2s-related respiratory effects may span into months traditionally

defined as representing the cold season.

While studies in the 2009 PM ISA focusing on respiratory morbidity conducted seasonal
analyses, studies focusing on mortality were limited to total (nonaccidental) mortality. These studies
generally reported larger associations in warmer months (see Section 11.1.6.1) but there is uncertainty as
to whether the same pattern of associations exists for cause-specific mortality, including respiratory
mortality.

Recent multicity studies conducted in the U.S. (Dai et al., 2014; Lippmann et al., 2013a), Europe
(Pascal et al., 2014; Samoli et al., 2013), and Asia (Lee et al., 2015) examined whether there was
evidence of seasonal differences in the PM>s-respiratory mortality relationship. Within the NPACT study

(Lippmann et al., 2013a), the examination of seasonal PM:2s5 associations showed a pattern of associations
consistent with what was observed for total mortality (i.e., associations larger in magnitude during the
warm season). However, compared with the all-year analysis, there was evidence of positive associations
in the warm season across all lags examined, with associations similar in magnitude (~0.5% increase) at
lags 0, 1, and 3 days. There was also evidence of a positive association with respiratory mortality during
the cold season, but only at lag 1 (0.40% [95% CI: —0.34, 1.1]). Dai et al. (2014), in a study of 75 U.S.

cities, reported results that were generally consistent with Lippmann et al. (2013a), but examined

associations across all four seasons and found the PM>s-respiratory mortality association was largest
during the spring (4.0% [95% CI: 2.9, 5.2]; lag 0-1), with positive, but smaller, associations across the
other seasons ranging from 0.58—-1.1%.

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Additional studies conducted in Europe report results consistent with those studies conducted in
the U.S. In the MED-PARTICLES project, Samoli et al. (2013) examined short-term PM2>s exposure and
respiratory mortality at lag 0-5 days and reported larger associations in the warm season (6.5%

[95% Cl: 2.6, 10.5]) than in the cold season (1.7% [95% CI: 0.27, 3.2]). In France, Pascal et al. (2014)

reported similar results, but in an analysis of all four seasons. Associations between short-term PMs

exposure and respiratory mortality were only positive during the spring and summer seasons, but

confidence intervals were wide (quantitative results not presented).

Although the studies that examined U.S. and European cities provide consistent evidence of
PM>s-respiratory mortality associations being larger during warmer months (i.e., spring and summer), a

study conducted in 11 east Asian cities observed a different pattern of associations. Lee et al. (2015)

reported that PM>.s associations with respiratory mortality were larger in the cold season (1.3%
[95% CI: 0.38, 2.2]) than in the warm season (0.63% [95% CI: —0.21, 1.5]). It is unclear why these results

differ from the other studies, but mean PM>s concentrations and mean temperature tended to be higher

across the cities in Lee et al. (2015) compared with the cities in the other studies evaluated in this section.

Across the multicity studies that examined seasonal associations results indicate that associations
between short-term PM>.s exposure and respiratory mortality tend to be larger during warmer parts of the
year (i.e., spring and summer), specifically in locations where mean PM2.s concentrations and temperature
are more like those observed in the U.S. These results are supported by studies that conducted more
refined examinations of seasonal associations by each of the four seasons and observed associations larger

in the spring and summer.

In addition to traditional analyses that examine whether PM2.s-respiratory-related hospital
admission and ED visit associations vary by season; other studies have examined whether specific
weather patterns influence associations. Hebbern and Cakmak (2015), in a study conducted in 10
Canadian cities, examined the association between short-term PM2.5 exposure and asthma hospital
admissions to determine whether the association was modified by specific synoptic weather patterns.
Individual days were grouped into synoptic weather types based on temperature, humidity, and other
factors. PM2.s associations with asthma hospital admissions were reported to be largest for days classified
as moist polar and transitional types and lowest for dry tropical and moist tropical days. Interestingly,
these latter categories had higher PM2.s concentrations. However, when adjusting for aeroallergens,

Hebbern and Cakmak (2015) observed that the difference in associations between weather types was

absent.

Aeroallergens

Although seasonal analyses can inform whether PM2.s-asthma hospital admission and ED visit
associations are influenced by weather, another tangentially related factor that has a strong seasonal
component is aeroallergens. As mentioned above, Hebbern and Cakmak (2015) reported that

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PM)2.s-asthma hospital admissions varied by synoptic weather pattern, but not when controlling for
acroallergens. However, in the models that controlled for aeroallergens, the RRs across all weather types,
although attenuated, remained positive and were relatively similar, ranging from approximately 1.05—1.1
(Figure 5-17). Instead of controlling for the potential confounding effects of aeroallergens, Gleason et al.
(2014), in a study conducted in New Jersey, examined whether the PM>s-asthma ED visit association
varied across PM2.s quintiles depending on high and low levels of tree, grass, weed, and ragweed pollen.
The authors observed no evidence of effect modification across the quintiles for high and low tree and
grass pollen levels, and across all quintiles and levels of ragweed except for the combination of high
ragweed and the highest quintile of PM2.s concentrations. However, when examining high ragweed pollen
levels, as PM2.s concentrations increased there was evidence of effect modification (Table 5-17).

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DM DP DT MM MP MT TR

DM = dry moderate; DP = dry polar; DT = dry tropical; MM = moist moderate; MP = moist polar; MT = moist tropical;
PMe2s5 = particulate matter with a nominal mean aerodynamic diameter less than or equal to 2.5 pm; TR = transitional weather types.

Note: Black circles represent before and gray circles represent after adjustment for aeroallergens.

Source: Hebbern and Cakmak (2015).

Figure 5-17 Pooled relative risks across 10 Canadian cities by synoptic
weather category.

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Table 5-17 Odds ratios for quintile analyses in Gleason et al. (2014) from
single-pollutant PM25 analyses and analyses examining effect
modification by high weed pollen days.

Study PMzs Analysis OR (95% Cl) Effect Modification Analysis OR (95% Cl)
+Gleason et al. (2014) Lag0O: Effect modification of PMz.s associations by high weed
New Jersey, whole state 0.53-6.1 g/m: 1.0 (reference) Pollen levels (lag 0-2) by PM2.s quintiles (lag 0):
2004-2007 6.1-8.5 yg/m*: 1.0 (0.95, 1.06) 9-53-6.1 Ug/m®: 1.0 (reference)

8.5-11.4 ug/m3: 0.99 (0.94, 6.1-8.5 ugims: 1.57 (1.14, 2.17)
1.04) 8.5-11.4 pg/m?: 1.53 (1.11, 2.12)
11.4-16.8 pg/m?: 1.01 (0.96, 11.4-16.8 pg/m?: 2.32 (1.61, 3.34)
1.06) >16.9 pg/m*: 2.51 (1.73, 3.64)

>16.9 yig/m*: 1.05 (0.99, 1.11)

Cl = confidence interval; pig/m* = micrograms per cubic meter; OR = odds ratio; PM = particulate matter; PMzs = particulate matter
with a nominal mean aerodynamic diameter less than or equal to 2.5 um.

Study published since the 2009 PM ISA.

5.1.10.4.2 Temperature

Instead of conducting traditional seasonal analyses, some recent studies examined whether there
was evidence that higher temperatures modified the relationship between short-term PM2s exposure and
asthma hospital admissions and respiratory mortality. Cheng et al. (2015) examined whether specific
temperatures modified the PM» s-asthma hospital admission association in Kaohsiung, Taiwan. The

authors reported that PM>s associations were larger in magnitude when analyses were restricted to days
with lower temperatures, 13—25$C (RR: 1.10 [95% CI: 1.06, 1.13]) compared with days with higher
temperatures (i.e., >25°C, RR: 1.02 [95% CI: 0.98, 1.06]).

Pascal et al. (2014) examined the impact of temperature on the PM>s-respiratory mortality

relationship across nine French cities by comparing associations on warm and nonwarm days, wherein
warm days were defined as those days when the mean temperature exceed the 97.5th percentile of the

mean temperature distribution. Pascal et al. (2014) reported no evidence of an interaction between PM>s

and warm days on respiratory mortality.

Additional studies conducted in Asia, although at higher mean PM2.s concentrations (i.e., in many
cases >20 j1g/m*), also examined whether high temperatures modify the PM2.s-respiratory mortality
relationship. Li et al. (2015b) examined whether same-day temperature, either higher (>23.5°C) or lower
temperatures (<2.6°C), modifies the PM2s-respiratory mortality relationship at lag 0 and 1. At lag 0, there
was evidence of a larger association at high temperatures (1.7% [95% CI: 0.92, 3.3]) than at medium
temperatures (0.76% [95% CI: —0.04, 2.0]), with no evidence of an association at low temperatures.

However, at lag 1, the strongest evidence of an association was only for the medium temperatures (0.80%

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